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                                  U.S. Bankruptcy Court
                         Northern District of Mississippi (Aberdeen)
                          Adversary Proceeding #: 24−01024−SDM

Assigned to: Judge Selene D. Maddox                              Date Filed: 07/18/24
Lead BK Case: 23−10069
Lead BK Title: LITTCO Metals, LLC
Lead BK Chapter: 7
Demand:
 Nature[s] of Suit: 02 Other (e.g. other actions that would have been brought in state court if unrelated to
                        bankruptcy)



Plaintiff
−−−−−−−−−−−−−−−−−−−−−−−
Jason Richard Littrell                             represented by Brian Clark
1382 Battlefield Road                                             Hickman, Goza & Spragins
Collinsville, MS 39325                                            P.O. Drawer 668
SSN / ITIN: xxx−xx−3287                                           Oxford, MS 38655
                                                                  662−234−4000
                                                                  Email: bclark@hickmanlaw.com

                                                                   Goodloe Lewis
                                                                   Hickman, Goza & Spragins, PLLC
                                                                   1305 Madison Avenue
                                                                   P.O. Box 668
                                                                   Oxford, MS 38655
                                                                   662−234−4000
                                                                   Fax : 662−234−2000
                                                                   Email: glewis@hickmanlaw.com

                                                                   Lawrence J. Tucker, Jr
                                                                   Hickman, Goza & Spragins, PLLC
                                                                   P.O. Drawer 668
                                                                   Oxford, MS 38655
                                                                   662−234−4000
                                                                   Email: ltucker@hickmanlaw.com


Plaintiff
−−−−−−−−−−−−−−−−−−−−−−−
William L Fava, , Trustee for LITTCO               represented by Brian Clark
Metals, LLC d/b/a LITTCO, LLC, LITTCO                             (See above for address)
Metals Equipment Leasing, Inc., and
LITTCO Metals Management Co.                                       Goodloe Lewis
Fava Firm                                                          (See above for address)
P.O. Box 783
Southaven, MS 38671                                                Lawrence J. Tucker, Jr
                                                                   (See above for address)


V.

Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Tyler Burgess, IL                                  represented by Cory Daniel Anderson
                                                                  Rock Fusco & Connelly, LLC
                                                                  321 North Clark Street


                                                                                                               1
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                                                Ste 2200
                                                Chicago, IL 60654
                                                312−494−1000
                                                Fax : 312−494−1001
                                                Email: canderson@rfclaw.com

                                                Michael P. Connelly
                                                Rock Fusco & Connelly, LLC
                                                321 N. Clark Street
                                                Suite 2200
                                                Chicago, IL 60654
                                                312−494−1000
                                                Fax : 312−494−1001
                                                Email: mconnelly@rfclaw.com

                                                Michael P. Connelly
                                                Rock Fusco & Connelly, LLC
                                                333 West Wacker Drive, 19th Floor
                                                Chicago, IL 60606
                                                Email: mconnelly@rfclaw.com

                                                Edward F Kuester, IV
                                                Rock Fusco & Connelly, LLC
                                                321 North Clark Street
                                                Suite 2200
                                                Chicago, IL 60654
                                                312−494−1000
                                                Fax : 312−494−1001
                                                Email: ekuester@rfclaw.com

                                                William Frederick Ray
                                                Watkins & Eager PLLC
                                                P.O. Box 650
                                                Jackson, MS 39205
                                                601−965−1900
                                                Fax : 601−965−1901
                                                Email: wray@watkinseager.com

                                                Stephanie M. Rippee
                                                Watkins & Eager PLLC
                                                Post Office Box 650
                                                Jackson, MS 39205
                                                601−965−1900
                                                Fax : 601−965−1901
                                                Email: srippee@watkinseager.com

                                                Jim F. Spencer, Jr.
                                                Post Office Box 650
                                                Jackson, MS 39205
                                                601−965−1976
                                                Email: jspencer@watkinseager.com

                                                Sagar Thakkar
                                                Rock Fusco & Connelly, LLC
                                                333 West Wacker Drive
                                                Ste 19th Floor
                                                Chicago, IL 60606
                                                312−494−1000
                                                Fax : 312−494−1001
                                                Email: sthakkar@rfclaw.com




                                                                                    2
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Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Tonia Etoh, IL                           represented by Cory Daniel Anderson
                                                        (See above for address)

                                                       Michael P. Connelly
                                                       (See above for address)

                                                       Michael P. Connelly
                                                       (See above for address)

                                                       Edward F Kuester, IV
                                                       (See above for address)

                                                       William Frederick Ray
                                                       (See above for address)

                                                       Stephanie M. Rippee
                                                       (See above for address)

                                                       Jim F. Spencer, Jr.
                                                       (See above for address)

                                                       Sagar Thakkar
                                                       (See above for address)


Defendant
−−−−−−−−−−−−−−−−−−−−−−−
International Development Services, IL   represented by Cory Daniel Anderson
                                                        (See above for address)

                                                       Michael P. Connelly
                                                       (See above for address)

                                                       Michael P. Connelly
                                                       (See above for address)

                                                       Edward F Kuester, IV
                                                       (See above for address)

                                                       William Frederick Ray
                                                       (See above for address)

                                                       Stephanie M. Rippee
                                                       (See above for address)

                                                       Jim F. Spencer, Jr.
                                                       (See above for address)

                                                       Sagar Thakkar
                                                       (See above for address)


Defendant
−−−−−−−−−−−−−−−−−−−−−−−
International Services, Inc., IL         represented by Cory Daniel Anderson
                                                        (See above for address)

                                                       Michael P. Connelly
                                                       (See above for address)

                                                                                  3
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                                                    Michael P. Connelly
                                                    (See above for address)

                                                    Edward F Kuester, IV
                                                    (See above for address)

                                                    William Frederick Ray
                                                    (See above for address)

                                                    Stephanie M. Rippee
                                                    (See above for address)

                                                    Jim F. Spencer, Jr.
                                                    (See above for address)

                                                    Sagar Thakkar
                                                    (See above for address)


Defendant
−−−−−−−−−−−−−−−−−−−−−−−
TAVAS, LLC, IL                        represented by Cory Daniel Anderson
                                                     (See above for address)

                                                    Michael P. Connelly
                                                    (See above for address)

                                                    Michael P. Connelly
                                                    (See above for address)

                                                    Edward F Kuester, IV
                                                    (See above for address)

                                                    William Frederick Ray
                                                    (See above for address)

                                                    Stephanie M. Rippee
                                                    (See above for address)

                                                    Jim F. Spencer, Jr.
                                                    (See above for address)

                                                    Sagar Thakkar
                                                    (See above for address)


Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Penhurst Capital, Inc., NV            represented by Cory Daniel Anderson
                                                     (See above for address)

                                                    Michael P. Connelly
                                                    (See above for address)

                                                    Michael P. Connelly
                                                    (See above for address)

                                                    Edward F Kuester, IV
                                                    (See above for address)

                                                    William Frederick Ray

                                                                               4
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                                                    (See above for address)

                                                    Stephanie M. Rippee
                                                    (See above for address)

                                                    Jim F. Spencer, Jr.
                                                    (See above for address)

                                                    Sagar Thakkar
                                                    (See above for address)


Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Tim Willits                           represented by Cory Daniel Anderson
                                                     (See above for address)

                                                    Michael P. Connelly
                                                    (See above for address)

                                                    Michael P. Connelly
                                                    (See above for address)

                                                    Edward F Kuester, IV
                                                    (See above for address)

                                                    William Frederick Ray
                                                    (See above for address)

                                                    Stephanie M. Rippee
                                                    (See above for address)

                                                    Jim F. Spencer, Jr.
                                                    (See above for address)

                                                    Sagar Thakkar
                                                    (See above for address)


Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Nathan Free, IL                       represented by Cory Daniel Anderson
                                                     (See above for address)

                                                    Michael P. Connelly
                                                    (See above for address)

                                                    Michael P. Connelly
                                                    (See above for address)

                                                    Edward F Kuester, IV
                                                    (See above for address)

                                                    William Frederick Ray
                                                    (See above for address)

                                                    Stephanie M. Rippee
                                                    (See above for address)

                                                    Jim F. Spencer, Jr.
                                                    (See above for address)


                                                                               5
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                                                    Sagar Thakkar
                                                    (See above for address)


Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Jerold Weissberg                      represented by Cory Daniel Anderson
                                                     (See above for address)

                                                    Michael P. Connelly
                                                    (See above for address)

                                                    Michael P. Connelly
                                                    (See above for address)

                                                    Edward F Kuester, IV
                                                    (See above for address)

                                                    William Frederick Ray
                                                    (See above for address)

                                                    Stephanie M. Rippee
                                                    (See above for address)

                                                    Jim F. Spencer, Jr.
                                                    (See above for address)

                                                    Sagar Thakkar
                                                    (See above for address)


Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Robert Legon                          represented by Cory Daniel Anderson
                                                     (See above for address)

                                                    Michael P. Connelly
                                                    (See above for address)

                                                    Michael P. Connelly
                                                    (See above for address)

                                                    Edward F Kuester, IV
                                                    (See above for address)

                                                    William Frederick Ray
                                                    (See above for address)

                                                    Stephanie M. Rippee
                                                    (See above for address)

                                                    Jim F. Spencer, Jr.
                                                    (See above for address)

                                                    Sagar Thakkar
                                                    (See above for address)


Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Bruce Bush, AZ                        represented by Cory Daniel Anderson
                                                     (See above for address)

                                                                               6
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                                                    Michael P. Connelly
                                                    (See above for address)

                                                    Michael P. Connelly
                                                    (See above for address)

                                                    Edward F Kuester, IV
                                                    (See above for address)

                                                    William Frederick Ray
                                                    (See above for address)

                                                    Stephanie M. Rippee
                                                    (See above for address)

                                                    Jim F. Spencer, Jr.
                                                    (See above for address)

                                                    Sagar Thakkar
                                                    (See above for address)


Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Dale Johnston, IL                     represented by Cory Daniel Anderson
                                                     (See above for address)

                                                    Michael P. Connelly
                                                    (See above for address)

                                                    Michael P. Connelly
                                                    (See above for address)

                                                    Edward F Kuester, IV
                                                    (See above for address)

                                                    William Frederick Ray
                                                    (See above for address)

                                                    Stephanie M. Rippee
                                                    (See above for address)

                                                    Jim F. Spencer, Jr.
                                                    (See above for address)

                                                    Sagar Thakkar
                                                    (See above for address)


Defendant
−−−−−−−−−−−−−−−−−−−−−−−
James Peters, IL                      represented by Cory Daniel Anderson
                                                     (See above for address)

                                                    Michael P. Connelly
                                                    (See above for address)

                                                    Michael P. Connelly
                                                    (See above for address)

                                                    Edward F Kuester, IV

                                                                               7
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                                                      (See above for address)

                                                      William Frederick Ray
                                                      (See above for address)

                                                      Stephanie M. Rippee
                                                      (See above for address)

                                                      Jim F. Spencer, Jr.
                                                      (See above for address)

                                                      Sagar Thakkar
                                                      (See above for address)


Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Byzfunder NY, LLC                      represented by Tristan Manthey
80 Broad Street, Suite 3303                           Fishman Haygood, LLP
New York, NY 1004−1000                                201 St. Charles Avenue, 46th Floor
                                                      New Orleans, LA 70170
                                                      504−566−5561
                                                      Fax : 504−586−5250
                                                      Email: tmanthey@fishmanhaygood.com


Defendant
−−−−−−−−−−−−−−−−−−−−−−−
NewCo Capital Group IV, LLC, NY        represented by Tristan Manthey
                                                      (See above for address)


Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Mehandi Vakil, CA                      represented by Mehandi Vakil
                                                      PRO SE




Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Wise Venture, LLC, CA                  represented by Wise Venture, LLC
                                                      PRO SE




Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Samson MCA, LLC, NY                    represented by Tristan Manthey
                                                      (See above for address)


Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Cloudfund, LLC, NY                     represented by Tristan Manthey
dba Samson Group                                      (See above for address)


Defendant

                                                                                           8
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−−−−−−−−−−−−−−−−−−−−−−−
Yaakov Winograd, NY                    represented by Alan L. Smith
                                                      P.O. Box 14167
                                                      Jackson, MS 39236
                                                      601−351−2400
                                                      Fax : 601−351−2424
                                                      Email: asmith@bakerdonelson.com


Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Unique Funding Solutions, LLC, NY      represented by Alan L. Smith
                                                      (See above for address)


Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Prosperum Capital Partners, LLC, NY    represented by Tristan Manthey
dba Arsenal Funding                                   (See above for address)


Defendant
−−−−−−−−−−−−−−−−−−−−−−−
John and Jane Doe Defendants 1 − 10    represented by John and Jane Doe Defendants 1 − 10
                                                      PRO SE




Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Entity Doe Defendants 1 − 5            represented by Entity Doe Defendants 1 − 5
                                                      PRO SE




Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Steven Markowitz, Jr.                  represented by Tristan Manthey
                                                      (See above for address)


Trustee
−−−−−−−−−−−−−−−−−−−−−−−
William Fava
Chapter 7 Trustee
Post Office Box 783
Southaven, MS 38671
662−536−1116


U.S. Trustee
−−−−−−−−−−−−−−−−−−−−−−−
U. S. Trustee
501 East Court Street, Suite 6−430
Jackson, MS 39201
601−965−5241




                                                                                            9
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Filing Date    #                                       Docket Text

                   1    Adversary case 24−01024. (02 (Other (e.g. other actions that would have
                        been brought in state court if unrelated to bankruptcy))) : Complaint by
                        Jason Richard Littrell, William L Fava against Tyler Burgess, Tonia Etoh,
                        International Development Services, International Services, Inc., TAVAS,
                        LLC, Penhurst Capital, Inc., Tim Willits, Nathan Free, Jerold Weissberg,
                        Robert Legon, Bruce Bush, Dale Johnston, James Peters, Byzfunder NY,
                        LLC, NewCo Capital Group IV, LLC, Mehandi Vakil, Wise Venture,
                        LLC, Steven Berkovitch, Samson MCA, LLC, Cloudfund, LLC, Yaakov
                        Winograd, Unique Funding Solutions, LLC, Prosperum Capital Partners,
                        LLC, John and Jane Doe Defendants 1 − 10, Entity Doe Defendants 1 − 5.
07/18/2024              Filing fee is exempt. (Tucker, Lawrence) (Entered: 07/18/2024)

                   2    Order and Notice as to Complaint Filing Fee. Complaint Filing Fee or
                        Objection to AP Dismissal due by 7/24/2024. Entered on Docket by:
07/18/2024              (MRH) (Entered: 07/18/2024)

                   3    Summons Issued on Steven Berkovitch, Tyler Burgess, Bruce Bush,
                        Byzfunder NY, LLC, Cloudfund, LLC, Entity Doe Defendants 1 − 5,
                        Tonia Etoh, Nathan Free, International Development Services,
                        International Services, Inc., John and Jane Doe Defendants 1 − 10, Dale
                        Johnston, Robert Legon, NewCo Capital Group IV, LLC, Penhurst
                        Capital, Inc., James Peters, Prosperum Capital Partners, LLC, Samson
                        MCA, LLC, TAVAS, LLC, Unique Funding Solutions, LLC, Mehandi
                        Vakil, Jerold Weissberg, Tim Willits, Yaakov Winograd, and Wise
07/18/2024              Venture, LLC . Entered on Docket by: (MRH) (Entered: 07/18/2024)

                        1:24−ap−1024 Complaint Filing Fee, Receipt Number 10000960, Fee
07/19/2024              Amount $350. Entered on Docket by: (WAC) (Entered: 07/22/2024)

                   4    Notice of Appearance and Request for Notice by Goodloe Lewis Filed by
                        Goodloe Lewis on behalf of William L Fava, Jason Richard Littrell.
07/23/2024              (Lewis, Goodloe) (Entered: 07/23/2024)

                   5    Notice of Appearance and Request for Notice by Brian Clark Filed by
                        Brian Clark on behalf of William L Fava, Jason Richard Littrell. (Clark,
07/23/2024              Brian) (Entered: 07/23/2024)

                        Request for Alias Summons by William L Fava, Jason Richard Littrell
                        Filed by Lawrence J. Tucker Jr on behalf of William L Fava, Jason
08/20/2024              Richard Littrell. (Tucker, Lawrence) (Entered: 08/20/2024)

                   6    Alias Summons Issued on Steven Berkovitch , Tyler Burgess , Bruce Bush
                        , Byzfunder NY, LLC , Cloudfund, LLC , Entity Doe Defendants 1 − 5 ,
                        Tonia Etoh , Nathan Free , International Development Services ,
                        International Services, Inc. , John and Jane Doe Defendants 1 − 10 , Dale
                        Johnston , Robert Legon , NewCo Capital Group IV, LLC , Penhurst
                        Capital, Inc. , James Peters , Prosperum Capital Partners, LLC , Samson
                        MCA, LLC , TAVAS, LLC , Unique Funding Solutions, LLC , Mehandi
                        Vakil , Jerold Weissberg , Tim Willits , Yaakov Winograd , Wise Venture,
08/21/2024              LLC . Entered on Docket by: (MRH) (Entered: 08/21/2024)

                   7    Alias Summons Service Executed on Dale Johnston 8/24/2024 .. (Tucker,
08/29/2024              Lawrence) (Entered: 08/29/2024)

                        Request for Alias Summons by William L Fava, Jason Richard Littrell
                        Filed by Lawrence J. Tucker Jr on behalf of William L Fava, Jason
08/29/2024              Richard Littrell. (Tucker, Lawrence) (Entered: 08/29/2024)

                                                                                                    10
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                   8    Alias Summons Issued on Steven Berkovitch , Tyler Burgess , Bruce Bush
                        , Byzfunder NY, LLC , Cloudfund, LLC , Entity Doe Defendants 1 − 5 ,
                        Tonia Etoh , Nathan Free , International Development Services ,
                        International Services, Inc. , John and Jane Doe Defendants 1 − 10 , Dale
                        Johnston , Robert Legon , NewCo Capital Group IV, LLC , Penhurst
                        Capital, Inc. , James Peters , Prosperum Capital Partners, LLC , Samson
                        MCA, LLC , TAVAS, LLC , Unique Funding Solutions, LLC , Mehandi
                        Vakil , Jerold Weissberg , Tim Willits , Yaakov Winograd , Wise Venture,
08/29/2024              LLC . Entered on Docket by: (MRH) (Entered: 08/29/2024)

                   9    Amended Complaint to correct identity of Defendant by William L Fava,
                        Jason Richard Littrell against Steven Markowitz, Jr., Tyler Burgess, Bruce
                        Bush, Byzfunder NY, LLC, Cloudfund, LLC, Entity Doe Defendants 1 −
                        5, Tonia Etoh, Nathan Free, International Development Services,
                        International Services, Inc., John and Jane Doe Defendants 1 − 10, Dale
                        Johnston, Robert Legon, NewCo Capital Group IV, LLC, Penhurst
                        Capital, Inc., James Peters, Prosperum Capital Partners, LLC, Samson
                        MCA, LLC, TAVAS, LLC, Unique Funding Solutions, LLC, Mehandi
                        Vakil, Jerold Weissberg, Tim Willits, Yaakov Winograd, Wise Venture,
                        LLC.RE: (related document(s)1 Complaint filed by Plaintiff William L
                        Fava, Plaintiff Jason Richard Littrell). (Tucker, Lawrence) (Entered:
09/09/2024              09/09/2024)

                   10   Summons Issued on Tyler Burgess, Bruce Bush, Byzfunder NY, LLC,
                        Cloudfund, LLC, Entity Doe Defendants 1 − 5, Tonia Etoh, Nathan Free,
                        International Development Services, International Services, Inc., John and
                        Jane Doe Defendants 1 − 10, Dale Johnston, Robert Legon, Steven
                        Markowitz, Jr., NewCo Capital Group IV, LLC, Penhurst Capital, Inc.,
                        James Peters, Prosperum Capital Partners, LLC, Samson MCA, LLC,
                        TAVAS, LLC, Unique Funding Solutions, LLC, Mehandi Vakil, Jerold
                        Weissberg, Tim Willits, Yaakov Winograd, and Wise Venture, LLC.
09/09/2024              Entered on Docket by: (MRH) (Entered: 09/09/2024)

                   11   Alias Summons Service Executed on Tim Willits 8/30/2024 .. (Tucker,
09/09/2024              Lawrence) (Entered: 09/09/2024)

                   12   Alias Summons Service Executed on International Services, Inc.
09/09/2024              8/26/2024 .. (Tucker, Lawrence) (Entered: 09/09/2024)

                   13   Alias Summons Service Executed on International Development Services
09/09/2024              8/29/2024 .. (Tucker, Lawrence) (Entered: 09/09/2024)

                   14   Alias Summons Service Executed on James Peters 8/29/2024 .. (Tucker,
09/09/2024              Lawrence) (Entered: 09/09/2024)

                   15   Alias Summons Service Executed on Cloudfund, LLC 9/3/2024 .. (Tucker,
09/18/2024              Lawrence) (Entered: 09/18/2024)

                   16   Alias Summons Service Executed on Samson MCA, LLC 8/28/2024 ..
09/18/2024              (Tucker, Lawrence) (Entered: 09/18/2024)

                   17   Alias Summons Service Executed on Jerold Weissberg 9/6/2024 ..
09/19/2024              (Tucker, Lawrence) (Entered: 09/19/2024)

                   18   Alias Summons Service Executed on Tyler Burgess 9/8/2024 .. (Tucker,
09/19/2024              Lawrence) (Entered: 09/19/2024)

09/20/2024         19


                                                                                                     11
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                        Alias Summons Service Executed on Yaakov Winograd 9/13/2024 ..
                        (Tucker, Lawrence) (Entered: 09/20/2024)

                   20   Alias Summons Service Executed on Nathan Free 9/11/2024 or before
10/09/2024              (returned marked "refused").. (Tucker, Lawrence) (Entered: 10/09/2024)

                   21   Motion To Extend Time to Serve Process Filed by Lawrence J. Tucker Jr
                        on behalf of William L Fava, Jason Richard Littrell. (Attachments: # 1
                        Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6
                        Exhibit F # 7 Exhibit G # 8 Exhibit h # 9 Exhibit I # 10 Exhibit J # 11
                        Exhibit K # 12 Exhibit L # 13 Exhibit M # 14 Exhibit N # 15 Exhibit O #
                        16 Exhibit P # 17 Exhibit Q # 18 Exhibit R # 19 Exhibit S) (Tucker,
10/16/2024              Lawrence) (Entered: 10/16/2024)

                   22   The court hereby orders and directs Lawrence J. Tucker Jr to submit a
                        proposed order (Re: 21 Motion to Extend/Shorten Time filed by Plaintiff
                        William L Fava, Plaintiff Jason Richard Littrell). Order Due by
10/17/2024              10/31/2024 Entered on Docket by: (MRH) (Entered: 10/17/2024)

                   23   Order Granting Plaintiffs' Motion to Extend Time for Service of Process.
                        Extended for 90 Days. (Related Doc # 21) Entered on Docket by: (MRH)
10/28/2024              (Entered: 10/28/2024)

                   24   Notice of Appearance and Request for Notice by Jim F. Spencer Jr. Filed
                        by Jim F. Spencer Jr. on behalf of Tyler Burgess, Bruce Bush, Tonia Etoh,
                        Nathan Free, International Development Services, International Services,
                        Inc., Dale Johnston, Robert Legon, Penhurst Capital, Inc., James Peters,
                        TAVAS, LLC, Jerold Weissberg, Tim Willits. (Spencer, Jim) (Entered:
10/30/2024              10/30/2024)

                   25   Notice of Appearance and Request for Notice by William Frederick Ray
                        Filed by William Frederick Ray on behalf of Tyler Burgess, Bruce Bush,
                        Tonia Etoh, Nathan Free, International Development Services,
                        International Services, Inc., Dale Johnston, Robert Legon, Penhurst
                        Capital, Inc., James Peters, TAVAS, LLC, Jerold Weissberg, Tim Willits.
10/30/2024              (Ray, William) (Entered: 10/30/2024)

                   26   Notice of Appearance and Request for Notice by Stephanie M. Rippee
                        Filed by Stephanie M. Rippee on behalf of Tyler Burgess, Bruce Bush,
                        Tonia Etoh, Nathan Free, International Development Services,
                        International Services, Inc., Dale Johnston, Robert Legon, Penhurst
                        Capital, Inc., James Peters, TAVAS, LLC, Jerold Weissberg, Tim Willits.
10/30/2024              (Rippee, Stephanie) (Entered: 10/30/2024)

                   27   Motion to Appear pro hac vice of Edward F. Kuester, IV Filed by Jim F.
                        Spencer Jr. on behalf of Tyler Burgess, Bruce Bush, Tonia Etoh, Nathan
                        Free, International Development Services, International Services, Inc.,
                        Dale Johnston, Robert Legon, Penhurst Capital, Inc., James Peters,
                        TAVAS, LLC, Jerold Weissberg, Tim Willits. (Attachments: # 1 Exhibit
                        Affidavit with Certificate of Good Standing # 2 Proposed Order) (Spencer,
10/30/2024              Jim) (Entered: 10/30/2024)

                   28   Motion To Extend Time in Which to Plead or Otherwise Defend Filed by
                        Jim F. Spencer Jr. on behalf of Tyler Burgess, Bruce Bush, Tonia Etoh,
                        Nathan Free, International Development Services, International Services,
                        Inc., Dale Johnston, Robert Legon, Penhurst Capital, Inc., James Peters,
                        TAVAS, LLC, Jerold Weissberg, Tim Willits. (Attachments: # 1 Proposed
10/30/2024              Order) (Spencer, Jim) (Entered: 10/30/2024)



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                   29   BNC Certificate of Service No. of Notices: 1. Notice Date 10/30/2024.
10/30/2024              (Related Doc # 23) (Admin.) (Entered: 10/30/2024)

                        Undeliverable Mail Addressed to Tyler Burgess, Tonia Etoh, International
                        Development Services, International Services, Inc., TAVAS, LLC,
                        Penhurst Captial, Inc., Tim Willits, Nathan Free, Jerold Weissberg, Robert
                        Legon, Bruce Bush, Dale Johnson, and James Peters: Represented by
                        William Frederick Ray, Stephanie M. Rippee, and Jim F. Spencer, Jr. (RE:
                        related document(s) 23 Order on Motion to Extend/Shorten Time). Entered
11/01/2024              on Docket by: (WC) (Entered: 11/01/2024)

                        Undeliverable Mail Addressed to NewCo Capital Group IV, LLC,
                        Mehandi Vakil, Wise Venture, LLC, Samson MCA, LLC, Cloudfund,
                        LLC, Yaakov Winograd, Unique Funding Solutions, LLC, Prosperum
                        Capital Partners, LLC, John and Jane Doe Defendants 1−10, Entitiy Doe
                        Defendants 1−5, and Steven Markowitz, Jr.: Pro Se (RE: related
                        document(s) 23 Order on Motion to Extend/Shorten Time). Entered on
11/01/2024              Docket by: (WC) (Entered: 11/01/2024)

                   30   Order Granting Motion To Appear pro hac vice of Edward F. Kuester, IV
11/01/2024              (Related Doc # 27) Entered on Docket by: (MRH) (Entered: 11/01/2024)

                   31   Order Granting Motion to Extend Time in Which to Plead or Otherwise
                        Defend. Deadline for Tyler Burgess, Bruce Bush, Tonia Etoh, Nathan
                        Free, International Development Services, International Services, Inc.,
                        Dale Johnston, Robert Legon, Penhurst Capital, Inc., James Peters,
                        TAVAS, LLC, Jerold Weissberg, Tim Willits extended to 12/13/2024.
11/01/2024              (Related Doc # 28) Entered on Docket by: (MRH) (Entered: 11/01/2024)

                   32   BNC Certificate of Service No. of Notices: 1. Notice Date 11/03/2024.
11/03/2024              (Related Doc # 30) (Admin.) (Entered: 11/03/2024)

                   33   BNC Certificate of Service No. of Notices: 1. Notice Date 11/03/2024.
11/03/2024              (Related Doc # 31) (Admin.) (Entered: 11/03/2024)

                        Request for Alias Summons by William L Fava, Jason Richard Littrell
                        Filed by Lawrence J. Tucker Jr on behalf of William L Fava, Jason
12/05/2024              Richard Littrell. (Tucker, Lawrence) (Entered: 12/05/2024)

                   34   Alias Summons Issued on Tyler Burgess, Bruce Bush, Byzfunder NY,
                        LLC, Cloudfund, LLC, Entity Doe Defendants 1 − 5, Tonia Etoh, Nathan
                        Free, International Development Services, International Services, Inc.,
                        John and Jane Doe Defendants 1 − 10, Dale Johnston, Robert Legon,
                        Steven Markowitz, Jr., NewCo Capital Group IV, LLC, Penhurst Capital,
                        Inc., James Peters, Prosperum Capital Partners, LLC, Samson MCA, LLC,
                        TAVAS, LLC, Unique Funding Solutions, LLC, Mehandi Vakil, Jerold
                        Weissberg, Tim Willits , Yaakov Winograd, Wise Venture, LLC. Entered
12/06/2024              on Docket by: (MRH) (Entered: 12/06/2024)

                   35   Motion To Extend Time Filed by Jim F. Spencer Jr. on behalf of Tyler
                        Burgess, Bruce Bush, Tonia Etoh, Nathan Free, International Development
                        Services, International Services, Inc., Dale Johnston, Robert Legon,
                        Penhurst Capital, Inc., James Peters, TAVAS, LLC, Jerold Weissberg,
                        Tim Willits. (Attachments: # 1 Proposed Order) (Spencer, Jim) (Entered:
12/09/2024              12/09/2024)

12/11/2024         36   Motion to Appear pro hac vice Filed by Jim F. Spencer Jr. on behalf of
                        Tyler Burgess, Bruce Bush, Tonia Etoh, Nathan Free, International
                        Development Services, International Services, Inc., Dale Johnston, Robert

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                        Legon, Penhurst Capital, Inc., James Peters, TAVAS, LLC, Jerold
                        Weissberg. (Attachments: # 1 Exhibit Affidavit # 2 Proposed Order)
                        (Spencer, Jim) (Entered: 12/11/2024)

                   37   Motion to Appear pro hac vice Filed by Jim F. Spencer Jr. on behalf of
                        Tyler Burgess, Bruce Bush, Tonia Etoh, Nathan Free, International
                        Development Services, International Services, Inc., Dale Johnston, Robert
                        Legon, Penhurst Capital, Inc., James Peters, TAVAS, LLC, Jerold
                        Weissberg. (Attachments: # 1 Exhibit Affidavit # 2 Proposed Order)
12/11/2024              (Spencer, Jim) (Entered: 12/11/2024)

                   38   Motion to Appear pro hac vice Filed by Jim F. Spencer Jr. on behalf of
                        Tyler Burgess, Bruce Bush, Tonia Etoh, Nathan Free, International
                        Development Services, International Services, Inc., Dale Johnston, Robert
                        Legon, Penhurst Capital, Inc., James Peters, TAVAS, LLC, Jerold
                        Weissberg. (Attachments: # 1 Exhibit Affidavit # 2 Proposed Order)
12/11/2024              (Spencer, Jim) (Entered: 12/11/2024)

                   39   Order Granting Motion to Extend Time in Which to Plead or Otherwise
                        Defend. (Related Doc # 35) Entered on Docket by: (MRH) (Entered:
12/16/2024              12/16/2024)

                        Tyler Burgess Answer Deadline Reset for 1/10/2025; Bruce Bush Answer
                        Deadline Reset for 1/10/2025; Tonia Etoh Answer Deadline Reset for
                        1/10/2025; Nathan Free Answer Deadline Reset for 1/10/2025;
                        International Development Services Answer Deadline Reset for
                        1/10/2025; International Services, Inc. Answer Deadline Reset for
                        1/10/2025; Dale Johnston Answer Deadline Reset for 1/10/2025; Robert
                        Legon Answer Deadline Reset for 1/10/2025; Penhurst Capital, Inc.
                        Answer Deadline Reset for 1/10/2025; James Peters Answer Deadline
                        Reset for 1/10/2025; TAVAS, LLC Answer Deadline Reset for 1/10/2025;
                        Jerold Weissberg Answer Deadline Reset for 1/10/2025; Tim Willits
                        Answer Deadline Reset for 1/10/2025 . Entered on Docket by: (MRH)
12/16/2024              (Entered: 12/16/2024)

                   40   Order Granting Motion for Cory D. Anderson To Appear pro hac vice
12/16/2024              (Related Doc # 36) Entered on Docket by: (MRH) (Entered: 12/16/2024)

                   41   Order Granting Motion for Michael P. Connelly To Appear pro hac vice
12/16/2024              (Related Doc # 37) Entered on Docket by: (MRH) (Entered: 12/16/2024)

                   42   Order Granting Motion for Sagar P. Thakkar To Appear pro hac vice
12/16/2024              (Related Doc # 38) Entered on Docket by: (MRH) (Entered: 12/16/2024)

                   43   BNC Certificate of Service No. of Notices: 1. Notice Date 12/18/2024.
12/18/2024              (Related Doc # 39) (Admin.) (Entered: 12/18/2024)

                   44   BNC Certificate of Service No. of Notices: 2. Notice Date 12/18/2024.
12/18/2024              (Related Doc # 40) (Admin.) (Entered: 12/18/2024)

                   45   BNC Certificate of Service No. of Notices: 3. Notice Date 12/18/2024.
12/18/2024              (Related Doc # 41) (Admin.) (Entered: 12/18/2024)

                   46   BNC Certificate of Service No. of Notices: 4. Notice Date 12/18/2024.
12/18/2024              (Related Doc # 42) (Admin.) (Entered: 12/18/2024)

01/10/2025         47   Motion for Withdrawal of Reference . Filed by Stephanie M. Rippee on
                        behalf of Tyler Burgess, Bruce Bush, Tonia Etoh, Nathan Free,


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                        International Development Services, International Services, Inc., Dale
                        Johnston, Robert Legon, Penhurst Capital, Inc., James Peters, TAVAS,
                        LLC, Jerold Weissberg (RE: related document(s)1 Complaint filed by
                        Plaintiff William L Fava, Plaintiff Jason Richard Littrell). (Attachments: #
                        1 Exhibit 1 − Littco, LLC Secretary of State Information # 2 Exhibit 2 −
                        Littco Metals Management Co. Secretary of State Information # 3 Exhibit
                        3 − Littco Metals Equipment Leasing, Inc. Secretary of State Information)
                        (Rippee, Stephanie) (Entered: 01/10/2025)

                   48   Brief in Support of Motion to Withdraw Reference Filed by Stephanie M.
                        Rippee on behalf of Tyler Burgess, Bruce Bush, Tonia Etoh, Nathan Free,
                        International Development Services, International Services, Inc., Dale
                        Johnston, Robert Legon, Penhurst Capital, Inc., James Peters, TAVAS,
                        LLC, Jerold Weissberg (RE: related document(s)47 Motion for
                        Withdrawal of Reference filed by Defendant Tyler Burgess, Defendant
                        Tonia Etoh, Defendant International Development Services, Defendant
                        International Services, Inc., Defendant TAVAS, LLC, Defendant Penhurst
                        Capital, Inc., Defendant Nathan Free, Defendant Jerold Weissberg,
                        Defendant Robert Legon, Defendant Bruce Bush, Defendant Dale
                        Johnston, Defendant James Peters). (Rippee, Stephanie) (Entered:
01/10/2025              01/10/2025)

                        Receipt of filing fee for Motion for Withdrawal of Reference(
                        24−01024−SDM) [motion,mwdref] ( 199.00). Receipt number
01/10/2025              AXXXXXXXX, amount $ 199.00. (U.S. Treasury) (Entered: 01/10/2025)

                   49   Motion to Dismiss Adversary Proceeding Filed by Michael P. Connelly on
                        behalf of Tyler Burgess, Bruce Bush, Tonia Etoh, Nathan Free,
                        International Development Services, International Services, Inc., Dale
                        Johnston, Robert Legon, Penhurst Capital, Inc., James Peters, TAVAS,
                        LLC, Jerold Weissberg, Tim Willits. (Connelly, Michael) (Entered:
01/10/2025              01/10/2025)

                   50   Brief in Support of IDS Defendants' Motion to Dismiss Filed by Michael P.
                        Connelly on behalf of Tyler Burgess, Bruce Bush, Tonia Etoh, Nathan
                        Free, International Development Services, International Services, Inc.,
                        Dale Johnston, Robert Legon, Penhurst Capital, Inc., James Peters,
                        TAVAS, LLC, Jerold Weissberg, Tim Willits (RE: related document(s)49
                        Motion to Dismiss Adversary Proceeding filed by Defendant Tyler
                        Burgess, Defendant Tonia Etoh, Defendant International Development
                        Services, Defendant International Services, Inc., Defendant TAVAS, LLC,
                        Defendant Penhurst Capital, Inc., Defendant Tim Willits, Defendant
                        Nathan Free, Defendant Jerold Weissberg, Defendant Robert Legon,
                        Defendant Bruce Bush, Defendant Dale Johnston, Defendant James
01/10/2025              Peters). (Connelly, Michael) (Entered: 01/10/2025)

                   51   Hearing Set On (RE: related document(s) 49 Motion to Dismiss Adversary
                        Proceeding filed by Defendant Tyler Burgess, Defendant Tonia Etoh,
                        Defendant International Development Services, Defendant International
                        Services, Inc., Defendant TAVAS, LLC, Defendant Penhurst Capital, Inc.,
                        Defendant Tim Willits, Defendant Nathan Free, Defendant Jerold
                        Weissberg, Defendant Robert Legon, Defendant Bruce Bush, Defendant
                        Dale Johnston, Defendant James Peters). The Hearing date is scheduled
                        for 2/25/2025 at 10:00 AM at Cochran U.S. Bankruptcy Courthouse.
                        Responses due by 1/31/2025. Reply due by 2/14/2025. Entered on Docket
01/10/2025              by: (MRH) (Entered: 01/10/2025)

                   52   BNC Certificate of Service No. of Notices: 2. Notice Date 01/12/2025.
01/12/2025              (Related Doc # 51) (Admin.) (Entered: 01/12/2025)



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                   53   Notice of Appearance and Request for Notice by Tristan Manthey Filed by
                        Tristan Manthey on behalf of Byzfunder NY, LLC, Cloudfund, LLC,
                        Steven Markowitz, Jr., NewCo Capital Group IV, LLC, Prosperum Capital
                        Partners, LLC, Samson MCA, LLC. (Manthey, Tristan) (Entered:
01/15/2025              01/15/2025)

                   54   Motion To Extend Time to Plead or Otherwise Defend Filed by Tristan
                        Manthey on behalf of Byzfunder NY, LLC, Cloudfund, LLC, Steven
                        Markowitz, Jr., NewCo Capital Group IV, LLC, Prosperum Capital
                        Partners, LLC, Samson MCA, LLC. (Manthey, Tristan) (Entered:
01/16/2025              01/16/2025)

                   55   Motion To Extend Time Filed by Goodloe Lewis on behalf of William L
01/16/2025              Fava, Jason Richard Littrell. (Lewis, Goodloe) (Entered: 01/16/2025)

                   56   The court hereby orders and directs Goodloe Lewis to submit a proposed
                        order (Re: 55 Motion to Extend/Shorten Time filed by Plaintiff William L
                        Fava, Plaintiff Jason Richard Littrell). Order Due by 1/31/2025 Entered on
01/17/2025              Docket by: (AOH) (Entered: 01/17/2025)

                   57   Order Granting Motion to Extend Time to plead or otherwise defend in
                        response to the Plaintiffs' Amended Complaint. New ddl: 1/31/25 (Related
01/17/2025              Doc # 54) Entered on Docket by: (AOH) (Entered: 01/17/2025)

                        Per order 57 Byzfunder NY, LLC Answer Deadline Reset for 1/31/2025;
                        Cloudfund, LLC Answer Deadline Reset for 1/31/2025; Steven
                        Markowitz, Jr. Answer Deadline Reset for 1/31/2025; NewCo Capital
                        Group IV, LLC Answer Deadline Reset for 1/31/2025; Prosperum Capital
                        Partners, LLC Answer Deadline Reset for 1/31/2025; Samson MCA, LLC
                        Answer Deadline Reset for 1/31/2025 . Entered on Docket by: (AOH)
01/17/2025              (Entered: 01/17/2025)

                   58   BNC Certificate of Service No. of Notices: 1. Notice Date 01/19/2025.
01/19/2025              (Related Doc # 57) (Admin.) (Entered: 01/19/2025)

                   59   Order Granting Plaintiffs' Motion for Extension of Time to Respond to
                        Motion to Dismiss Adversary Proceeding (Dkt. #49) and Motion to
                        Withdraw Reference (Dkt. #47) and to Continue Hearing (Dkt. #55). The
                        Hearing date is scheduled for 3/25/2025 at 10:00 AM at Cochran U.S.
                        Bankruptcy Courthouse. Responses due by 2/24/2025. Entered on Docket
01/22/2025              by: (MRH) (Entered: 01/22/2025)

                        Undeliverable Mail Addressed to Tyler Burgess, Tonia Etoh, International
                        Development Services, International Services, Inc., TAVAS, LLC,
                        Penhurst Capital, Inc., Tim Willits, Nathan Free, Jerold Weissberg, Robert
                        Legon, Bruce Bush, Dale Johnston, and James Peters: Represented by
                        Cory Daniel Anderson, Michael P. Connelly, Edward F Kuester, IV,
                        William Frederick Ray, Stephanie M. Rippee, Jim F. Spencer, Jr., and
                        Sagar Thakkar (RE: related document(s) 59 Order to Set/Reset Hearing,
01/24/2025              Order (Generic)). Entered on Docket by: (WC) (Entered: 01/24/2025)

                        Undeliverable Mail Addressed to NewCo Capital Group IV, LLC, Wise
                        Venture, LLC, Samson MCA, LLC, Cloudfund, LLC, Prosperum Capital
                        Partners, LLC, and Steven Markowitz, Jr.: Represented by Tristan
                        Manthey (RE: related document(s) 59 Order to Set/Reset Hearing, Order
01/24/2025              (Generic)). Entered on Docket by: (WC) (Entered: 01/24/2025)

01/24/2025              Undeliverable Mail Addressed to Mehandi Vakil, Yaakov Winograd,
                        Unique Funding Solutions, LLC, John and Jane Doe Defendants 1 − 10,

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                        and Entity Doe Defendants 1 − 5: Pro Se (RE: related document(s) 59
                        Order to Set/Reset Hearing, Order (Generic)). Entered on Docket by:
                        (WC) (Entered: 01/24/2025)

                   60   BNC Certificate of Service No. of Notices: 2. Notice Date 01/24/2025.
01/24/2025              (Related Doc # 59) (Admin.) (Entered: 01/24/2025)

                   61   Motion to Dismiss Adversary Proceeding Filed by Tristan Manthey on
01/31/2025              behalf of Byzfunder NY, LLC. (Manthey, Tristan) (Entered: 01/31/2025)

                   62   Brief Memorandum of Law in Support of Motion to Dismiss Filed by
                        Tristan Manthey on behalf of Byzfunder NY, LLC (RE: related
                        document(s)1 Complaint filed by Plaintiff William L Fava, Plaintiff Jason
                        Richard Littrell, 9 Amended Complaint filed by Plaintiff William L Fava,
                        Plaintiff Jason Richard Littrell). (Attachments: # 1 Exhibit A # 2 Exhibit B
01/31/2025              # 3 Exhibit C) (Manthey, Tristan) (Entered: 01/31/2025)

                   63   Motion to Dismiss Adversary Proceeding Filed by Tristan Manthey on
01/31/2025              behalf of Cloudfund, LLC. (Manthey, Tristan) (Entered: 01/31/2025)

                   64   Brief Memorandum of Law in Support of Motion to Dismiss Filed by
                        Tristan Manthey on behalf of Cloudfund, LLC (RE: related document(s)63
                        Motion to Dismiss Adversary Proceeding filed by Defendant Cloudfund,
                        LLC). (Attachments: # 1 Exhibit A # 2 Exhibit B) (Manthey, Tristan)
01/31/2025              (Entered: 01/31/2025)

                   65   Motion to Dismiss Adversary Proceeding Filed by Tristan Manthey on
                        behalf of NewCo Capital Group IV, LLC. (Manthey, Tristan) (Entered:
01/31/2025              01/31/2025)

                   66   Brief Memorandum of Law in Support of Motion to Dismiss Filed by
                        Tristan Manthey on behalf of NewCo Capital Group IV, LLC (RE: related
                        document(s)65 Motion to Dismiss Adversary Proceeding filed by
                        Defendant NewCo Capital Group IV, LLC). (Attachments: # 1 Exhibit A #
01/31/2025              2 Exhibit B) (Manthey, Tristan) (Entered: 01/31/2025)

                   67   Motion to Dismiss Adversary Proceeding Filed by Tristan Manthey on
                        behalf of Prosperum Capital Partners, LLC. (Manthey, Tristan) (Entered:
01/31/2025              01/31/2025)

                   68   Brief Memorandum of Law in Support of Motion to Dismiss Filed by
                        Tristan Manthey on behalf of Prosperum Capital Partners, LLC (RE:
                        related document(s)67 Motion to Dismiss Adversary Proceeding filed by
                        Defendant Prosperum Capital Partners, LLC). (Attachments: # 1 Exhibit A
01/31/2025              # 2 Exhibit B) (Manthey, Tristan) (Entered: 01/31/2025)

                   69   Motion to Dismiss Adversary Proceeding Filed by Tristan Manthey on
                        behalf of Steven Markowitz, Jr., Samson MCA, LLC. (Manthey, Tristan)
01/31/2025              (Entered: 01/31/2025)

                   70   Brief Memorandum of Law in Support of Motion to Dismiss Filed by
                        Tristan Manthey on behalf of Steven Markowitz, Jr., Samson MCA, LLC
                        (RE: related document(s)69 Motion to Dismiss Adversary Proceeding filed
                        by Defendant Samson MCA, LLC, Defendant Steven Markowitz, Jr.).
                        (Attachments: # 1 Exhibit A # 2 Exhibit B) (Manthey, Tristan) (Entered:
01/31/2025              01/31/2025)

02/05/2025         71


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                        Hearing Set On (RE: related document(s) 61 Motion to Dismiss Adversary
                        Proceeding filed by Defendant Byzfunder NY, LLC). The Hearing date is
                        scheduled for 3/25/2025 at 10:00 AM at Cochran U.S. Bankruptcy
                        Courthouse. Responses due by 2/26/2025. Reply due by 3/12/2025.
                        Entered on Docket by: (MRH) (Entered: 02/05/2025)

                   72   Hearing Set On (RE: related document(s) 63 Motion to Dismiss Adversary
                        Proceeding filed by Defendant Cloudfund, LLC). The Hearing date is
                        scheduled for 3/25/2025 at 10:00 AM at Cochran U.S. Bankruptcy
                        Courthouse. Responses due by 2/26/2025. Reply due by 3/12/2025.
02/05/2025              Entered on Docket by: (MRH) (Entered: 02/05/2025)

                   73   Hearing Set On (RE: related document(s) 65 Motion to Dismiss Adversary
                        Proceeding filed by Defendant NewCo Capital Group IV, LLC). The
                        Hearing date is scheduled for 3/25/2025 at 10:00 AM at Cochran U.S.
                        Bankruptcy Courthouse. Responses due by 2/26/2025. Reply due by
02/05/2025              3/12/2025. Entered on Docket by: (MRH) (Entered: 02/05/2025)

                   74   Hearing Set On (RE: related document(s) 67 Motion to Dismiss Adversary
                        Proceeding filed by Defendant Prosperum Capital Partners, LLC). The
                        Hearing date is scheduled for 3/25/2025 at 10:00 AM at Cochran U.S.
                        Bankruptcy Courthouse. Responses due by 2/26/2025. Reply due by
02/05/2025              3/12/2025. Entered on Docket by: (MRH) (Entered: 02/05/2025)

                   75   Hearing Set On (RE: related document(s) 69 Motion to Dismiss Adversary
                        Proceeding filed by Defendant Samson MCA, LLC, Defendant Steven
                        Markowitz, Jr.). The Hearing date is scheduled for 3/25/2025 at 10:00 AM
                        at Cochran U.S. Bankruptcy Courthouse. Responses due by 2/26/2025.
                        Reply due by 3/12/2025. Entered on Docket by: (MRH) (Entered:
02/05/2025              02/05/2025)

                   76   BNC Certificate of Service No. of Notices: 2. Notice Date 02/07/2025.
02/07/2025              (Related Doc # 71) (Admin.) (Entered: 02/07/2025)

                   77   BNC Certificate of Service No. of Notices: 2. Notice Date 02/07/2025.
02/07/2025              (Related Doc # 72) (Admin.) (Entered: 02/07/2025)

                   78   BNC Certificate of Service No. of Notices: 2. Notice Date 02/07/2025.
02/07/2025              (Related Doc # 73) (Admin.) (Entered: 02/07/2025)

                   79   BNC Certificate of Service No. of Notices: 1. Notice Date 02/07/2025.
02/07/2025              (Related Doc # 74) (Admin.) (Entered: 02/07/2025)

                   80   BNC Certificate of Service No. of Notices: 2. Notice Date 02/07/2025.
02/07/2025              (Related Doc # 75) (Admin.) (Entered: 02/07/2025)

                   81   Notice of Appearance and Request for Notice by Alan L. Smith Filed by
                        Alan L. Smith on behalf of Yaakov Winograd. (Smith, Alan) (Entered:
02/18/2025              02/18/2025)

                   82   Notice of Appearance and Request for Notice by Alan L. Smith Filed by
                        Alan L. Smith on behalf of Unique Funding Solutions, LLC. (Smith, Alan)
02/18/2025              (Entered: 02/18/2025)

02/20/2025         83   Motion To Extend Time for Defendants, Unique Funding Solutions, LLC
                        and Yaakov Winograd, to Answer or Otherwise Respond to First Amended
                        Complaint Filed by Alan L. Smith on behalf of Unique Funding Solutions,
                        LLC, Yaakov Winograd. (Attachments: # 1 Exhibit A − (proposed) Order)


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                        (Smith, Alan) (Entered: 02/20/2025)

                   84   Order Granting Motion to Extend Deadline for Defendants, Unique
                        Funding Solutions, LLC and Yaakov Winograd to Answer or Otherwise
                        Respond to the First Amended Complaint. Unique Funding Solutions,
                        LLC and Yaakov Winograd shall each be allowed up to and including
                        Friday, March 7, 2025, to answer or otherwise respond to the First
                        Amended Complaint (Related Doc # 83) Entered on Docket by: (MRH)
02/21/2025              (Entered: 02/21/2025)

                        Unique Funding Solutions, LLC Answer Deadline Reset for 3/7/2025;
                        Yaakov Winograd Answer Deadline Reset for 3/7/2025. Entered on
02/21/2025              Docket by: (MRH) (Entered: 02/21/2025)

                   85   Amended Document Memorandum of Law in Support of Motion to
                        Dismiss Filed by Tristan Manthey on behalf of NewCo Capital Group IV,
                        LLC (RE: related document(s)66 Brief filed by Defendant NewCo Capital
                        Group IV, LLC). (Attachments: # 1 Exhibit A # 2 Exhibit B) (Manthey,
02/21/2025              Tristan) (Entered: 02/21/2025)

                   86   BNC Certificate of Service No. of Notices: 2. Notice Date 02/23/2025.
02/23/2025              (Related Doc # 84) (Admin.) (Entered: 02/23/2025)

                   87   Motion for Leave to File Second Amended Complaint Filed by Goodloe
                        Lewis on behalf of William L Fava, Jason Richard Littrell. (Attachments:
                        # 1 Exhibit A − Proposed Second Amended Complaint # 2 Exhibit B −
                        Byzfunder Proof of Claim # 3 Exhibit C − Samson MCA Proof of Claim #
                        4 Exhibit D − Proposed Order Granting Motion) (Lewis, Goodloe)
02/24/2025              (Entered: 02/24/2025)

                   88   Brief in Support of Plaintiffs' Motion for Leave to File Second Amended
                        Complaint Filed by Goodloe Lewis on behalf of William L Fava, Jason
                        Richard Littrell (RE: related document(s)87 Generic Motion filed by
                        Plaintiff William L Fava, Plaintiff Jason Richard Littrell). (Lewis,
02/24/2025              Goodloe) (Entered: 02/24/2025)

                   89   Motion Response in Opposition to Motion to Withdraw Reference Filed by
                        Goodloe Lewis on behalf of William L Fava, Jason Richard Littrell.
                        (Attachments: # 1 Exhibit A − Bankruptcy Petition by LITTCO Metals # 2
                        Exhibit B − Byzfunder Proof of Claim # 3 Exhibit C− Samson MCA Proof
                        of Claim # 4 Exhibit D − International Services, Inc. Proof of Claim)
02/24/2025              (Lewis, Goodloe) (Entered: 02/24/2025)

                   90   Brief in Support of Response to Motion to Withdraw Reference Filed by
                        Goodloe Lewis on behalf of William L Fava, Jason Richard Littrell (RE:
                        related document(s)47 Motion for Withdrawal of Reference filed by
                        Defendant Tyler Burgess, Defendant Tonia Etoh, Defendant International
                        Development Services, Defendant International Services, Inc., Defendant
                        TAVAS, LLC, Defendant Penhurst Capital, Inc., Defendant Nathan Free,
                        Defendant Jerold Weissberg, Defendant Robert Legon, Defendant Bruce
                        Bush, Defendant Dale Johnston, Defendant James Peters). (Lewis,
02/24/2025              Goodloe) (Entered: 02/24/2025)

                   91   Motion Response to International Development Services' Motion to
                        Dismiss Filed by Goodloe Lewis on behalf of William L Fava, Jason
                        Richard Littrell. (Attachments: # 1 Exhibit A − Bankruptcy Petition by
                        LITTCO Metals # 2 Exhibit B − Byzfunder Proof of Claim # 3 Exhibit C −
                        Samson MCA Proof of Claim # 4 Exhibit D − International Services, Inc.
02/24/2025              Proof of Claim) (Lewis, Goodloe) (Entered: 02/24/2025)


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                   92   Brief in Support of Response to International Development Services'
                        Motion to Dismiss Filed by Goodloe Lewis on behalf of William L Fava,
                        Jason Richard Littrell (RE: related document(s)49 Motion to Dismiss
                        Adversary Proceeding filed by Defendant Tyler Burgess, Defendant Tonia
                        Etoh, Defendant International Development Services, Defendant
                        International Services, Inc., Defendant TAVAS, LLC, Defendant Penhurst
                        Capital, Inc., Defendant Tim Willits, Defendant Nathan Free, Defendant
                        Jerold Weissberg, Defendant Robert Legon, Defendant Bruce Bush,
                        Defendant Dale Johnston, Defendant James Peters). (Lewis, Goodloe)
02/24/2025              (Entered: 02/24/2025)

                   93   Hearing Set On (RE: related document(s) 87 Generic Motion filed by
                        Plaintiff William L Fava, Plaintiff Jason Richard Littrell). The Hearing date
                        is scheduled for 4/22/2025 at 10:00 AM at Cochran U.S. Bankruptcy
                        Courthouse. Responses due by 3/24/2025. Entered on Docket by: (MRH)
02/25/2025              (Entered: 02/25/2025)




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                      UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE:                                                      CHAPTER 7
LITTCO METALS, LLC                                          CASE NO. 23-10069-SDM


JASON RICHARD LITTRELL AND WILLIAM L FAVA,                                        PLAINTIFFS
TRUSTEE FOR LITTCO METALS, LLC D/B/A
LITTCO, LLC, LITTCO METALS EQUIPMENT
LEASING, INC., AND LITTCO METALS MANAGEMENT CO.

VS.                                                 ADV. PROCEEDING NO: 24-01024-SDM

TYLER BURGESS; TONIA ETOH; INTERNATIONAL                                        DEFENDANTS
DEVELOPMENT SERVICES, INC.; INTERNATIONAL
SERVICES, INC.; TAVAS, LLC; PENHURST CAPITAL,
INC.; TIM WILLITS; NATHAN FREE; JEROLD
WEISSBERG; ROBERT LEGON; BRUCE BUSH;
DALE JOHNSTON; JAMES PETERS; BYZFUNDER NY,
LLC; NEWCO CAPITAL GROUP IV, LLC; MEHANDI VAKIL;
WISE VENTURE, LLC; STEVEN MARKOWITZ, JR.;
SAMSON, MCA, LLC; CLOUDFUND, LLC D/B/A SAMSON
GROUP; UNIQUE FUNDING SOLUTIONS, LLC; YAAKOV
WINOGRAD; PROSPERUM CAPITAL PARTNERS, LLC
D/B/A ARSENAL FUNDING; JOHN AND JANE DOES 1-10;
AND ENTITY DOES 1-5

                    ***RELIEF IS SOUGHT FROM A
                  UNITED STATES DISTRICT JUDGE***
___________________________________________________________________________

                    MOTION TO WITHDRAW REFERENCE
______________________________________________________________________________


       Defendants, Tyler Burgess, Tonia Etoh, International Development Services, Inc.,

International Services, Inc., Tavas, LLC, Penhurst Capital, Inc., Nathan Free, Jerold Weissberg,

Robert Legon, Bruce Bush, Dale Johnston and James Peters (collectively “IDS Defendants”), by

and through counsel, submit this Motion to Withdraw Reference.




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       1.      Seemingly in an attempt to avoid stringent RICO pleadings requirements set forth

in rule 83.8 of the Local Uniform Civil Rules of the Northern and Southern Districts of Mississippi

(“L.U.Civ.R.”), plaintiffs have filed a ten count adversary proceeding in Bankruptcy Court,

consisting solely of non-core claims, that should be adjudicated by the District Court.

       2.      As set forth in detail in the memorandum contemporaneously filed with this motion,

the IDS Defendants seek withdrawal of the reference of the adversary proceeding so that the

District Court can fully adjudicate this proceeding. Because plaintiffs have asserted federal RICO

claims which will present substantial and material issues regarding the interpretation of the federal

RICO statute, withdrawal is mandatory.

       3.      Alternatively, the District Court should, in its discretion, withdraw the reference of

the adversary proceeding for cause.

       4.      In support of this motion, the IDS Defendants attach the following exhibits:

               Exhibit 1: Printout from Mississippi Secretary of State’s website for Littco, LLC

               Exhibit 2: Printout from Mississippi Secretary of State’s website for Littco Metals
               Management Co.

               Exhibit 3: Printout from Mississippi Secretary of State’s website for Littco Metals
               Equipment Leasing, Inc.

       WHEREFORE, PREMISES CONSIDERED, the IDS Defendants ask the District Court

to withdraw the reference of this adversary proceeding from the Bankruptcy Court.




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       Respectfully submitted this 10th day of January 2025.


                                           Tyler Burgess, Tonia Etoh, International
                                           Development Services, Inc., International Services,
                                           Inc., Tavas LLC, Penhurst Capital, Inc., Tim Willits,
                                           Nathan Free, Jerold Weissberg, Robert Legon, Bruce
                                           Bush, Dale Johnston and James Peters

                                           By:     /s/ Stephanie M. Rippee
                                                   Jim F. Spencer, Jr. (MSB #7736)
                                                   William F. Ray (MSB #4654)
                                                   Stephanie M. Rippee (MSB #8998)
                                                   Watkins & Eager PLLC
                                                   P.O. Box 650
                                                   Jackson, Mississippi 39205
                                                   (601) 965-1900
                                                   jspencer@watkinseager.com
                                                   wray@watkinseager.com
                                                   srippee@watkinseager.com

                                                   Michel P. Connelly (admitted pro hac vice)
                                                   Sagar P. Thakkar (admitted pro hac vice)
                                                   Cory D. Anderson (admitted pro hac vice)
                                                   ROCK FUSCO & CONNELLY, LLC
                                                   333 W. Wacker, Floor 19
                                                   Chicago, Illinois 60606
                                                   Telephone: (312) 494-1000
                                                   Facsimile: (312) 494-1001
                                                   mconnelly@rfclaw.com
                                                   sthakkar@rfclaw.com
                                                   canderson@rfclaw.com




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OF COUNSEL:
WATKINS & EAGER PLLC
P.O. BOX 650
JACKSON, MISSISSIPPI 39205
(601) 965-1900

ROCK FUSCO & CONNELLY, LLC
333 W. Wacker, Floor 19
Chicago, Illinois 60606
Telephone: (312) 494-1000
Facsimile: (312) 494-1001

                                CERTIFICATE OF SERVICE

       I, Stephanie M. Rippee, do hereby certify that I have caused to be served the above and

foregoing pleading on all parties requesting notice by using the ECF filing system of the court.

               This 10th day of January 2025.


                                                            /s/ Stephanie M. Rippee
                                                            Stephanie M. Rippee




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              Exhibit 1 - Littco LLC Secretary of State Information Page 1 of 1
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      Exhibit 2 - Littco Metals Management Co. Secretary of State Information Page 1 of 1
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   Exhibit 3 - Littco Metals Equipment Leasing Inc. Secretary of State Information Page 1 of 1
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                      UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI


IN RE:                                                      CHAPTER 7
LITTCO METALS, LLC                                          CASE NO. 23-10069-SDM




JASON RICHARD LITTRELL AND WILLIAM L FAVA,                                        PLAINTIFFS
TRUSTEE FOR LITTCO METALS, LLC D/B/A
LITTCO, LLC, LITTCO METALS EQUIPMENT
LEASING, INC., AND LITTCO METALS MANAGEMENT CO.


VS.                                                 ADV. PROCEEDING NO: 24-01024-SDM


TYLER BURGESS; TONIA ETOH; INTERNATIONAL                                        DEFENDANTS
DEVELOPMENT SERVICES, INC.; INTERNATIONAL
SERVICES, INC.; TAVAS, LLC; PENHURST CAPITAL,
INC.; TIM WILLITS; NATHAN FREE; JEROLD
WEISSBERG; ROBERT LEGON; BRUCE BUSH;
DALE JOHNSTON; JAMES PETERS; BYZFUNDER NY,
LLC; NEWCO CAPITAL GROUP IV, LLC; MEHANDI VAKIL;
WISE VENTURE, LLC; STEVEN MARKOWITZ, JR.;
SAMSON, MCA, LLC; CLOUDFUND, LLC D/B/A SAMSON
GROUP; UNIQUE FUNDING SOLUTIONS, LLC; YAAKOV
WINOGRAD; PROSPERUM CAPITAL PARTNERS, LLC
D/B/A ARSENAL FUNDING; JOHN AND JANE DOES 1-10;
AND ENTITY DOES 1-5


                    ***RELIEF IS SOUGHT FROM A
                  UNITED STATES DISTRICT JUDGE***
___________________________________________________________________________

    MEMORANDUM IN SUPPORT OF MOTION TO WITHDRAW REFERENCE
______________________________________________________________________________


       Defendants, Tyler Burgess, Tonia Etoh, International Development Services, Inc.,

International Services, Inc., Tavas, LLC, Penhurst Capital, Inc., Nathan Free, Jerold Weissberg,




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Robert Legon, Bruce Bush, Dale Johnston and James Peters (collectively “IDS Defendants”), by

and through counsel, submit this memorandum in support of their Motion to Withdraw

Reference (“IDS Defendants’ Motion to Withdraw”).

                                                Introduction

           Seemingly in an attempt to avoid stringent RICO pleadings requirements set forth in rule

83.8 of the Local Uniform Civil Rules of the Northern and Southern Districts of Mississippi

(“L.U.Civ.R.”), plaintiffs have filed a ten count adversary proceeding in Bankruptcy Court,

consisting solely of non-core claims, that should be adjudicated by the District Court. The IDS

Defendants seek withdrawal of the reference of the adversary proceeding so that the District Court

can fully adjudicate this proceeding. Because Plaintiffs have asserted federal RICO claims which

will present substantial and material issues regarding the interpretation of the federal RICO statute,

withdrawal is mandatory. Alternatively, the District Court should, in its discretion, withdraw the

reference of the adversary proceeding for cause.

                                        Factual and Procedural History

           On January 10, 2023, debtor Littco Metals, LLC (“Littco Metals” or “Debtor”) filed a

voluntary petition for chapter 11 bankruptcy protection which was assigned case no. 23-10069-

SDM (hereinafter referred to as “In Re Littco Metals”). In Re Littco Metals, Doc. 1. Pursuant to 28

U.S.C. § 157, L.U.Civ.R. 83.6, and the August 6, 1984 Standing Order of Reference signed by

the then Chief United States District Judge (“Standing Order”), this bankruptcy case, which was

later converted to a chapter 7 case,1 was automatically referred from the United States District

Court for the Northern District of Mississippi (“District Court”) to the United States Bankruptcy




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    See In Re Littco Metals, Docs. 70, 75.

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Court for the Northern District of Mississippi (“Bankruptcy Court”) where it is proceeding along

the usual and customary path of a bankruptcy case.

         On July 18, 2024, pursuant to Federal Rule of Bankruptcy Procedure 7001 et seq., Littco

Metals, by and through the chapter 7 bankruptcy trustee William L. Fava (“Fava”),2 and non-debtor

Jason Littrell3 (“Littrell”) (collectively “Plaintiffs”) filed adversary proceeding No. 24-01024-

SDM (“AP 24-1024”) against numerous defendants, including the IDS Defendants. In Re Littco

Metals, Doc. 158; AP 24-1024, Doc. 1. Plaintiffs seek to recover damages from the defendants

resulting from failed business arrangements/agreements between Littco Metals and various

defendants. In Re Littco Metals, Doc. 158; AP 24-1024, Doc. 1. This adversary proceeding was

also automatically referred to the Bankruptcy Court pursuant to the same authority cited above.

Plaintiffs amended the complaint on September 9, 2024 (In Re Littco Metals, Doc. 159; AP 24-

1024, Doc. 9.) and then served process on any remaining unserved defendants.

         Littco Metals is a general contractor that, among other things, designs and fabricates metal

buildings.     FAC ¶ 48. Plaintiffs assert that various defendants targeted Littco Metals as a



2
  Fava purports to be asserting claims not as the Trustee of the debtor Littco Metals, LLC, but rather as the Trustee of
as Trustee of “Littco Metals, LLC d/b/a Littco, LLC, Littco Metals Equipment Leasing, Inc., and Littco Metals
Management Co.” At some point, the debtor, Littco Metals, LLC, amended its bankruptcy petition purportedly to add
certain “d/b/a” names for the debtor. In Re Littco Metals, Doc. 39. Per the Mississippi Secretary of State’s Office,
however, the three companies added (Littco, LLC, Littco Metals Equipment Leasing, Inc., and Littco Metals
Management Co.) are separate companies - not “d/b/a”s for the debtor. The first is a Mississippi limited liability
company, and the other two are Mississippi business corporations. See Exhibits 1-3 to the IDS Defendants’ Motion to
Withdraw. To be clear, Fava is not the trustee for these three separate, non-debtor entities, and he has no authority or
standing to pursue any claims for these three separate non-debtor entities. 11 U.S.C. § 704(a)(1); 11 U.S.C. § 541(a)(1).
There is only one debtor: Littco Metals, LLC (“Littco”). The Trustee cannot turn three additional, separate legal
entities into debtors simply by calling them “d/b/a”s for the debtor in an amended bankruptcy petition. The IDS
Defendants have asked the Court to dismiss these three entities as plaintiffs and/or dismiss any and all claims
purportedly filed by Fava on behalf of these three non-debtor entities.
3
  As the representative of the estate, Fava has standing to assert the ten causes of action in AP 24-1024 that belong to
the Debtor, Littco Metals, LLC. 28 U.S.C. § 323. Jason Littrell is not a debtor. The First Amended Complaint (“FAC”)
says that Littrell separately filed for bankruptcy protection personally, as well, but admits that petition has been
dismissed. FAC ¶¶ 47, 136, 137. Littrell has been identified as an owner of Littco Metals, and a personal guarantor
of certain financing contracts the Debtor entered FAC ¶¶ 48, 64, 69, 82, 91, 98, 104, 110, 114, 118, 122, 129, 132,
134, 167. But he did not attach any ownership or guarantee documents to the FAC, and neither role gives him standing
to file claims that belong only to Littco Metals. That standing belongs to Fava.

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financially distressed business and engaged the company in a business consulting scheme wherein

defendants claimed they would provide services to improve business operations. Per Plaintiffs,

defendants instead conned the company and left it entrapped by insurmountable debt from related,

or at least familiar, predatory lenders which debt was incurred, in large part, to pay for the

purported business consulting services that did not aid the business. FAC ¶¶ 32-135.

           Defendants’ actions, say Plaintiffs, resulted in Littco Metals having to file for bankruptcy

protection.        FAC ¶¶ 47, 136-137. Plaintiffs assert the following claims against defendants, all

of which are based on non-bankruptcy common law and/or non-bankruptcy federal statutes:

           Count One: Declaratory Judgment (that certain of the business agreements between Littco

Metals and various defendants are unconscionable). FAC ¶¶ 144-146

           Count Two: Usury Violations FAC ¶¶ 147-151

           Count Three: RICO Violations FAC ¶¶ 138-143, 152- 159

           Count Four: Fraud in the Inducement FAC ¶¶ 160-168

           Count Five: Negligent/Fraudulent Misrepresentation FAC ¶¶ 169-174

           Count Six: Negligence and Gross Negligence FAC ¶¶ 175-180

           Count Seven: Breach of Contract and UCC Violations FAC ¶¶ 181-183

           Count Eight: Tortious/Intentional Interference (with the performance of contracts between

Littco Metals and its customers) FAC ¶¶ 184-187

           Count Nine: Conversion FAC ¶¶ 188-191

           Count Ten: Civil Conspiracy FAC ¶¶192-195

Plaintiffs claim a variety of damages including “all damages recoverable under 18 U.S.C. §

1864(c)” [sic]4 – i.e., RICO damages. FAC ¶ 197(c).



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    Plaintiffs clearly intend to refer to 18 U.S.C. 1964 (c) - RICO damages.

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                                    Argument and Authorities

       I.      The District Court has jurisdiction over and the power to withdraw AP 24-
               1024 from the Bankruptcy Court.

       Bankruptcy jurisdiction is vested in the District Court, an Article III court. 28 U.S.C. §

1334(a). But the code permits the District Court to refer certain bankruptcy cases and proceedings

to the Bankruptcy Court, an Article I court, which is considered a “unit” of the District Court. 28

U.S.C. § 157(a); In re Wood, 825 F.2d 90, 92 (5th Cir. 1987). As cited above, in this district,

pursuant to a local rule and the Standing Order, the District Court automatically refers bankruptcy

cases and proceedings to the Bankruptcy Court. L.U.Civ.R. 83.6; Standing Order. Thus, under the

procedures followed in this district, Plaintiffs filed AP 24-1024 directly in the Bankruptcy Court.

       In this motion, the IDS Defendants are asking the District Court to withdraw the reference

of AP 24-1024 (as opposed to the entire In re Littco Metals case), from the Bankruptcy Court and

to instead preside over this adversary proceeding itself. The United States Code expressly permits

the District Court to do so. 28 U.S.C. § 157(d). The federal bankruptcy rules govern the procedure

for withdrawing the reference of an adversary proceeding such as AP 24-1024. Fed. R. Bankr. P.

5011; Miss. Bankr. L.R. 5011-1.

       II.     AP 24-1024 is a non-core proceeding.

       With regard to bankruptcy proceedings (as opposed to bankruptcy cases), the Bankruptcy

Court’s “referred” jurisdiction consists of three categories: 1) “proceedings arising under” title 11;

2) proceedings “arising in” a case under title 11; and 3) proceedings “related to” a case under title

11. In re Wood, 825 F.2d at 92; 28 U.S.C. § 157(b). A matter, such as AP 24-1024, the outcome

of which could have a conceivable effect on the bankruptcy estate, is at least a “related to”

proceeding that falls within the Bankruptcy Court’s “referred” jurisdiction. Id. at 93.




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       Even though AP 24-1024 falls within the Bankruptcy Court’s jurisdiction, the nature of the

proceeding affects the Bankruptcy Court’s power in considering the issues presented. Id. at 94-

95. If AP 24-1024 is a “core proceeding,” the Bankruptcy Court has the power to fully adjudicate

the matter and enter appropriate orders and judgments. In re Wood, 825 F.2d at 95; 28 U.S.C. §

157(b)(1). If it is a “non-core proceeding,” however, the Bankruptcy Court has only limited power

to hear the matter and issue recommended findings of fact and conclusions of law to the District

Court which, after de novo review, shall enter the appropriate order and judgments. In re Wood,

825 F.2d at 95; 28 U.S.C. § 157(c)(1).

       AP 24-1024 is plainly a non-core proceeding. All of the ten claims involve the adjudication

of pre-petition disputes regarding state or federally created private rights that do not depend on the

bankruptcy laws for their existence. In re Wood, 825 F.2d at 96. Thus, by statute, without the IDS

Defendants’ consent, the Bankruptcy Court cannot fully adjudicate AP 24-1024. 28 U.S.C.

§157(c)(2). The Bankruptcy Court can only make recommendations to the District Court. Pursuant

to Federal Rule of Bankruptcy Procedure 7008, the IDS Defendants do not consent to the entry of

final orders or judgments by the Bankruptcy Court.

       III.    Withdrawal of AP 24-1024 from the Bankruptcy Court is mandatory due to
               the presence of RICO claims.

       Plaintiffs have asserted federal RICO claims as count three of the FAC. FAC ¶¶ 152-159.

RICO claims are more commonly adjudicated by the District Court which has put in place

significant pleadings requirements when a party wishes to assert a RICO claim in this district. Per

Local Uniform Civil Rule 83.8, in District Court, Plaintiffs would have been required to

accompany the filing of their complaint with a detailed RICO Statement. L.U.Civ.R. 83.8(a). That

RICO statement would have been required to include seventeen specific categories of information

(a couple of which have no less than six subparts) that set forth “in detail and with specificity” “the

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facts that the Plaintiff is relying upon to initiate [the] RICO complaint.” L.U.Civ.R. 83.8(b).

Plaintiffs would have been required to prepare the statement “in a form which uses both the

numbers and letters” set forth in the rule. Id. These stringent, specific pleadings requirements are

designed to provide any party charged with a RICO violation – a very serious charge - the specific

factual basis for such charges. Plaintiffs did not file such a RICO statement. Instead, they included

within the FAC six scant paragraphs they labeled “RICO Case Statement” which in no way

complies with the District Court’s rule. FAC ¶¶ 138-143. It is not implausible to suggest that

Plaintiffs filed AP 24-1024 in the Bankruptcy Court, which has no similar pleadings rule, in an

attempt to try to evade the District Court’s stringent RICO pleadings requirements.

       The District Court is required to withdraw the reference of AP 24-1024 from the

Bankruptcy Court if resolution of the proceeding “requires consideration of both title 11 and other

laws of the United States regulating organizations or activities affecting interstate commerce.” 28

U.S.C. § 157(d). The FAC is comprised of only non-bankruptcy law-based claims, and it cannot

be disputed that RICO is a non-bankruptcy federal law that regulates activities affecting interstate

commerce. Astro Tel, Inc. v. Verizon Florida, LLC, No. 8:11–mc–00059–T–33, 2011 WL

4551571, at *2 (M.D. Fla. Sept. 30, 2011).

       To mandate withdrawal, the non-bankruptcy federal law claims (here, the RICO claims)

must present substantial and material consideration of federal law rather than mere application of

well-settled law. Holbrook v. J.P. Morgan Chase Bank, No. 3:18-CV-109-DPJ-FKB, 2018 WL

3213155, at *2 (S.D. Miss June 25, 2018). It is difficult to imagine how anyone could characterize

the analysis of the federal RICO statute that will be necessary in AP 24-1024 as a “mere application

of well-settled law.” The application of the statute will be rendered infinitely more difficult by

Plaintiffs’ attempted evasion of the District Court’s pleading requirements. It also bears emphasis



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that RICO is, at its core, a criminal statute. Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639,

641, 647-48, (2008) (RICO provides private right of action for violation of “Act’s criminal

prohibitions”). The District Court has experience and expertise in handling criminal matters. The

Bankruptcy Court does not.

       Further, the RICO statute sets forth three categories of prohibited acts:

               (a) It shall be unlawful for any person who has received any income derived,
       directly or indirectly, from a pattern of racketeering activity or through collection
       of an unlawful debt in which such person has participated as a principal within the
       meaning of section 2, title 18, United States Code, to use or invest, directly or
       indirectly, any part of such income, or the proceeds of such income, in acquisition
       of any interest in, or the establishment or operation of, any enterprise which is
       engaged in, or the activities of which affect, interstate or foreign commerce. A
       purchase of securities on the open market for purposes of investment, and without
       the intention of controlling or participating in the control of the issuer, or of
       assisting another to do so, shall not be unlawful under this subsection if the
       securities of the issuer held by the purchaser, the members of his immediate family,
       and his or their accomplices in any pattern or racketeering activity or the collection
       of an unlawful debt after such purchase do not amount in the aggregate to one
       percent of the outstanding securities of any one class, and do not confer, either in
       law or in fact, the power to elect one or more directors of the issuer.

                (b) It shall be unlawful for any person through a pattern of racketeering
       activity or through collection of an unlawful debt to acquire or maintain, directly or
       indirectly, any interest in or control of any enterprise which is engaged in, or the
       activities of which affect, interstate or foreign commerce.

               (c) It shall be unlawful for any person employed by or associated with any
       enterprise engaged in, or the activities of which affect, interstate or foreign
       commerce, to conduct or participate, directly or indirectly, in the conduct of such
       enterprise's affairs through a pattern of racketeering activity or collection of
       unlawful debt.

              (d) It shall be unlawful for any person to conspire to violate any of the
       provisions of subsection (a), (b), or (c) of this section.

28 U.S.C. § 1962. With nominal differentiation of the alleged predicate acts, Plaintiffs summarily

assert that different combinations of defendants have violated different subsections, resulting in

subsections (a), (b) and (c) all being violated by different groups of defendants. FAC ¶¶ 153-157.



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This multi-faceted web of alleged RICO violations will result in a complex analysis of whether

Plaintiffs have satisfied the various requirements of the federal RICO statute.

       Finally, Plaintiffs have alleged an intricate “business consulting scheme” with what they

call a “debt trap” component that they refer to as “long con.” FAC ¶¶ 32-33. It takes Plaintiffs

105 paragraphs just to lay out the facts of a complex, multi-faceted conspiracy they say constitutes

the multiple RICO violations by varying combinations of seven of the named defendants. FAC ¶¶

32-147. Plaintiffs allege that defendant providers of business consulting services (and their

individual owners) allegedly negotiated Revenue Purchase Agreements with defendant funders

which plaintiffs say were really “Merchant Cash Advances” which are “disguised (usurious)

loans.” FAC ¶¶ 32-35, 39-47. The RICO allegations, in turn, appear to be premised upon

defendants having taken actions to payoff, refinance and/or collect “unlawful debt.” FAC ¶¶ 153-

157.

       The IDS Defendants have not found a single case in this Circuit interpreting whether such

Revenue Purchase Agreements, which purport to purchase certain future receivables of Littco

Metals, can be legally characterized as “loans” or whether payments under such agreements can

be a predicate act that supports a RICO claim based on the collection of unlawful debt. It appears

that these issues, even if properly pled, will be issues of first impression in this District and in the

Fifth Circuit. They will not involve the application of “well-settled” non-bankruptcy federal law.

As such, the District Court is required to withdraw the reference of AP 24-1024.

       IV.     Alternatively, AP 24-1024 should, in the District Court’s discretion, be
               permissively withdrawn from the Bankruptcy Court for cause.

       Alternatively, if the District Court does not believe withdrawal of the reference is mandated

for AP 24-1024, the District Court may, in its discretion, withdraw the reference of AP 24-1204

“for cause.” The District Court should do so here.

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       A determination of whether cause exists requires consideration of the following factors:

       1) whether the claim/proceeding is core or non-core;

       2) the most efficient use of judicial resources;

       3) the length of potential delay and the cost to the parties of that delay;

       4) whether withdrawal will promote uniformity of bankruptcy administration;

       5) whether the party seeking withdrawal is engaging in forum shopping; and

       6) other related factors.

Green Tree Servicing v. Haynes, No. 3:16-cv-551-WHB-JCG, 2016 WL 10935359, at *2 (S.D.

Miss. Oct. 19, 2016). All of Plaintiffs’ claims in AP 24-1024 are non-core. None of them invoke

a substantive right provided under Title 11 or arise only in the context of bankruptcy. Id. Factor

one weighs in favor of withdrawal.

       Judicial economy would be served by withdrawing the reference of AP 24-1024 to allow

the District Court, with its experience and expertise in criminal matters and RICO claims, address

those claims. The same is true of the handling of the remaining Mississippi common law-based

claims that “are of the type conventionally urged in the district court – where they would have

been brought in the absence of the bankruptcy petitions....” In re White, 172 B.R. 841, 844 (S.D.

Miss. 1994). The Bankruptcy Court has no special expertise in any of the legal bases of Plaintiffs’

ten counts. And because the bankruptcy case was converted pretty quickly from a Chapter 11

proceeding (reorganization) to a Chapter 7 proceeding (liquidation), the Bankruptcy Court has not

spent time, much less significant time, addressing the legal issues that AP 24-1024 presents. Those

issues will be addressed for the first time in AP 24-1024. Moreover, with its limited jurisdiction,

the Bankruptcy Court will only be able to make recommendations on these claims/issues to the




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District Court which will have to consider them all again, de novo. In re Wood, 825 F.2d at 95;

28 U.S.C. § 157(c)(1). Factor two weighs in favor of withdrawal.

        There is no indication that allowing the District Court, rather than the Bankruptcy Court,

to adjudicate AP 24-1024 will result in any delay or additional cost to the parties. The adversary

proceeding is newly filed. There is no issue regarding the uniformity of bankruptcy administration

because the claims asserted do not raise any core issues that pertain to bankruptcy administration.

Nor is there any indication that the IDS Defendants are forum shopping. Factors three, four and

five either favor withdrawal or are, at worst, neutral in this instance.

        Finally, in the category of “other” factors, the IDS Defendants have a right to a jury trial

on the legal claims asserted by Plaintiffs, if they so choose. With the exception of Count One (the

request for declaratory judgment, all of Plaintiffs’ claims are legal claims which entitle defendants

to seek a trial by jury if they determine they want to do so. U.S. Const. Amendment VII; In re

White, 172 B.R. at 844. This “other” factor weighs in favor of withdrawal to the District Court so

that a jury trial remains a possibility.

        Because factors 1, 2 and 6 weigh in favor of withdrawal, and factors 3, 4 and 5 either weigh

in favor of withdrawal or are neutral, the District Court should, in its discretion, withdraw the

reference of AP 24-1024 from the Bankruptcy Court

                                             Conclusion

        Plaintiffs seem to seek to thwart stringent RICO pleadings requirements by filing AP 24-

1024 in Bankruptcy Court. The District Court should not allow Plaintiffs to do so. This adversary

proceeding consists of only non-core matters and presents complex, novel issues regarding the

application and interpretation of the federal RICO statute, a non-bankruptcy, federal law. As such

withdrawal of the reference of AP 24-1024 to the District Court is mandatory. Alternatively, the



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District Court should, in its discretion, withdraw the reference for cause, to promote judicial

efficiency.

       Respectfully submitted this 10th day of January 2025.


                                            Tyler Burgess, Tonia Etoh, International
                                            Development Services, Inc., International Services,
                                            Inc., Tavas LLC, Penhurst Capital, Inc., Tim Willits,
                                            Nathan Free, Jerold Weissberg, Robert Legon, Bruce
                                            Bush, Dale Johnston and James Peters

                                            By:    /s/ Stephanie M. Rippee
                                                   Jim F. Spencer, Jr. (MSB #7736)
                                                   William F. Ray (MSB #4654)
                                                   Stephanie M. Rippee (MSB #8998)
                                                   Watkins & Eager PLLC
                                                   P.O. Box 650
                                                   Jackson, Mississippi 39205
                                                   (601) 965-1900
                                                   jspencer@watkinseager.com
                                                   wray@watkinseager.com
                                                   srippee@watkinseager.com

                                                   Michel P. Connelly (admitted pro hac vice)
                                                   Sagar P. Thakkar (admitted pro hac vice)
                                                   Cory D. Anderson (admitted pro hac vice)
                                                   ROCK FUSCO & CONNELLY, LLC
                                                   333 W. Wacker, Floor 19
                                                   Chicago, Illinois 60606
                                                   Telephone: (312) 494-1000
                                                   Facsimile: (312) 494-1001
                                                   mconnelly@rfclaw.com
                                                   sthakkar@rfclaw.com
                                                   canderson@rfclaw.com




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OF COUNSEL:

WATKINS & EAGER PLLC
P.O. BOX 650
JACKSON, MISSISSIPPI 39205
(601) 965-1900

ROCK FUSCO & CONNELLY, LLC
333 W. Wacker, Floor 19
Chicago, Illinois 60606
Telephone: (312) 494-1000
Facsimile: (312) 494-1001




                                CERTIFICATE OF SERVICE

       I, Stephanie M. Rippee, do hereby certify that I have caused to be served the above and

foregoing pleading on all parties requesting notice by using the ECF filing system of the court.

               This 10th day of January 2025.


                                                            /s/ Stephanie M. Rippee
                                                            Stephanie M. Rippee




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               IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                       NORTHERN DISTRICT OF MISSISSIPPI

In Re: LITTCO Metals, LLC                          Case No.: 23-10069-SDM
       Debtor(s)                                   Chapter 7
                                                   Adversary Proceeding No.: 24-01024-SDM

______________________________________________________________________________

JASON LITTRELL AND WILLIAM L.
FAVA, TRUSTEE FOR LITTCO METALS,
LLC d/b/a LITTCO, LLC, LITTCO METALS
EQUIPMENT LEASING, INC., AND
LITTCO METALS MANAGEMENT CO.                                                     PLAINTIFFS

V.

TYLER BURGESS; TONIA ETOH;
INTERNATIONAL DEVELOPMENT
SERVICES, INC.; INTERNATIONAL
SERVICES, INC.; TAVAS, LLC;
PENHURST CAPITAL, INC.; TIM WILLITS;
NATHAN FREE; JEROLD WEISSBERG;
ROBERT LEGON; BRUCE BUSH; DALE
JOHNSTON; JAMES PETERS; BYZFUNDER
NY, LLC; NEWCO CAPITAL GROUP IV, LLC;
MEHANDI VAKIL; WISE VENTURE, LLC;
STEVEN MARKOWITZ, JR.; SAMSON, MCA,
LLC; CLOUDFUND, LLC D/B/A SAMSON
GROUP; UNIQUE FUNDING SOLUTIONS,
LLC; YAAKOV WINOGRAD; PROSPERUM
CAPITAL PARTNERS, LLC D/B/A ARSENAL
FUNDING; JOHN AND JANE DOES 1-10;
AND ENTITIY DOES 1-5                                                           DEFENDANTS


  MOTION FOR EXTENSION OF TIME TO RESPOND TO MOTION TO DISMISS
 ADVERSARY PROCEEDING [49] AND MOTION TO WITHDRAW REFERENCE [47]
                    and TO CONTINUE HEARING

       COME NOW, Plaintiffs, by and through counsel and file this Motion for Extension of

Time to Respond to the Motion to Dismiss Adversary Proceeding [49] and Motion to Withdraw

Reference [47], and to Continue the Hearing thereon and would state unto the Court as follows:




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                                                  I.

       On January 10, 2025, several defendants referring to themselves as the “IDS Defendants”

filed two motions: Motion to Dismiss Adversary Proceeding [49] and Motion to Withdraw

Reference [47].

                                                 II.

       On January 10, 2025, the Court set a hearing on the instant motion for February 25, 2025,

with a response date of January 31, 2025 and a reply date of February 14, 2025.

                                                 III.

       Due to the complexity and significance of the motions filed, the plaintiffs respectfully

request that the Court grant an extension of time until February 24, 2025 to respond to the

motion. Counsel for the plaintiffs have conflicts over the next few weeks which would do not

allow adequate time to respond to the motions.

                                                 IV.

       In light of the extension of time, the plaintiffs further request that the Court continue the

hearing on the above motions to a date after February 25, 2024.

                                                 V.

       Counsel for the plaintiffs has consulted with counsel for the IDS Defendants and been

advised that there is no objection to this extension of time and continuance.

       WHEREFORE, PREMISES CONSIDERED, the plaintiffs respectfully request

that the Court extend the plaintiffs’ time to respond to the Motion to Dismiss Adversary

Proceeding [49] and Motion to Withdraw Reference [47] to February 24, 2025 and

continue the hearing on said motions currently set for February 25, 2025 to a later date.

The plaintiffs request any further relief that the Court may find warranted in the premises.



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       DATED: January 16, 2025

                                 Respectfully submitted,

                                 JASON LITTRELL AND WILLIAM L. FAVA,
                                 TRUSTEE FOR LITTCO METALS, LLC d/b/a LITTCO,
                                 LLC, LITTCO METALS EQUIPMENT LEASING, INC.,
                                 AND LITTCO METALS MANAGEMENT CO.

                                 /s/ Goodloe T. Lewis
                                 GOODLOE T. LEWIS, MSB #9889
                                 LAWRENCE J. TUCKER, JR., MSB #100869
                                 BRIAN A. CLARK, MSB #100736
                                 Hickman, Goza & Spragins, PLLC
                                 P.O. Drawer 668
                                 Oxford, MS 38655
                                 (662) 234-4000 (telephone)
                                 (662) 234-2000 (facsimile)
                                 glewis@hickmanlaw.com
                                 ltucker@hickmanlaw.com
                                 bclark@hickmanlaw.com




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                                CERTIFICATE OF SERVICE

       I, Goodloe T. Lewis of Hickman, Goza & Spragins, PLLC, Oxford, Mississippi, do

hereby certify that I have, this date, filed the above with the Court and delivered a copy to all

parties requesting notice by using the ECF filing system.

       DATE: January 16, 2025

                                             /s/ Goodloe T. Lewis
                                             Goodloe T. Lewis




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  ____________________________________________________________________________
                                                   SO ORDERED,




                                                   Judge Selene D. Maddox

                                                  United States Bankruptcy Judge

           The Order of the Court is set forth below. The case docket reflects the date entered.
  ____________________________________________________________________________

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               IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                       NORTHERN DISTRICT OF MISSISSIPPI

In Re: LITTCO Metals, LLC                 Case No.: 23-10069-SDM
       Debtor(s)                          Chapter 7
                                          Adversary Proceeding No.: 24-01024-SDM
______________________________________________________________________________

JASON LITTRELL AND WILLIAM L.
FAVA, TRUSTEE FOR LITTCO METALS,
LLC d/b/a LITTCO, LLC, LITTCO METALS
EQUIPMENT LEASING, INC., AND
LITTCO METALS MANAGEMENT CO.                                                      PLAINTIFFS

V.

TYLER BURGESS; TONIA ETOH;
INTERNATIONAL DEVELOPMENT
SERVICES, INC.; INTERNATIONAL
SERVICES, INC.; TAVAS, LLC;
PENHURST CAPITAL, INC.; TIM WILLITS;
NATHAN FREE; JEROLD WEISSBERG;
ROBERT LEGON; BRUCE BUSH; DALE
JOHNSTON; JAMES PETERS; BYZFUNDER
NY, LLC; NEWCO CAPITAL GROUP IV, LLC;
MEHANDI VAKIL; WISE VENTURE, LLC;
STEVEN MARKOWITZ, JR.; SAMSON, MCA,
LLC; CLOUDFUND, LLC D/B/A SAMSON
GROUP; UNIQUE FUNDING SOLUTIONS,
LLC; YAAKOV WINOGRAD; PROSPERUM
CAPITAL PARTNERS, LLC D/B/A ARSENAL
FUNDING; JOHN AND JANE DOES 1-10;
AND ENTITIY DOES 1-5                                                            DEFENDANTS

        PLAINTIFFS’ RESPONSE TO MOTION TO WITHDRAW REFERENCE

       COME NOW, Plaintiffs, by and through counsel, and file this Response to Motion to

Withdraw Reference, stating unto the Court as follows:

1.     The debtor, Littco Metals, LLC (“Littco Metals”), and the non-debtor plaintiffs have filed

a First Amended Complaint (“FAC”) in this adversary proceeding which alleges the defendants,




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including the self-styled “IDS Defendants” that filed the instant Motion to Withdraw Reference, 1

have engaged in egregious acts which directly and proximately bankrupted Littco Metals and

caused the non-debtor plaintiffs, including Jason Littrell, to suffer significant damages as well.

2.      In what may be one of the more remarkable omissions of fact yet seen in a legal pleading,

one of the movants herein, International Services, Inc. (“ISI”), failed to mention it filed a proof

of claim in the underlying bankruptcy proceeding seeking in excess of $1,000,000 from Littco

Metals—a debt central to the claims asserted by Littco Metals in this adversary proceeding, and

which is indicative of the conduct that drove Littco Metals into bankruptcy in the first place.

3.      In addition, two other defendants named in this adversary proceeding, Samson MCA,

LLC (“Samson”), and Byzfunder NY, LLC (“Byzfunder”), each filed proofs of claim which,

together, total more than $1,500,000. As with the proof of claim filed by ISI, these alleged debts

are central to the claims asserted by Littco Metals in this adversary proceeding, and are

indicative of the conduct that drove Littco Metals into bankruptcy in the first place.

4.      Littco Metals contends the alleged debts reflected in the proofs of claim filed by ISI,

Samson, and Byzfunder are not owed, were procured through fraud, and are usurious, illegal,

and/or void as a matter of law—which should suffice to defeat any contention to the effect that

this adversary proceeding does not consist of core claims and/or invoke a substantive right

provided under title 11 or which arises only in the context of a bankruptcy proceeding.

5.      Adversary proceedings centered on proofs of claim by creditors are characterized as “in

the nature of” counterclaims and form part of the bankruptcy court’s core jurisdiction. Here, one

of the IDS Defendants filed a substantial proof of claim against the debtor. Should the district

court withdraw the reference to the bankruptcy court even though this is a core proceeding? The

        1
          The IDS Defendants are Tyler Burgess, Tonya Etoh, International Development Services, Inc.
(“IDS”), International Services, Inc. (“ISI”), TAVAS, LLC, Penhurst Capital, Inc., Tim Willits, Nathan
Free, Jerrold Weissburg, Robert Legon, Bruce Bush, Dale Johnson, and James Peters.

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answer, for all of the reasons set forth in the plaintiffs’ supporting memorandum, is no. This

matter is properly before the bankruptcy court and should remain there until concluded.

6.      In further support of this response, the plaintiffs incorporate their memorandum and the

following exhibits:

     a) Bankruptcy Petition;

     b) Byzfunder NY, LLC Proof of Claim;

     c) Samson MCA, LLC Proof of Claim; and

     d) ISI Proof of Claim.

        WHEREFORE, PREMISES CONSIDERED, the plaintiffs respectfully request that the

Court deny the IDS Defendants’ Motion to Withdraw Reference, and grant the plaintiffs any

further relief the Court may find warranted in the premises, whether general or specific.

                                      Respectfully submitted,

                                      JASON LITTRELL AND WILLIAM L. FAVA,
                                      TRUSTEE FOR LITTCO METALS, LLC d/b/a LITTCO,
                                      LLC, LITTCO METALS EQUIPMENT LEASING, INC.,
                                      AND LITTCO METALS MANAGEMENT CO.

                                      /s/ Goodloe T. Lewis
                                      GOODLOE T. LEWIS, MSB #9889
                                      LAWRENCE J. TUCKER, JR., MSB #100869
                                      BRIAN A. CLARK, MSB #100736
                                      Hickman, Goza & Spragins, PLLC
                                      P.O. Drawer 668
                                      Oxford, MS 38655
                                      (662) 234-4000 (telephone)
                                      (662) 234-2000 (facsimile)
                                      glewis@hickmanlaw.com
                                      ltucker@hickmanlaw.com
                                      bclark@hickmanlaw.com




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                                 CERTIFICATE OF SERVICE

       I, Goodloe T. Lewis of Hickman, Goza & Spragins, PLLC, Oxford, Mississippi, do

hereby certify that I have, this date, filed the above with the Court and delivered a copy to all

parties requesting notice by using the ECF filing system.

       DATE: February 24, 2025

                                                      /s/ Goodloe T. Lewis
                                                      GOODLOE T. LEWIS




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                        Exhibit A - Bankruptcy Petition by LITTCO Metals Page 1 of 16

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF MISSISSIPPI

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                LITTCO Metals, LLC

2.   All other names debtor
     used in the last 8 years     DBA LITTCO Metals
     Include any assumed          DBA LITTCO Metals Equipment Leasing, Inc.
     names, trade names and       DBA LITTCO Metals Management Co.
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  6593 HWY 45 Alt. South                                        P. O. Box 696
                                  West Point, MS 39773                                          West Point, MS 39773
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Clay                                                          Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.littcometals.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




                                                                            Ex. A




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                          Exhibit A - Bankruptcy Petition by LITTCO Metals Page 2 of 16
Debtor    LITTCO Metals, LLC                                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                4233

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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                          Exhibit A - Bankruptcy Petition by LITTCO Metals Page 3 of 16
Debtor    LITTCO Metals, LLC                                                                            Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,                                                                                                                    President of
     attach a separate list                         Debtor      Jason R. Littrell                                            Relationship               Company

                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or              No
    have possession of any
                                                  Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                    Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes.       Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                                25,001-50,000
    creditors
                                        50-99                                          5001-10,000                                50,001-100,000
                                        100-199                                        10,001-25,000                              More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
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                         Exhibit A - Bankruptcy Petition by LITTCO Metals Page 4 of 16
Debtor   LITTCO Metals, LLC                                                          Case number (if known)
         Name


16. Estimated liabilities    $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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                          Exhibit A - Bankruptcy Petition by LITTCO Metals Page 5 of 16
Debtor    LITTCO Metals, LLC                                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 10, 2023
                                                  MM / DD / YYYY


                             X /s/ Jason R. Littrell                                                      Jason R. Littrell
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ J. Walter Newman IV                                                     Date January 10, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 J. Walter Newman IV 3832
                                 Printed name

                                 Newman & Newman
                                 Firm name

                                 587 Highland Colony Parkway
                                 Ridgeland, MS 39157
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     601-948-0586                  Email address      wnewman95@msn.com

                                 3832 MS
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                                                                                                                                                                55
          Case 24-01024-SDM
            Case:               Doc 89-1 Filed
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                                                                                PageID #: 56
                   Exhibit A - Bankruptcy Petition by LITTCO Metals Page 6 of 16




                                               United States Bankruptcy Court
                                                    Northern District of Mississippi
 In re   LITTCO Metals, LLC                                                                       Case No.
                                                                     Debtor(s)                    Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     January 10, 2023                               /s/ Jason R. Littrell
                                                         Jason R. Littrell/President
                                                         Signer/Title




                                                                                                                                             56
    Case 24-01024-SDM
      Case:                Doc 89-1 Filed
            1:25-cv-00025-GHD-DAS    Doc #: 02/24/25    Entered 57
                                              1 Filed: 02/25/25 02/24/25
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             Exhibit A - Bankruptcy Petition by
                          LITTCO Metals, LLC -  LITTCO   Metals   Page  7 of 16


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                          J. Walter Newman IV
                          Newman & Newman
                          587 Highland Colony Parkway
                          Ridgeland, MS 39157


                          LITTCO Metals, LLC
                          P. O. Box 696
                          West Point, MS 39773


                          Ace Bolt & Screw Co.
                          506 Daybrite Drive
                          Tupelo, MS 38801


                          Aflac
                          1932 Wynnton Road
                          Columbus, GA 31999-0797


                          Airgas
                          P. O. Box 734672
                          Dallas, TX 75373


                          Alabama Department of Revenue
                          50 North Ripley Street
                          Montgomery, AL 36130


                          Ariel Bouskila
                          Berkovitch & Bouskala, PLLC
                          1545 U.S. 202
                          Suite 101
                          Pomona, NY 10970


                          Arsenal Funding
                          8 West 36th Street
                          7th Floor
                          New York, NY 10018


                          Bank of Commerce
                          315 University Drive
                          Starkville, MS 39759


                          Bank of Commerce
                          P. O. Box 546
                          Greenwood, MS 38935




                                                                                           57
Case 24-01024-SDM
  Case:                Doc 89-1 Filed
        1:25-cv-00025-GHD-DAS    Doc #: 02/24/25    Entered 58
                                          1 Filed: 02/25/25 02/24/25
                                                               of 118 18:46:35  Desc
                                                                      PageID #: 58
         Exhibit A - Bankruptcy Petition by
                      LITTCO Metals, LLC -  LITTCO   Metals   Page  8 of 16



                      Bay Insulation of Georgia
                      6675 Corners Industrial Court
                      Suite C
                      Norcross, GA 30092


                      Bay Insulation of Tennessee Inc.
                      5445 E. Raines Road
                      Memphis, TN 38115


                      BBC Holdings LTD.
                      3813 Weymouth Woods Drive
                      Medina, OH 44256


                      Blue Cross Blue Shield
                      of Mississippi
                      3545 Lakeland Drive
                      Flowood, MS 39232


                      Bolt Company, LLC
                      5321 1st Street
                      Meridian, MS 39307


                      Build It Steel
                      105 Mildred Street
                      Gadsden, AL 35904


                      Builders Mutual Insurance
                      P. O. Box 900027
                      Raleigh, NC 27675


                      Byzfunder NY LLC
                      Berkovitch & Bouskila, PLLC
                      80 Broad Street,
                      Suite 3303
                      New York, NY 10004


                      C Spire Wireless
                      P. O. Box 519
                      Meadville, MS 39653-0519


                      Cannonball HNP
                      P. O. Box 532
                      Greensburg, IN 47240




                                                                                       58
Case 24-01024-SDM
  Case:                Doc 89-1 Filed
        1:25-cv-00025-GHD-DAS    Doc #: 02/24/25    Entered 59
                                          1 Filed: 02/25/25 02/24/25
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                                                                      PageID #: 59
         Exhibit A - Bankruptcy Petition by
                      LITTCO Metals, LLC -  LITTCO   Metals   Page  9 of 16



                      City of West Point Tax Collector
                      P. O. Box 1117
                      West Point, MS 39773


                      City of West Point Water & Light Dept.
                      P. O. Box 1117
                      West Point, MS 39773-1117


                      Clay County Tax Assessor/Collector
                      P. O. Box 795
                      West Point, MS 39773


                      Compressed Air Technologies, Inc.
                      P. O. Box 180459
                      Richland, MS 39218


                      Credit One Bank
                      P. O. Box 60500
                      City of Industry, CA 91716-0500


                      Cumberland Sales Company
                      2804 Foster Avenue
                      Nashville, TN 37210


                      Dallas Fasteners
                      1825 Westpark Drive
                      Suite 200
                      Grand Prairie, TX 75050


                      Delta Bridge Fund
                      Samson Group
                      400 Rella Blvd.
                      Suite 165-101
                      Suffern, NY 10901


                      Delta Materials Handling Inc.
                      4676 Clark Road
                      Memphis, TN 38141-6719


                      Dodge Data & Analytics
                      300 American Metro Blvd.
                      Suite 185
                      Hamilton, NJ 08619-2371




                                                                                       59
Case 24-01024-SDM
  Case:                Doc 89-1 Filed
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                                           1 Filed: 02/25/25 02/24/25
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         Exhibit A - Bankruptcy Petition by
                      LITTCO Metals, LLC -  LITTCO    Metals  Page   10 of 16



                      Elite Steel & Supply
                      8216 North I-35
                      Temple, TX 76501


                      Fabricators Supply
                      P. O. Box 637
                      West Point, MS 39773


                      Farrell Calhoun Paint
                      P. O. Box 1000
                      Dept. 473
                      Memphis, TN 38148


                      FedEx
                      P. O. Box 660481
                      Dallas, TX 75266-0481


                      Florida Department of Revenue
                      2450 Shumard Oak Blvd.
                      Tallahassee, FL 32311


                      Freedom Metals LLC
                      18504 SW Hwy 19
                      Cross City, FL 32628


                      Georgia Department of Revenue
                      1800 Cebtury Blvd. NE
                      Atlanta, GA 30345


                      HiTouch Business Services
                      P. O. Box 930257
                      Atlanta, GA 31193-0257


                      HYG Financial Services Inc.
                      P. O. Box 77102
                      Minneapolis, MN 55480-7102


                      Industrial Fire Protection, Inc.
                      P. O. Box 8831
                      Columbus, MS 39705


                      Internal Revenue Service
                      P. O. Box 742562
                      Cincinnati, OH 45280-2562



                                                                                        60
Case 24-01024-SDM
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                                           1 Filed: 02/25/25 02/24/25
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         Exhibit A - Bankruptcy Petition by
                      LITTCO Metals, LLC -  LITTCO    Metals  Page   11 of 16



                      Internal Revenue Service
                      P. O. Box 21126
                      Philadelphia, PA 19114


                      International Development Services, Inc.
                      7900 East Union Avenue
                      Suite 1100
                      Denver, CO 80237


                      Janus Iternational
                      135 Janus International Blvd.
                      Temple, GA 30179


                      Jason Littrell
                      1382 Battlefield Raod
                      Collinsville, MS 39325


                      Jason R. Littrell
                      1382 Battlefield Road
                      Collinsville, MS 39325


                      KHCL Logistics, LLC
                      Strato Pay, LLC
                      Lockbox #218
                      P. O. Box 1575
                      Minneapolis, MN 55480


                      Klutts Plumbing LLC
                      68 Brownlee Drive
                      Columbus, MS 39705


                      Koyote Trucking
                      P. O. Box 916
                      Pampa, TX 79066


                      Louisiana Department of Revenue
                      617 N 3rd Street
                      Baton Rouge, LA 70802


                      M&N Computers & Office Supply
                      16322 West Main Street
                      Louisville, MS 39339




                                                                                        61
Case 24-01024-SDM
  Case:                Doc 89-1 Filed
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                                           1 Filed: 02/25/25 02/24/25
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         Exhibit A - Bankruptcy Petition by
                      LITTCO Metals, LLC -  LITTCO    Metals  Page   12 of 16



                      Magnum Metals
                      P. O. Box 777
                      Nettleton, MS 38858


                      MBCI
                      P. O. Box 840326
                      Dallas, TX 75284-0326


                      Metal Building Software
                      5950 14th street South
                      Fargo, ND 58104-7619


                      Missisippi Department of Revenue
                      P. O. Box 5794
                      Meridian, MS 39302


                      Mississippi Department of Revenue
                      P. O. Box 23338
                      Jackson, MS 39225-3338


                      Mississippi Department of Revenue
                      Kimberly Williams
                      2631 McIngvale Road
                      Suite 116
                      Hernando, MS 38632


                      Mississippi Metal Mfg.
                      451 HWY 9 South
                      Pontotoc, MS 38863


                      MS Department of Employment Security
                      P. O. Box 1699
                      Jackson, MS 39215-1699


                      Nathan Free
                      IDS
                      7900 East Union Avenue
                      Suite 1100
                      Denver, CO 80237


                      Nexgen Crane & Rigging
                      P. O. Box 299
                      Hamilton, MS 39746




                                                                                        62
Case 24-01024-SDM
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                                           1 Filed: 02/25/25 02/24/25
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         Exhibit A - Bankruptcy Petition by
                      LITTCO Metals, LLC -  LITTCO    Metals  Page   13 of 16



                      NFS Leasing, Inc.
                      900 Cummings Center
                      Suite 226-U
                      Beverly, MA 01915


                      Northeast Exterminating LLC
                      326 Highway 12
                      Starkville, MS 39759


                      Pennar Global Inc.
                      21 Waterway Avenue
                      Suite 300
                      The Woodlands, TX 77380


                      Phillips Hardware
                      P. O. Box 152
                      West Point, MS 39773


                      Quicken Steel LLC
                      188 Georgia Pacific Road
                      Claxton, GA 30417


                      R&M Tires Pros
                      117 Highway 12 West
                      Starkville, MS 39759


                      RJ Young Compnay
                      P. O. Box 306412
                      Nashville, TN 37230-6412


                      Robert Half
                      12400 Collections Center Drive
                      Chicago, IL 60693


                      Samson MCA LLC
                      Samson Funding
                      17 State Street
                      6th Floor, Suite 630
                      New York, NY 10004


                      Shelter Insurance
                      435 North Court Avenue
                      Louisville, MS 39339




                                                                                        63
Case 24-01024-SDM
  Case:                Doc 89-1 Filed
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                                           1 Filed: 02/25/25 02/24/25
                                                                of 118 18:46:35  Desc
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         Exhibit A - Bankruptcy Petition by
                      LITTCO Metals, LLC -  LITTCO    Metals  Page   14 of 16



                      Southern Automation & Controls, Inc.
                      P. O. Box 238
                      Sherman, MS 38869


                      ST Fastening
                      6357 Reynolds Road
                      Tyler, TX 75708


                      State Termite and Pest Control
                      P. O. Box 2274
                      Columbus, MS 39704


                      Suburban Propane
                      2413 Hwy 145 N
                      Columbus, MS 39705


                      Supertalk MS
                      6311 Ridgewood Road
                      Suite 200N
                      Jackson, MS 39211


                      Taylor Leasing & Rental
                      3690 North Church
                      Louisville, MS 39339


                      TEKLA
                      Trimble Solutions
                      1075 Big Shanty Road NW
                      Suite 175
                      Kennesaw, GA 30144


                      Tennessee Department of Revenue
                      500 Deaderick Street
                      Nashville, TN 37242


                      Texas Department of Revenue
                      Comptroller of Public Accounts
                      P. O. Box 149355
                      Austin, TX 78714-9355


                      The Lilly Company
                      P. O. Box 1000
                      Dept. 184
                      Memphis, TN 38148




                                                                                        64
Case 24-01024-SDM
  Case:                Doc 89-1 Filed
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                                           1 Filed: 02/25/25 02/24/25
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         Exhibit A - Bankruptcy Petition by
                      LITTCO Metals, LLC -  LITTCO    Metals  Page   15 of 16



                      Total Quality Logistics LLC
                      P. O. Box 634558
                      Cincinnati, OH 45263-4558


                      Truist Bank
                      P. O. Box 1847
                      Wilson, NC 27894


                      Uline
                      12575 Uline Drive
                      Pleasant Prairie, WI 53158


                      Unifirst
                      P. O. Box 650481
                      Dallas, TX 75265-0481


                      Unifirst First Aid Corp.
                      P. O. Box 650481
                      Dallas, TX 75265-0481


                      Unique Funding Solutions LLC
                      71 S. Central Avenue
                      Suite 200
                      Valley Stream, NY 11580


                      United States Attorney
                      900 Jefferson Avenue
                      Oxford, MS 38655


                      Yonatan Klestzick, Esq.
                      Lieberman and Klestzick, LLP
                      P. O. Box 356
                      Cedarhurst, NY 11516




                                                                                        65
         Case 24-01024-SDM
           Case:                Doc 89-1 Filed
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                  Exhibit A - Bankruptcy Petition by LITTCO Metals Page 16 of 16



                                        United States Bankruptcy Court
                                            Northern District of Mississippi
 In re   LITTCO Metals, LLC                                                         Case No.
                                                           Debtor(s)                Chapter    11




                              CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for LITTCO Metals, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



 None [Check if applicable]




January 10, 2023                               /s/ J. Walter Newman IV
Date                                           J. Walter Newman IV 3832
                                               Signature of Attorney or Litigant
                                               Counsel for LITTCO Metals, LLC
                                               Newman & Newman
                                               587 Highland Colony Parkway
                                               Ridgeland, MS 39157
                                               601-948-0586
                                               wnewman95@msn.com




                                                                                                                        66
          Case 24-01024-SDM
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                                            Doc #:           Entered 67
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                                                                        of 118 18:46:35  Desc
                                                                               PageID #: 67
                          Exhibit B - Byzfunder Proof of Claim Page 1 of 16
 Fill in this information to identify the case:
                                                                                                                                 FILED
 Debtor 1 LITTCO Metals, LLC                                                                                             U.S. Bankruptcy Court
                                                                                                                      Northern District of Mississippi
 Debtor 2
 (Spouse, if filing)                                                                                                             1/18/2023
 United States Bankruptcy Court           Northern District of Mississippi                                              Shallanda J. Clay, Clerk
 Case number: 23−10069


Official Form 410
Proof of Claim                                                                                                                                           04/19

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.

A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.


Part 1: Identify the Claim
1.Who is the current            Byzfunder NY LLC
  creditor?
                                Name of the current creditor (the person or entity to be paid for this claim)

                                Other names the creditor used with the debtor            Berkovitch & Bouskila, PLLC

2.Has this claim been                    No
  acquired from                          Yes. From whom?
  someone else?
3.Where should notices            Where should notices to the creditor be sent?                  Where should payments to the creditor be sent? (if
  and payments to the                                                                            different)
  creditor be sent?               Byzfunder NY LLC

  Federal Rule of                 Name                                                           Name
  Bankruptcy Procedure
  (FRBP) 2002(g)                  Berkovitch & Bouskila, PLLC
                                  80 Broad Street,
                                  Suite 3303
                                  New York, NY 10004

                                  Contact phone               2127291477                         Contact phone

                                  Contact email          ari@bblawpllc.com                       Contact email

                                  Uniform claim identifier for electronic payments in chapter 13 (if you use one):



4.Does this claim amend                  No
  one already filed?                     Yes. Claim number on court claims registry (if known)                       Filed on

                                                                                                                                 MM / DD / YYYY
5.Do you know if anyone                  No
  else has filed a proof                 Yes. Who made the earlier filing? samson
  of claim for this claim?
Official Form 410                                                      Proof of Claim                                                  page 1




                                                                            Ex. B



                                                                                                                                                             67
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                                                          1 Filed: 02/25/25  02/24/25
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                           Exhibit  B  - Byzfunder    Proof  of Claim
Part 2: Give Information About the Claim as of the Date the Case Was FiledPage 2 of 16
6.Do you have any                  No
  number you use to                Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:
  identify the debtor?


7.How much is the             $      214574.37                      Does this amount include interest or other charges?
  claim?                                                              No
                                                                      Yes. Attach statement itemizing interest, fees, expenses, or
                                                                      other charges required by Bankruptcy Rule 3001(c)(2)(A).
8.What is the basis of        Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful
  the claim?                  death, or credit card. Attach redacted copies of any documents supporting the claim required by
                              Bankruptcy Rule 3001(c).
                              Limit disclosing information that is entitled to privacy, such as healthcare information.
                              Purchase of future receivables; judgment


9. Is all or part of the          No
   claim secured?                 Yes. The claim is secured by a lien on property.
                                   Nature of property:
                                       Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage
                                                      Proof of Claim Attachment (Official Form 410−A) with this Proof of Claim.
                                       Motor vehicle
                                       Other. Describe:           All assets see financinf statement


                                    Basis for perfection:                         UCC−1

                                    Attach redacted copies of documents, if any, that show evidence of perfection of a security
                                    interest (for example, a mortgage, lien, certificate of title, financing statement, or other
                                    document that shows the lien has been filed or recorded.)

                                    Value of property:                        $      214574.37

                                    Amount of the claim that is               $      214574.37
                                    secured:
                                    Amount of the claim that is               $         0.00                       (The sum of the secured and
                                    unsecured:                                                                     unsecured amounts should
                                                                                                                   match the amount in line 7.)


                                    Amount necessary to cure any default as of the                     $
                                    date of the petition:

                                    Annual Interest Rate (when case was filed)                         9.00        %
                                          Fixed
                                          Variable
10.Is this claim based on           No
   a lease?                         Yes. Amount necessary to cure any default as of the date of the petition.$


11.Is this claim subject to        No
   a right of setoff?              Yes. Identify the property:




Official Form 410                                                Proof of Claim                                                page 2




                                                                                                                                                  68
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          Case:               Doc 89-2 Filed
                1:25-cv-00025-GHD-DAS          02/24/25
                                          Doc #:           Entered 69
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                        Exhibit B - Byzfunder Proof of Claim Page 3 of 16
12.Is all or part of the claim            No
    entitled to priority under                                                                                                Amount entitled to priority
    11 U.S.C. § 507(a)?                   Yes. Check all that apply:
    A claim may be partly                   Domestic support obligations (including alimony and child support) $
    priority and partly                     under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,
    in some categories, the                 Up to $3,025* of deposits toward purchase, lease, or rental of                    $
    law limits the amount                   property or services for personal, family, or household use. 11
    entitled to priority.                   U.S.C. § 507(a)(7).
                                            Wages, salaries, or commissions (up to $13,650*) earned within                    $
                                            180 days before the bankruptcy petition is filed or the debtor's
                                            business ends, whichever is earlier. 11 U.S.C. § 507(a)(4).
                                            Taxes or penalties owed to governmental units. 11 U.S.C. §                        $
                                            507(a)(8).
                                            Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5). $

                                            Other. Specify subsection of 11 U.S.C. § 507(a)( ) that applies                   $

                                         * Amounts are subject to adjustment on 4/1/22 and every 3 years after that for cases begun on or after the date
                                         of adjustment.

Part 3: Sign Below
 The person completing           Check the appropriate box:
 this proof of claim must
 sign and date it. FRBP                  I am the creditor.
 9011(b).
                                         I am the creditor's attorney or authorized agent.
 If you file this claim
 electronically, FRBP                    I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 5005(a)(2) authorizes courts
 to establish local rules                I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 specifying what a signature     I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating
 is.                             the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a            I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fraudulent claim could be       and correct.
 fined up to $500,000,
 imprisoned for up to 5          I declare under penalty of perjury that the foregoing is true and correct.
 years, or both.
 18 U.S.C. §§ 152, 157 and
 3571.                           Executed on date                1/18/2023

                                                                 MM / DD / YYYY


                                 /s/ ARIEL BOUSKILA

                                 Signature

                                 Print the name of the person who is completing and signing this claim:
                                 Name                                     ARIEL BOUSKILA

                                                                         First name       Middle name         Last name
                                 Title                                    Partner

                                 Company                                  Berkovitch & Bouskila, PLLC

                                                                         Identify the corporate servicer as the company if the authorized agent is a
                                                                         servicer
                                 Address                                  80 Broad St, Suite 3303

                                                                         Number Street
                                                                          New York, NY 10004

                                                                         City State ZIP Code
                                 Contact phone             2127291477                           Email         ari@bblawpllc.com


Official Form 410                                                      Proof of Claim                                                   page 3




                                                                                                                                                            69
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                Exhibit B - Byzfunder Proof of Claim Page 4 of 16



UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF MISSISSIPPI
In re:




Littco Metals, LLC ; Littco, LLC D/B/A Littco Metals
                                                                      Case No. 23-10069
                                                                      Chapter 11
                                Debtors.



                                RIDER TO PROOF OF CLAIM

                BYZFUNDER NY LLC (“BYZ”) submits this Proof of Claim against Littco
Metals, LLC ; Littco, LLC D/B/A Littco Metals (The “Debtor”) for a claim in the amount not less
than $214,574.37, including interest, fees, and costs and disbursements, for repayment of future
receivables purchased by BYZ. On or around July 25, 2022, BYZ and the Debtor entered into a
revenue purchase agreement (the “Agreement”) pursuant to which BYZ purchased 3% of the total
future accounts receivable of Littco Metals, LLC ; Littco, LLC D/B/A Littco Metals and JASON
RICHARD LITTRELL (the “Company Defendant” together with the Debtor “Obligated Parties”),
up to the sum of $335,000.00 in exchange for an upfront purchase price of $250,000.00. The
Debtor guaranteed the performance of the Merchant under the Agreement pursuant to a Guaranty
of Performance (the “Guarantee”) dated July 25, 2022. On or about January 9, 2023, Obligated
Parties defaulted under the terms of the Agreement by failing to deliver receivables to BYZ while
still conducting business operations. The Debtor also granted BYZ a security interest in its
Accounts and accounts receivable, which security interest was perfected by the filing of a UCC
Financing Statement (the “UCC”). Copies of the Agreement and UCC are attached hereto as
Exhibit “A” and Exhibit “B”.

        This Claim is filed to protect BYZ from forfeiture of any claims it may have. Filing of this
Claim is not (a) a waiver or release of BYZ’s rights, claims or defenses against any person, entity
or property; (b) a waiver or release of BYZ’s right to have any and all final orders in any and all
non-core matters entered only after de novo review by a United States District Judge; (c) a consent
by BYZ to the jurisdiction of this Court for any purpose other than with respect to this Claim; (d)
an election of remedy; (e) a waiver or release of any rights which BYZ may have to a jury trial; or
(f) a waiver of the right to move to withdraw the reference with respect to the subject matter of
this Claim, any objection thereto or any other proceedings which may be commenced in these
cases against or otherwise involving BYZ, including without limitation, any adversary proceeding
that was or may be commenced by any party or committee in this case.




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   / E)F3A      (# 1  & *  @   <@ E)F3"*  -1 
   #   " )F"  +    1  :    D #  *  -" D    # ++  
  E)F3@
 @* E)F3"*  -1   #        " E)F3 +   1 1
  ++    11+   +%          #"*   E)F3" )F"  +   
  1  :    D #  *  -" D    # ++   E)F3@

6*6< %%* *    1       "+*    2#       /  1 +  +
1  ++/  % E)F3 +       *  -  2#  -      -    +   "   1 
  E)F3"  "      + /+/ " /   1  "  @*    2#         "  
#A A 1 "+#  +   E)F3  + +      D "  "+
  E)F31 "    +    1 "  @
6*6= %" **            1      " E)F3/ +      
  E)F3   ++ +/)  +,    1 1      +    E)F3@   +/ + +  I  "+#
     /*  ++  +)  +,    E)F3 1      /   /  +  1+*  
# D #     1 1 *   /1        ++ 1 1 *  
    #  "" "   @"    + E)F3  +   "+ -" +"
1     2    +  , >  # $   @
6*6> (" @*    *  -2#   ++     ++ "  % E)F3 /    +  +  
    D  +@
6*6? /A3A +**   " D #+   E)F3"   "   "      #    + 
    "#  E)F3 *  / +  + E)):4         + @

8          'B    / 
*   1  #      /      .
  @4 "   " %**  -     -" D   + / 1# "   E)F3/ 
   # #++"      E)F3/ + 1    +   *   /   
"   +   /  +  #/     /1   #  1*  @*           / 
"+  E)F3  +       +   /1   #  1@ E)F3 I     
1      *       ++1  E)F3# "    I   E)F3@*  -
    -+  +"    @
  @      &" $$&"**    1+  ++ 1+#+++# +1 /  %  +  # /1   +1 1 
    "   # 1  +   #++    @
  @8  :* *  / 1       "+*  / ++1#                                     1  "+   
  /++# "  +  %@
  @; %**   ++                  "  1 1   1  +/+/  +1 1@
  @! ",# #* *  #++      /  +/    +    " D   D   
  +    1 *  -"+     /#  E)F3-1  #     @    ++" +"  
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                    
  @5 #%           2
                                            * *  #++    *  -"         +     E)F3/  ++
*     1+ "  # 1  #     " E)F3@
  @ /" 3**  #++"    1#    +"11+ "+@
  @< $$"%* *  #++  ++/  / 1 + 4-1      E)F3*  /A /
 D #+ +  E)F3    1  /    1  1 " E)F3/          
   ++        /     "    /        ++              # 
         1   "  1@
  @9 3,$ *   /*    +     1++  " D 1   AA      +#
" D 1   + 1  " D 1 1   1   E $ D 1 )  "   +  1 "   1  
 *  @*    #     1+   " D 1 1     1  +  1 #++"+ 
@
  @4 ($
                                       @ *  / 1+/  "   D"++++ 1 ++ ++ + #  E)F3"   
        /   +   +++"+/+ / +/  /    /   /1 / / /   /
I /1+  "   D    #      E)F3       "   #
      1+#/     E)F3@
  @44 3$* *  +"       +#>    #   %  1 / *      
   "  1 1       1  +/+  +1 1@
  @4 /%"   **  -A  /  1       /#++        +"*     
     #  1    @
  @48  **        " *                                 ++  E)F3                 #++
              #*  -"  
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                          Exhibit B - Byzfunder Proof of Claim Page 16 of 16



Document History
SignNow E-Signature Audit Log                                                                                                       All dates expressed in MM/DD/YYYY (US)


Document name:                                                ByzFunder - Littco Metals - 07.25.2022
Document created:                                             07/25/2022 20:45:26
Document pages:                                               10
Document ID:                                                  f960240c0d66489f8def0aeba836557ea55497af
Document Sent:                                                07/25/2022 20:45:28 UTC
Document Status:                                              Signed
                                                              07/25/2022 21:04:38UTC

Sender:                                                       byzfunder@byzfunder.com
Signers:                                                      jason@littcometalbuildings.com
CC:                                                           j.maltz@byzfunder.com

          Client                        Event                                 By                       Server Time                   Client Time            IP Address
   LendSaas ByzFunder App       Uploaded the Document              byzfunder@byzfunder.com        07/25/2022 20:45:26 pm UTC                                104.131.86.64

   LendSaas ByzFunder App          Document Saved                  byzfunder@byzfunder.com        07/25/2022 20:45:27 pm UTC                                104.131.86.64

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   LendSaas ByzFunder App                                          byzfunder@byzfunder.com        07/25/2022 20:45:28 pm UTC                                104.131.86.64
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   LendSaas ByzFunder App       Document Downloaded                byzfunder@byzfunder.com        07/25/2022 20:45:31 pm UTC                                104.131.86.64

   SignNow Web Application       Viewed the Document             jason@littcometalbuildings.com   07/25/2022 21:03:20 pm UTC   07/25/2022 21:03:18 pm UTC   50.86.173.194

   SignNow Web Application       Signed the Document             jason@littcometalbuildings.com   07/25/2022 21:04:37 pm UTC   07/25/2022 21:04:35 pm UTC   50.86.173.194

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          Case 24-01024-SDM
            Case:               Doc 89-3 Filed
                  1:25-cv-00025-GHD-DAS        02/24/25
                                          Doc #:           Entered 83
                                                 1 Filed: 02/25/25 02/24/25
                                                                      of 118 18:46:35  Desc
                                                                             PageID #: 83
                        Exhibit C- Samson MCA Proof of Claim Page 1 of 20
 Fill in this information to identify the case:
                                                                                                                                 FILED
 Debtor 1 LITTCO Metals, LLC                                                                                             U.S. Bankruptcy Court
                                                                                                                      Northern District of Mississippi
 Debtor 2
 (Spouse, if filing)                                                                                                             1/18/2023
 United States Bankruptcy Court           Northern District of Mississippi                                              Shallanda J. Clay, Clerk
 Case number: 23−10069


Official Form 410
Proof of Claim                                                                                                                                           04/19

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.

A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.


Part 1: Identify the Claim
1.Who is the current            Samson MCA LLC
  creditor?
                                Name of the current creditor (the person or entity to be paid for this claim)

                                Other names the creditor used with the debtor            Berkovitch & Bouskila, PLLC

2.Has this claim been                    No
  acquired from                          Yes. From whom?
  someone else?
3.Where should notices            Where should notices to the creditor be sent?                  Where should payments to the creditor be sent? (if
  and payments to the                                                                            different)
  creditor be sent?               Samson MCA LLC

  Federal Rule of                 Name                                                           Name
  Bankruptcy Procedure
  (FRBP) 2002(g)                  Samson Funding
                                  17 State Street
                                  6th Floor, Suite 630
                                  New York, NY 10004

                                  Contact phone               2127291477                         Contact phone

                                  Contact email          ari@bblawpllc.com                       Contact email

                                  Uniform claim identifier for electronic payments in chapter 13 (if you use one):



4.Does this claim amend                  No
  one already filed?                     Yes. Claim number on court claims registry (if known)                       Filed on

                                                                                                                                 MM / DD / YYYY
5.Do you know if anyone                  No
  else has filed a proof                 Yes. Who made the earlier filing?
  of claim for this claim?
Official Form 410                                                      Proof of Claim                                                  page 1



                                                                           Ex. C




                                                                                                                                                             83
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                                                                                of 118 18:46:35  Desc
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                          Exhibit C-  Samson     MCA    Proof  of Claim
Part 2: Give Information About the Claim as of the Date the Case Was Filed Page 2 of 20
6.Do you have any                  No
  number you use to                Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:
  identify the debtor?


7.How much is the             $     1312963.60                      Does this amount include interest or other charges?
  claim?                                                              No
                                                                      Yes. Attach statement itemizing interest, fees, expenses, or
                                                                      other charges required by Bankruptcy Rule 3001(c)(2)(A).
8.What is the basis of        Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful
  the claim?                  death, or credit card. Attach redacted copies of any documents supporting the claim required by
                              Bankruptcy Rule 3001(c).
                              Limit disclosing information that is entitled to privacy, such as healthcare information.
                              Purchase of future receivables; judgment


9. Is all or part of the          No
   claim secured?                 Yes. The claim is secured by a lien on property.
                                   Nature of property:
                                       Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage
                                                      Proof of Claim Attachment (Official Form 410−A) with this Proof of Claim.
                                       Motor vehicle
                                       Other. Describe:           All assets see financing statement


                                    Basis for perfection:                         UCC−1

                                    Attach redacted copies of documents, if any, that show evidence of perfection of a security
                                    interest (for example, a mortgage, lien, certificate of title, financing statement, or other
                                    document that shows the lien has been filed or recorded.)

                                    Value of property:                        $      1312963.60

                                    Amount of the claim that is               $      1312963.60
                                    secured:
                                    Amount of the claim that is               $         0.00                       (The sum of the secured and
                                    unsecured:                                                                     unsecured amounts should
                                                                                                                   match the amount in line 7.)


                                    Amount necessary to cure any default as of the                     $
                                    date of the petition:

                                    Annual Interest Rate (when case was filed)                         9.00        %
                                          Fixed
                                          Variable
10.Is this claim based on           No
   a lease?                         Yes. Amount necessary to cure any default as of the date of the petition.$


11.Is this claim subject to        No
   a right of setoff?              Yes. Identify the property:




Official Form 410                                                Proof of Claim                                                page 2




                                                                                                                                                  84
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          Case:               Doc 89-3 Filed
                1:25-cv-00025-GHD-DAS        02/24/25
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                                                                    of 118 18:46:35  Desc
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                      Exhibit C- Samson MCA Proof of Claim Page 3 of 20
12.Is all or part of the claim            No
    entitled to priority under                                                                                                Amount entitled to priority
    11 U.S.C. § 507(a)?                   Yes. Check all that apply:
    A claim may be partly                   Domestic support obligations (including alimony and child support) $
    priority and partly                     under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,
    in some categories, the                 Up to $3,025* of deposits toward purchase, lease, or rental of                    $
    law limits the amount                   property or services for personal, family, or household use. 11
    entitled to priority.                   U.S.C. § 507(a)(7).
                                            Wages, salaries, or commissions (up to $13,650*) earned within                    $
                                            180 days before the bankruptcy petition is filed or the debtor's
                                            business ends, whichever is earlier. 11 U.S.C. § 507(a)(4).
                                            Taxes or penalties owed to governmental units. 11 U.S.C. §                        $
                                            507(a)(8).
                                            Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5). $

                                            Other. Specify subsection of 11 U.S.C. § 507(a)( ) that applies                   $

                                         * Amounts are subject to adjustment on 4/1/22 and every 3 years after that for cases begun on or after the date
                                         of adjustment.

Part 3: Sign Below
 The person completing           Check the appropriate box:
 this proof of claim must
 sign and date it. FRBP                  I am the creditor.
 9011(b).
                                         I am the creditor's attorney or authorized agent.
 If you file this claim
 electronically, FRBP                    I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 5005(a)(2) authorizes courts
 to establish local rules                I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 specifying what a signature     I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating
 is.                             the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a            I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fraudulent claim could be       and correct.
 fined up to $500,000,
 imprisoned for up to 5          I declare under penalty of perjury that the foregoing is true and correct.
 years, or both.
 18 U.S.C. §§ 152, 157 and
 3571.                           Executed on date                1/18/2023

                                                                 MM / DD / YYYY


                                 /s/ ARIEL BOUSKILA

                                 Signature

                                 Print the name of the person who is completing and signing this claim:
                                 Name                                     ARIEL BOUSKILA

                                                                         First name       Middle name         Last name
                                 Title                                    Partner

                                 Company                                  Berkovitch & Bouskila, PLLC

                                                                         Identify the corporate servicer as the company if the authorized agent is a
                                                                         servicer
                                 Address                                  80 Broad St, Suite 3303

                                                                         Number Street
                                                                          New York, NY 10004

                                                                         City State ZIP Code
                                 Contact phone             2127291477                           Email         ari@bblawpllc.com


Official Form 410                                                      Proof of Claim                                                   page 3




                                                                                                                                                            85
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              Exhibit C- Samson MCA Proof of Claim Page 4 of 20



UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF MISSISSIPPI
In re:




Littco Metals, LLC ; Littco, LLC D/B/A Littco Metals
                                                                      Case No. 23-10069
                                                                      Chapter 11
                                Debtors.



                                RIDER TO PROOF OF CLAIM

               SAMSON MCA LLC (“SML”) submits this Proof of Claim against Littco Metals,
LLC ; Littco, LLC D/B/A Littco Metals (The “Debtor”) for a claim in the amount not less than
$1,312,963.60, including interest, fees, and costs and disbursements, for repayment of future
receivables purchased by SML. On or around June 9, 2022, SML and the Debtor entered into a
revenue purchase agreement (the “Agreement”) pursuant to which SML purchased 25% of the
total future accounts receivable of Littco Metals, LLC ; Littco, LLC D/B/A Littco Metals and
JASON RICHARD LITTRELL (the “Company Defendant” together with the Debtor “Obligated
Parties”), up to the sum of $1,807,000.00 in exchange for an upfront purchase price of
$1,300,000.00. The Debtor guaranteed the performance of the Merchant under the Agreement
pursuant to a Guaranty of Performance (the “Guarantee”) dated June 9, 2022. On or about
December 29, 2022, Obligated Parties defaulted under the terms of the Agreement by failing to
deliver receivables to SML while still conducting business operations. The Debtor also granted
SML a security interest in its Accounts and accounts receivable, which security interest was
perfected by the filing of a UCC Financing Statement (the “UCC”). Copies of the Agreement and
UCC are attached hereto as Exhibit “A” and Exhibit “B”.

        This Claim is filed to protect SML from forfeiture of any claims it may have. Filing of this
Claim is not (a) a waiver or release of SML’s rights, claims or defenses against any person, entity
or property; (b) a waiver or release of SML’s right to have any and all final orders in any and all
non-core matters entered only after de novo review by a United States District Judge; (c) a consent
by SML to the jurisdiction of this Court for any purpose other than with respect to this Claim; (d)
an election of remedy; (e) a waiver or release of any rights which SML may have to a jury trial; or
(f) a waiver of the right to move to withdraw the reference with respect to the subject matter of
this Claim, any objection thereto or any other proceedings which may be commenced in these
cases against or otherwise involving SML, including without limitation, any adversary proceeding
that was or may be commenced by any party or committee in this case.




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Case
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                           Exhibit C- Samson MCA Proof of Claim Page 7 of 20

                                                              REVENUE PURCHASE AGREEMENT

  7KLV5HYHQXH3XUFKDVH$JUHHPHQWDQG6HFXULW\$JUHHPHQWDQG*XDUDQW\RI3HUIRUPDQFH ³$JUHHPHQW´ GDWHG06/09/2022 between Samson MCA LLC ³FUNDER´ WKH
  Merchant(s) listed below (Merchant´ DQGWKH,QGLYLGXDO V OLVWHGEHORZ ³*XDUDQWRU´
                                                                            MERCHANT INFORMATION
  0HUFKDQW¶V/HJDOName:LITTCO METALS LLC
  D/B/A: LITTCO LLC
  State of Incorporation / Organization: MS

 Type of Entity: LLC

  Physical Address: 1216 E. INDUSTRIAL ACCESS ROAD

  City: West Point                                State: MS                          Zip: 39773      Business Phone: (662) 499-2801


  Guarantor(s) Name: JASON R. LITTRELL                    Cellphone Number: (662) 312-9088                         Email Address: jason@littcometalbuildings.com

  Mailing Address: 23 WATER OAK LANE                                                                       City: Starkville

           State: MS                                                    Zip: 39759


  Guarantor(s) Name:                                      Cellphone Number:                                        Email Address:

  Mailing Address:                                                                                         City:

            State:                                                      Zip:

  Purchase Price: $1,300,000.00                Purchased Percent: 25%                      Purchased Amount: $1,807,000.00

  Payment Frequency: WEEKLY                                        Remittance: $31,999.00

In consideration of payment by FUNDER to Merchant of the Purchase Price set forth above, Merchant hereby sells, assigns and transfers to FUNDER (making FUNDER the absolute
owner) the Purchased Percentage of all of 0HUFKDQW¶V payments, receipts, settlements and funds paid to or received by or for the account of Merchant from time to time on and after
the date hereof in payment or settlement of Merchant's existing and future accounts, payment intangibles, credit, debit and/or stored value card transactions, contract rights and other
HQWLWOHPHQWVDULVLQJIURPRUUHODWLQJWRWKHSD\PHQWRIPRQLHVIURP0HUFKDQW¶VFXVWRPHUV¶DQGRURWKHUSD\RUVRUREOLJRUV WKH³)XWXUH5HFHLSWV´GHILQHGDVDOOSD\PHQWVPDGHE\
cash, check, clearinghouse settlement, electronic transfer or other form of monetary payment), for the payments to Merchant as DUHVXOWRI0HUFKDQW¶VVDOHRIJRRGVDQGRUVHUYLFHV
(the ³7UDQVDFWLRQV´ until the Purchased Amount has been delivered by or on behalf of Merchant to FUNDER.
Merchant is selling a portion of a future revenue stream to FUNDER at a discount, and is not borrowing money from FUNDER, therefore there is no interest rate or payment schedule
and no time period during which the Purchased Amount must be collected by FUNDER. The Remittance is a good faith estimate of )81'(5¶VVKDUHRIWKHIXWXUHUHYHQXHVWUHDP
Merchant going bankrupt or going out of business, or experiencing a slowdown in business, or a delay in collecting its receivables, in and of itself, does not constitute a breach of
WKLV$JUHHPHQW)81'(5LVHQWHULQJWKLV$JUHHPHQWNQRZLQJWKHULVNVWKDW0HUFKDQW¶VEXVLQHVVPD\QRWSHUIRUPDVH[SHFWHGRUIail, and FUNDER assumes these risks based on
0HUFKDQW¶V representations, warranties and covenants in this Agreement, which are designed to give FUNDER a reasonable and fair opportunity to receive the benefit of its bargain.
FUNDER acknowledges that it may never receive the Purchased Amount in the event that the Merchant does not generate sufficient revenue. Merchant and Guarantor(s)(s) are only
guaranteeing their performance of the terms of this Revenue Purchase Agreement, and are not guaranteeing the payment of the Purchased Amount. The initial Remittance shall be
as described above. The Remittance is subject to adjustment as set forth in Paragraph 1.4 and Paragraph 1.5.
FUNDER will debit the Remittance each business day from only one depositing bank account, which account must be acceptable to, and pre-approved by, FUNDER (the ³$FFRXQW´ 
LQWRZKLFK0HUFKDQWDQG0HUFKDQW¶VFXVWRPHUVVKDOOUHPLWWKH5HFHLSWVIURPHDFK7UDQVDFWLRQXQWLOVXFKWLPHDV)81'(5UHFHLY es payment in full of the Purchased Amount.
Merchant hereby authorizes FUNDER to ACH debit the agreed Remittance from the Account on the agreed upon Payment Frequency; a daily basis means any day that is not a
United States banking holiday. Merchant agrees not to make or cause debits to the Account (other than in favor of FUNDER) at any time that would cause the balance therein on
any business day to be insufficient to fund payment in full of the agreed Remittance. The Account may not be used for any per sonal, family or household purposes. Merchant will
provide FUNDER with all required access codes and monthly bank statements regarding the Account so that FUNDER may monitor the Account. FUNDER payment of the Purchase
Price shall be deemed the acceptance and performance by FUNDER of this Agreement. Merchant understands that it is responsible for ensuring that the agreed Remittance to be
debited by FUNDER remains in the Account and will be held responsible for any fees incurred by FUNDER resulting from a rejected ACH attempt or an Event of Default. FUNDER
is not responsible for any overdrafts or rejected transactions that may result from )81'(5¶V ACH debiting the agreed Remittance under the terms of this Agreement. Notwithstanding
anything to the contrary in this Agreement or any other agreement between FUNDER and Merchant, upon the occurrence of an Event of Default of the MERCHANT AGREEMENT
TERMS AND CONDITIONS the Purchased Percentage shall equal 100%. A list of all fees applicable under this Agreement is contained in Appendix A.

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                                                                                   EMENT.
  FORM HEREOF, ARE ALL HEREBY INCORPORATED IN AND MADE A PART OF THIS MERCHANT AGREEMENT.
                                        Jason R. Littrell / President
  FOR THE MERCHANT (#1) By:
                                                          (Print Name and Title)                                                                    (Signature)

  FOR THE MERCHANT (#2) By:
                                                          (Print Name and Title)                                                                    (Signature)
                                        Jason R. Littrell / President
 BY GUARANTOR(S) (#1) By:
                                                          (Print Name and Title)                                                                    (Signature)

 BY GUARANTOR(S) (#2) By:
                                                           (Print Name and Title)                                                                   (Signature)


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                            Exhibit C- Samson MCA Proof of Claim Page 8 of 20
                                                   MERCHANT AGREEMENT TERMS AND CONDITIONS
                                                                  TERMS OF ENROLLMENT IN PROGRAM
1.1                    Merchant Deposit Agreement and Processor. Merchant shall (A) execute an agreement acceptable to FUNDER with a Bank acceptable to FUNDER to obtain
electronic fund transfer services for the Account, and (B) if applicable, execute an agreement acceptable to FUNDER with a cred LW DQG GHELW FDUG SURFHVVRU WKH ³3URFHVVRU´ 
instructing the Processor to deposit all Receipts into the Account. Merchant shall provide FUNDER and/or its authorized agent (s) with all of the information, authorizations and
passwords necessary for verifying 0HUFKDQW¶VUHFHLYDEOHVUHFHLSWVGHSRVLWVDQGZLWKGUDZDOVLQWRDQGIURPWKH$FFRXQW0HUFKDQWKHUHE\DXWKRUL]HV)81'(5DQGR r its agent(s)
to withdraw from the Account via ACH debit the amounts owed to FUNDER for the receipts as specified herein and to pay such amounts to FUNDER. These authorizations apply
not only to the approved Account but also to any subsequent or alternate account used by the Merchant for these deposits, whether pre- approved by FUNDER or not. This additional
DXWKRUL]DWLRQLVQRWDZDLYHURI)81'(5¶VHQWLWOHPHQWWRGHFODUHWKLV$JUHHPHQWEUHDFKHGE\0HUFKDQWDVDUHVXOWRILWVXVDJH of an account which FUNDER did not first pre-
approve in writing prior to 0HUFKDQW¶V usage thereof. The aforementioned authorizations shall be irrevocable without the written consent of FUNDER.
1.2                    Term of Agreement. This Agreement shall remain in full force and effect until the entire Purchased Amount and any other amounts due are received by FUNDER
as per the terms of this Agreement.
1.3                    Reconciliation. As long as an Event of Default, or breach of this agreement, has not occurred, Merchant may request a retroactive reconciliat ion of the total
Remittance Amount. All requests hereunder must be in writing to reconciliations@samsonfunding.com 6DLG UHTXHVW PXVW LQFOXGH FRSLHV RI DOO RI 0HUFKDQW¶V EDQN DFFRXQW
statements, credit card processing statements, and accounts receivable report outstanding if applicable, from the date of this Agreement through and including the date the request is
made. FUNDER retains the right the request additional reasonable documentation including without limitation bank login or acc HVVWRYLHZ0HUFKDQW¶VDFFRXQWVXVLQJWKLrd party
VRIWZDUHDQG0HUFKDQW¶VUHIXVDOWRSURYLGHDFFHVVVKDOOEHDEUHDFKRIWKLV$JUHHPHQWDQG)81'(5VKDOOKDYHQRREOLJDWLRQWR reconcile. Such reconciliation, if applicable, shall
be performed by FUNDER within two (2) Business Days following its receipt of 0HUFKDQW¶V request for reconciliation by either crediting or debiting the difference back to, or from,
Merchants Bank Account so that the total amount debited by FUNDER shall equal the Specific Percentage of the Future Receipts that Merchant collected during the requested month.
1RWKLQJVHWIRUWKLQWKLVVHFWLRQVKDOOEHGHHPHGWRSURYLGH0HUFKDQWZLWKWKHULJKWWRLQWHUIHUHZLWK)81'(5¶VULJKWDQGDEL OLW\WRGHELW0HUFKDQW¶V$FFRXQWZKLOHWKHUHTXHVWLV
pending or to unilaterally modify the Remittance Amount, in any method other than the ones listed in this Agreement.
1.4                    Adjustments to the Remittance. As long an Event of Default, or breach of this agreement, has not occurred, Merchant may give notice to FUNDER to request
a decrease in the Remittance, should they experience a decrease in its Future Receipts. All requests hereunder must be in writing to reconciliations@samsonfunding.com and must
LQFOXGHFRSLHVRIDOORI0HUFKDQW¶VEDQNDFFRXQWVWDWHPHQWVFUHGLWFDUGSURFHVVLQJVWDWHPHQWVDQGDFFRXQWVUHFHLYDEOHUHSRUt outstanding from the date of this Agreement through
and including the date the request is made. FUNDER retains the right the request additional reasonable documentation including without limitation bank login or 3rd party software
DFFHVVWRYLHZ0HUFKDQW¶VDFFRXQWVUHIXVDOWRSURYLGHDFFHVVVKDOOEHDEUHDFKRIWKLV$JUHHPHQWDQG)81'(5VKall have no obligation to reconcile. The Remittance shall be
PRGLILHGWRPRUHFORVHO\UHIOHFWWKH0HUFKDQW¶VDFWXDOUHFHLSWVE\PXOWLSO\LQJWKH0HUFKDQW¶VDFWXDOUHFHLSWVE\WKH3XUFKDVH d Percentage divided by the number of business days
in the previous (2) calendar weeks. Merchant shall provide FUNDER with viewing access to their bank account as well as all information reasonab ly requested by FUNDER to
SURSHUO\FDOFXODWHWKH0HUFKDQW¶V5HPLWWDQFH$WWKHHQGRIWKHWZR  FDOHQGDUZHHNVWKH0HUFKDQWPD\Uequest another adjustment pursuant to this paragraph or it is agreed that
the 0HUFKDQW¶V Remittance shall return to the Remittance as agreed upon on Page 1 of this Agreement.
1.5                    Financial Condition. Merchant and Guarantor(s)(s) (as hereinafter defined and limited) authorize FUNDER and its agents to investigate their financ ial
responsibility and history, and will provide to FUNDER any authorizations, bank or financial statements, tax returns, etc., a s FUNDER requests in its sole and absolute discretion
prior to or at any time after execution of this Agreement. A photocopy of this authorization will be deemed as acceptable as an authorization for release of financial and credit
information. FUNDER is authorized to update such information and financial and credit profiles from time to time as it deems appropriate.
1.6                    Transactional History. Merchant authorizes all of its banks, brokers and processor to provide FUNDER with 0HUFKDQW¶V banking, brokerage and/or processing
history to determine qualification or continuation in this program and for collections purposes. Merchant shall provide FUNDER with copies of any documents related to 0HUFKDQW¶V
card processing activity or financial and banking affairs within five days after a request from FUNDER.
1.7                    Indemnification. Merchant and Guarantor(s)(s) hereby jointly and severally indemnify and hold harmless FUNDER and each Processor, their respective officers,
directors, agents and representatives, and shareholders against all losses, damages, claims, liabilities and expenses (including reasonable attorne\¶V IHHV  LQFXUUHG E\ DQ\ VXFK
indemnitee as a direct or indirect result of (a) claims asserted by FUNDER for monies owed to FUNDER from Merchant and (b) actions taken by indemnitee in reliance upon any
fraudulent, misleading or deceptive information or instructions provided by FUNDER.
1.8                    No Liability. In no event will FUNDER be liable for any claims asserted by Merchant or Guarantor(s)s under any legal or equitable theory for lost profits, lost
revenues, lost business opportunities, exemplary, punitive, special, incidental, indirect or consequential damages, each of which is waived by both Merchant and Guarantor(s)(s). In
the event these claims are nonetheless raised, Merchant and Guarantor(s)s will be jointly liable for all of )81'(5¶V DWWRUQH\¶V fees and expenses resulting therefrom.
1.9                    Reliance on Terms. Section 1.1, 1.6, 1.7, 1.8 and 2.5 of this Agreement are agreed to for the benefLWRI0HUFKDQW)81'(53URFHVVRUDQG0HUFKDQW¶VEDQN
and notwithstanding the fact that Processor and the bank is not a party of this Agreement, Processor and the bank may rely upon their terms and raise them as a defense in any action.
1.10                   Sale of Receipts. Merchant and FUNDER agree that the Purchase Price under this Agreement is in exchange for the Purchased Amount, and that such Purchase
Price is not intended to be, nor shall it be construed as a loan from FUNDER to Merchant. Merchant agrees that the Purchase Price is in exchange for the Receipts pursuant to this
Agreement, and that it equals the fair market value of such Receipts. FUNDER has purchased and shall own all the Receipts des cribed in this Agreement up to the full Purchased
Amount aVWKH5HFHLSWVDUHFUHDWHG0HUFKDQWDFNQRZOHGJHVWKDW)81'(5¶VVKDUHRI5HFHLSWVFROOHFWHGDUHEHLQJKHOGE\0HUFKDQWLQWUX st and are the sole property of FUNDER
until they are remitted to FUNDER. Payments made to FUNDER in respect to the full amount of WKH5HFHLSWVVKDOOEHFRQGLWLRQHGXSRQ0HUFKDQW¶VVDOHRISURGXFWVDQGVHUYLFHV
DQGWKH SD\PHQW WKHUHIRUHE\ 0HUFKDQW¶V FXVWRPHUV %\ WKLV $JUHHPHQW 0HUFKDQW WUDQVIHUV WR )81'(5 IXOO DQG FRPSOHWH RZQHUVKLp of the Purchased Amount and Merchant
retains no legal or equitable interest therein. FUNDER hereby appoints Merchant, and Merchant accepts appointment, as servicer for and on behalf of FUNDER for the purpose
of collecting and delivering Receipts to FUNDER as required by this Agreement until FUNDER has received the Receipts Purchased Amount, and Merchant agrees that all such
Receipts shall be received and held in trust for the benefit of SPFL for purposes of carrying out the terms of this Agreement . Merchant agrees that it will treat the amounts received
and the Purchased Receipts delivered to FUNDER under this Agreement in a manner consistent with a sale in its accounting reco rds and tax returns. Merchant agrees that
FUNDER is entitled to audit Merchant's accounting records upon reasonable notice in order to verify compliance. Merchant waives any rights of privacy, confidentiality or
taxpayer privilege in any such litigation or arbitration in which Merchant asserts that this transaction is anything other than a sale of future receipts. In no event shall the aggregate
of all amounts or any portion thereof be deemed as interest hereunder, and in the event, it is found to be interest despite t he parties hereto specifically representing that it is NOT
interest, it shall be found that no sum charged or collected hereunder shall exceed the highest rate permissible at law. In the event that a court nonetheless determines that FUNDER
has charged or received interest hereunder in excess of the highest applicable rate, the rate in effect hereunder shall automatically be reduced to the maximum rate permitted by
applicable law and FUNDER shall promptly refund to Merchant any interest received by FUNDER in excess of the maximum lawful rate, it being intended that Merchant not pay
or contract to pay, and that FUNDER not receive or contract to receive, directly or indirectly in any manner whatsoever, interest in excess of that which may be pa id by Merchant
under applicable law result, result thereof, Merchant knowingly and willingly waives the defense of Usury in any act ion or proceeding.
1.11                    Power of Attorney. Merchant irrevocably appoints FUNDER and its agents and representatives, as its agent and attorney-in-fact with full authority to take any
action or execute any instrument or document to settle all obligations due to FUNDER from Processor, or in the case of a violation by Merchant of Section 1or the occurrence of an
Event of Default under Section 3 hereof, including without limitation (i) to obtain and adjust insurance; (ii) to collect mon ies due or to become due under or in respect of any of the
Collateral; (iii) to receive, endorse and collect any checks, notes, drafts, instruments, documents or chattel paper in connection with clause (i) or clause (ii) above; (iv) to sign 0HUFKDQW¶V
name on any invoice, bill of lading, or assignment directing customers or account debtors to make payment directly to FUNDER; and (v) WRFRQWDFW0HUFKDQW¶VEDQNVDQGILQDQFLDO
institutions using Merchant and Guarantor(s)(s) personal information to verify the existence of an account and obtain account balances (vi) to file any claims or take any action or
institute any proceeding which FUNDER may deem necessary for the collection of any of the unpaid Purchased Amount from the Co llateral, or otherwise to enforce its rights with
respect to payment of the Purchased Amount. In connection therewith, all costs, expenses and fees, including legal fees, shall be payable by merchant.
1.12                    Protections against Default. The following Protections 1 through 8 may be invoked by FUNDER immediately and without notice to Merchant in the event: (a)
Merchant takes any action to discourage the use of electronic check processing that are settled through Processor, or permits any event to occur that could have an adverse effect on
WKHXVHDFFHSWDQFHRUDXWKRUL]DWLRQRIFKHFNVRURWKHUSD\PHQWVRUGHSRVLWVIRUWKHSXUFKDVHRI0HUFKDQW¶VVHUYLFHVDQGSUR ducts including but not limited to direct deposit of any
checks into a bank account without scanning into the FUNDER electronic check processor; (b) Merchant changes its arrangements with Processor or the Bank in any way that is
adverse or unacceptable to FUNDER; (c) Merchant changes the electronic check processor through which the Receipts are settled from Processor to another electronic check
SURFHVVRURUSHUPLWVDQ\HYHQWWRRFFXUWKDWFRXOGFDXVHGLYHUVLRQRIDQ\RI0HUFKDQW¶VFKHFNRUGHSRVLWWUDQVDFWLRQVWRDQRther processor; (d) Merchant intentionally interrupts or
ceases the operation of this business transfers, moves, sells, disposes, or otherwise conveys its business and/or assets without (i) the express prior written consent of FUNDER,, and
(ii) the written agreement of any FUNDER or transferee to the assumption of all of 0HUFKDQW¶V obligations under this Agreement pursuant to documentation satisfactory         ory
                                                                                                                                                                                y to FUNDER;
                                                                                                                                                                                   o FU
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                           Exhibit C- Samson MCA Proof of Claim Page 9 of 20
(e) Merchant takes any action, fails to take any action, or offers any incentive²economic or otherwise²the result of which will be to induce any customer or customers to pay for
MercKDQW¶V services with any means other than payments, checks or deposits that are settled through Processor; (f) Merchant fails to provide FUNDER with copies of any documents
related to 0HUFKDQW¶V card processing activity of financial and banking affairs within five days after a request from FUNDER, or (g) Merchant breaches any terms of this Agreement,
including but not limited any of the Events of Default contained in Section 3.1 herein. These protections arein addition to any other remedies available to FUNDER at law, in equity
or otherwise pursuant to this Agreement.

Protection 1. The full uncollected Purchased Amount plus all fees (including DWWRUQH\¶V fees and costs of collection in the amount of 30% of the Purchased Amount then outstanding
due under this Agreement and the attached Security Agreement become due and payable in full immediately.
Protection 2. FUNDER may enforce the provisions of the Limited Personal Guaranty of Performance against the Guarantor(s).
Protection 3. Merchant hereby authorizes FUNDER to execute in the name of the Merchant a Confession of Judgment in favor of FUNDER pursuant to the terms of the Confession
of Judgment. Upon an Event of Default, FUNDER may enter that Confession of Judgment as a Judgment with the Clerk of any Court and execute thereon.
Protection 4. FUNDER may enforce its security interest in the Collateral including sending demand letters to account debtors and credit card processors.
Protection 5. FUNDER may exercise any and all rights and remedies of a secured party under Uniform Commercial Code Article 9
Protection 6. FUNDER may proceed to protect and enforce its right and remedies by lawsuit. In any such lawsuit, if FUNDER recovers a Judgment against Merchant, Merchant shall
be liable for all of )81'(5¶V costs of the lawsuit, including but not limited to all reasonable DWWRUQH\V¶ fees and court costs.
Protection 7. 7KLV$JUHHPHQWVKDOOEHGHHPHG0HUFKDQW¶V$VVLJQPHQWRI0HUFKDQW¶V/HDVHRI0HUFKDQW¶VEXVLQHVVSUHPLVHVWR)81'(58SRQEUHDch of any provision in this
Agreement, FUNDER may exercise its rights under this Assignment of Lease without prior Notice to Merchant. Protection 8. FUND(5PD\GHELW0HUFKDQW¶VGHSRVLWRU\DFFRXQWV
wherever situated by means of ACH debit or facsimile signature on a computer-JHQHUDWHGFKHFNGUDZQRQ0HUFKDQW¶VEDQNDFFRXQWRURWKHUZLVHIRUDOOVXPVGXHWR)81'(5
Protection 8. )81'(5PD\GHELW0HUFKDQW¶VGHSRVLWRU\DFFRXQWVZKHUHYHUVLWXDWHGLQVXFKDPRXQWVDVGHWHUPLQHGE\)81'(5LQLWVVROHGLVFUHWion for purposes of collecting
funds for application to the unrealized Purchased Amount and other amounts owed by Merchant to FUNDER by means of ACH debit or facsimile signature on a computer-generated
FKHFNGUDZQRQ0HUFKDQW¶VEDQNDFFRXQWRURWKHUZLVHIRUDOOVXPVGXHto FUNDER.
1.13 Protection of Information. Merchant and each person signing this Agreement on behalf of Merchant and/or as Owner or Guarantor(s), in respect of himself or herself personally,
authorizes FUNDER to disclose information concerning 0HUFKDQW¶V and each 2ZQHU¶V and each *XDUDQWRU V ¶V credit standing (including credit bureau reports that FUNDER obtains)
and business conduct only to agents, affiliates, subsidiaries, and credit reporting bureaus. Merchant and each Owner and each Guarantor(s) hereby and each waives to the maximum
extent permitted by law any claim for damages against FUNDER or any of its affiliates relating to any (i)investigation undertaken by or on behalf of FUNDER as permitted by this
Agreement or (ii) disclosure of information as permitted by this Agreement.
1.14 Confidentiality. Merchant understands and agrees that the terms and conditions of the products and services offered by FUNDER, including this Agreement and any other
FUNDER documents (collectively, ³&RQILGHQWial ,QIRUPDWLRQ´ are proprietary and confidential information of FUNDER. Accordingly, unless disclosure is required by law or court
order, Merchant shall not disclose Confidential Information of FUNDER to any person other than an attorney, accountant, financial advisor or employee of Merchant who needs to
know such information for the purpose of advising Merchant ³$GYLVRU´  provided such Advisor uses such information solely for the purpose of advising Merchant and first agrees
in writing to be bound by the terms of this section. A breach hereof entitles FUNDER to not only damages and reasonable attorney ¶VIHHVEXWDOVRWRERWKD7HPSRUDU\5HVWUDLQLQJ
Order and a Preliminary Injunction without Bond or Security.
1.15 Publicity. Merchant and each of 0HUFKDQW¶V Owners and all Guarantor(s)s heretoall hereby authorizes FUNDER to use its, his or her name in listings of clients and in advertising
and marketing materials.
1.16 '%$¶V Merchant hereby acknowledges and agrees that FUNDER may be XVLQJ ³GRLQJEXVLQHVV DV´RU ³GED´ QDPHV LQ FRQQHFWLRQ ZLWK YDULRXV PDWWHUV UHODWLQJ WR WKH
transaction between FUNDER and Merchant, including the filing of UCC-1 financing statements and other notices or filings.

                                                REPRESENTATIONS, WARRANTIES AND COVENANTS
Merchant represents warrants and covenants that, as of this date and during the term of this Agreement:
2.1                  Financial Condition and Financial Information. 0HUFKDQW¶V and *XDUDQWRU V V¶ bank and financial statements, copies of which have been furnished to FUNDER,
and future statements which will be furnished hereafter at the discretion of FUNDER, fairly represent the financial condition of Merchant at such dates, and since those dates there
has been no material adverse changes, financial or otherwise, in such condition, operation or ownership of Merchant. Merchant and Guarantor(s)s have a continuing, affirmative
obligation to advise FUNDER of any material adverse change in their financial condition, operation or ownership. FUNDER may request statements at any time during the
performance of this Agreement and the Merchant and Guarantor(s)s shall provide them to FUNDER within five business days after UHTXHVW IURP )81'(5 0HUFKDQW¶V RU
*XDUDQWRU V V¶ failure to do so is a material breach of this Agreement.
2.2                   Governmental Approvals. Merchant is in compliance and shall comply with all laws and has valid permits, authorizations and licenses to own, operate and lease
its properties and to conduct the business in which it is presently engaged and/or will engage in hereafter.
2.3                   Authorization. Merchant, and the person(s) signing this Agreement on behalf of Merchant, have full power and authority to incur and perform the obligations
under this Agreement, all of which have been duly authorized.
2.4                   Use of Funds. Merchant agrees that it shall use the Purchase Price for business purposes and not for personal, family, or household purposes.
2.5                   Electronic Check Processing Agreement. Merchant will not change its Processor, add terminals, change its financial institution or bank account(s)or take any
RWKHUDFWLRQWKDWFRXOGKDYHDQ\DGYHUVHHIIHFWXSRQ0HUFKDQW¶VREOLJDWLRQVXQGHUWKLV$JUHHPHQWZLWKRXW)81'(5¶VSULRUZULW ten consent. Any such changes shall be a material
breach of this Agreement.
2.6                   Change of Name or Location. 0HUFKDQWZLOOQRWFRQGXFW0HUFKDQW¶VEXVLQHVVHVXQGHUDQ\QDPHRWKHUWKDQDVGLVFORVHGWRWKH3URFHVVRUDQG)81'(5QRU
shall Merchant change any of its places of business without prior written consent by FUNDER.
2.7                   Daily Batch Out. Merchant will batch out receipts with the Processor on a daily basis ifapplicable.
2.8                   Estoppel Certificate. 0HUFKDQWZLOODWHYHU\DQGDOOWLPHVDQGIURPWLPHWRWLPHXSRQDWOHDVWRQH  GD\¶VSULRUQRWLFHIURP)81'(5WR0HUFKDQW , execute,
acknowledge and deliver to FUNDER and/or to any other person, firm or corporation specified by FUNDER, a statement certifying tha t this Agreement is unmodified and in full
force and effect (or, if there have been modifications, that the same is in full force and effect as modified and stating the modifications) and stating the dates which the Purchased
Amount or any portion thereof has been repaid.
2.9                   No Bankruptcy. As of the date of this Agreement, Merchant is not insolvent and does not contemplate filing for bankruptcy in the next six months and has not
consulted with a bankruptcy attorney or filed any petition for bankruptcy protection pursuant to the United States Bankruptcy Code and there has been no involuntary petition brought
or pending against Merchant. Merchant further warrants that it does not anticipate filing any such bankruptcy petition and it does not anticipate that an involuntary petition will be
filed against it.
2.10                   Unencumbered Receipts. Merchant has good, complete, unencumbered and marketable title to all Receipts and all collateral in which FUNDER has been
granted a security interest under the Security Agreement, free and clear of any and all liabilities, liens, claims, charges, restrictions, conditions, options, rights, mortgages, security
interests, equities, pledges and encumbrances of any kind or nature whatsoever other than in favor of FUNDER or any other rig hts or interests that may be inconsistent with the
transactions contemplated with, or adverse to the interests of FUNDER.
2.11                   Business Purpose. Merchant is a valid business in good standing under the laws of the jurisdictions in which it is organized and/or operates, a nd Merchant is
entering into this Agreement for business purposes and not as a consumer for personal, family or householdpurposes.
2.12                   Defaults under Other Contracts. 0HUFKDQW¶V execution of, and/or performance under this Agreement, will not cause or create an event of default by Merchant
under any contract with another person or entity.
2.13 Good Faith. Merchant and Guarantor(s)s hereby affirm that Merchant is receiving the Purchase Price and selling FUNDER the Purchased Amount in good faith and will use
the Purchase Price funds to maintain and grow 0HUFKDQW¶V business

                                                            EVENTS OF DEFAULT AND REMEDIES
3.1    Events of Default. The occurrence of any of the following events shall constitute an ³(YHQW of 'HIDXOW´ hereunder:
(a)    Merchant or Guarantor(s) shall violate any term or covenant in this Agreement;
(b)    Any representation or warranty by Merchant or Guarantor(s) in this Agreement shall prove to have been incorrect, false or misleading in any material respect when made;
(c)    the sending of notice of termination by Merchant or verbally notifying FUNDER of its intent to breach this Agreement;

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(d)    the Merchant fails to give FUNDER 24 hours advance notice that there will be insufficient funds in the account such that the ACH of the Remittance amount will not be
honored by 0HUFKDQW¶V bank, the Merchant fails to supply all requested documentation and allow for daily and/or real time monitoring of its bank account;
(e)    Merchant fails to provide its bank statements, and/or month to date bank activity, and/or accounts receivable reports, and/or bank login information within two (2) business
days of a request by FUNDER,
(f)    Merchant shall voluntarily transfer or sell all or substantially all of its assets;
(g)    Merchant shall make or send notice of any intended bulk sale or transfer by Merchant;
(h)    Merchant shall use multiple depository accounts without the prior written consent of FUNDER or takes any other action that intentionally interferes with or prevents FUNDER
from receiving the Purchased Amount in accordance with the terms of this Agreement;
(i)    Merchant shall enter into any financing agreements with any other party including but not limited to: Loans, Merchant Cash Ad vances, Receivables financing, or any other
agreement that will increase the total debt owed by Merchant to any other party.
(j)    Merchant shall change its depositing account without the prior written consent of FUNDER; or
(k)    Merchant shall close its depositing account used for ACH debits without the prior written consent of FUNDER
(l)    0HUFKDQW¶V bank returns a code other than NSF cutting FUNDER from its collections
(m) Merchant or any Owner/Guarantor(s), directly or indirectly, causes to be formed a new entity or otherwise becomes associated with any new or existing entity, which operates
a business similar to or competitive with that of Merchant;
(n)    Merchant shall default under any of the terms, covenants and conditions of any other agreement with FUNDER.

3.2     Limited Personal Guaranty Upon the occurrence of an Event of Default, FUNDER will enforce its rights against the Guarantor(s)s of this transaction. Said Guarantor(s)s
will be jointly and severally liable to FUNDER for all of )81'(5¶V losses and damages, in additional to all costs and expenses and legal fees associated with such enforcement.
3.3     Remedies. Upon the occurrence of an Event of Default occurs and is not waived pursuant to Section 4.4. hereof, FUNDER may proceed to protect and enforce its righ ts or
remedies by suit in equity or by action at law, or both, whether for the specific performance of any covenant, agreement or other provision contained herein, or to enforce the
discharge of 0HUFKDQW¶V obligations hereunder (including the Guaranty) or any other legal or equitable right or remedy, including but not limited to filing the Confession of Judgment
and executing thereon, and enforcing the Security Agreement contained herein. All rights, powers and remedies of FUNDER in connection with this Agreement may be exercised at
any time by FUNDER after the occurrence of an Event of Default, are cumulative and not exclusive, and shall be in addition to any other rights, powers or remedies provided by law
or equity.
3.4     $WWRUQH\¶V Fees. Upon the occurrence of an Event of Default, and Funder retains an attorney or law firm to enforce this Agreement, Merchant and Guarantor(s) agree that a
IHHHTXDOWRRIWKH5HPDLQLQJ%DODQFH SXUFKDVHGDPRXQWOHVVDPRXQWUHPLWWHGE\0HUFKDQW  ³$WWRUQH\¶V)HHV´ VKDOOEHLP mediately assessed Merchant and Guarantor(s)
DJUHHWKDWWKHFDOFXODWLRQIRU$WWRUQH\¶V)HHVLV reasonable.
3.5     Costs. Merchant shall pay to FUNDER all reasonable costs associated with (a) an Event or Default, (b) breach by Merchant of the Cove nants in this Agreement and the
enforcement thereof, and(c) the enforcement of )81'(5¶V remedies set forth in this Agreement, including but not limited to court costs and DWWRUQH\V¶ fees.
3.6     Required Notifications. Merchant is required to give FUNDER written notice within 24 hours of any filing under Title 11 of the United States Code. Merchant is required to
give FUNDER seven GD\V¶ written notice prior to the closing of any sale of all or substantially all of the 0HUFKDQW¶V assets or stock.

                                                                         4       MISCELLANEOUS
4.1     Modifications; Agreements. No modification, amendment, waiver or consent of any provision of this Agreement shall be effective unless the same shall be in writing and
signed by FUNDER.
4.2     Assignment. FUNDER may assign, transfer or sell its rights to receive the Purchased Amount or delegate its duties hereunder, either in whole or in part.
4.3     Notices. All notices, requests, consents, demands and other communications hereunder shall be delivered by certified mail, return receipt requested, to the respective parties to
this Agreement at the addresses set forth in this Agreement. Notices to FUNDER shall become effective only upon receipt by FUNDER. Notices to Merchant shall become effective
three days after mailing.
4.4     Waiver Remedies. No failure on the part of FUNDER to exercise, and no delay in exercising any right under this Agreement shall operate as a waiver thereof, nor shall any
single or partial exercise of any right under this Agreement preclude any other or further exercise thereof or the exercise of any other right. The remedies provided hereunder are
cumulative and not exclusive of any remedies provided by law orequity.
4.5     Binding Effect; Governing Law, Venue and Jurisdiction. This Agreement, Security Agreement and Guaranty, Guaranty of Performance, and any and all addendums
attachments, exhibits, and other documents relating to this Agreement in any way, shall be binding upon and inure to the benefit of Merchant and Guarantor(s) on the one hand, and
FUNDER and their respective successors and assigns, except that Merchant and Guarantor(s) shall not have the right to assign its rights hereunder or any interest herein without the
prior written consent of FUNDER which consent may be withheld in )81'(5¶V sole discretion. FUNDER reserves the rights to assign this Agreement with or without prior written
notice to Merchant. This Agreement, Security Agreement and Guaranty, Guaranty of Performance, and any and all addendums, attachments, exhibits, and other documents relating
to this Agreement in any way, shall be governed by and construed in accordance with the laws of the state of New York, withou t regards to any applicable principals of conflicts of
law. Any suit, action or proceeding arising hereunder, or the interpretation, performance or breach hereof, shall, if FUNDER so elects, be instituted in any court sitting in New York,
(the ³$FFHSWDEOH )RUXPV´  All Parties to this Agreement, including but not limited to, Merchant, Guarantor(s), Corporate Guarantor(s) Merchant and Guarantor(s) that the Acceptable
Forums are convenient to it, and submit to the jurisdiction of the Acceptable Forums and waives any and all objections to jurisdiction or venue. Should such proceeding be initiated in
any other forum, Merchant and Guarantor(s) waives any right to oppose any motion or application made by FUNDER to transfer such proceeding to an Acceptable Forum. Merchant
and Guarantor(s) hereby agree that the mailing of any Summons and Complaint in any proceeding commenced by FUNDER by certified or registered mail, return receipt
requested to the Mailing Address listed on this Agreement, or via email to the Email Address listed on this Agreement, or any other process required by any such court
will constitute valid and lawful service of process against them without the necessity for service by any other means provided by statute or rule of court, but without
invalidating service performed in accordance with such other provisions.
4.6     Survival of Representation, etc. All representations, warranties and covenants herein shall survive the execution and delivery of this Agreement and shall continu e in full
force until all obligations under this Agreement shall have been satisfied in full and this Agreement shall have terminated.
4.7     Interpretation. All Parties hereto have reviewed this Agreement with attorney of their own choosing and have relied only on their own DWWRUQH\V¶JXLGDQFHDQGDGYLFH1R
construction determinations shall be made against either Party hereto asdrafter.
4.8     Severability. In case any of the provisions in this Agreement is found to be invalid, illegal or unenforceable in any respect, the validity, legali ty and enforceability of any
other provision contained herein shall not in any way be affected or impaired.
4.9     Entire Agreement. Any provision hereof prohibited by law shall be ineffective only to the extent of such prohibition without invalidating the remaining provisions hereof.
This Agreement and the Security Agreement and Guaranty hereto embody the entire agreement between Merchant Guarantor(s) and Corporate Guarantor(s)s and FUNDER and
supersede all prior agreements and understandings relating to the subject matter hereof.
4.10 JURY TRIAL WAIVER. THE PARTIES HERETO WAIVE TRIAL BY JURY IN ANY COURT IN ANY SUIT, ACTION OR PROCEEDING ON ANY MATTER
ARISING INCONNECTION WITH OR IN ANY WAY RELATED TO THE TRANSACTIONS OR THEENFORCEMENT HEREOF. THE PARTIES HERETO
ACKNOWLEDGE THAT EACH MAKES THIS WAIVER KNOWINGLY, WILLINGLY AND VOLUNTARILY AND WITHOUT DURESS, AND ONLY AFTER
EXTENSIVE CONSIDERATION OF THE RAMIFICATIONS OF THIS WAIVER WITH THEIR ATTORNEYS.
4.11 CLASS ACTION WAIVER. THE PARTIES HERETO WAIVE ANY RIGHT TO ASSERT ANY CLAIMS AGAINST THE OTHER PARTY AS A REPRESENTATIVE
OR MEMBER IN ANY CLASS OR REPRESENTATIVE ACTION, EXCEPT WHERE SUCH WAIVER IS PROHIBITED BY LAW AS AGAINST PUBLIC POLICY. TO THE
EXTENT EITHER PARTY IS PERMITTED BY LAW OR COURT OF LAW TO PROCEED WITH A CLASS OR REPRESENTATIVE ACTION AGAINST THE OTHER, THE
PARTIES HEREBY AGREE THAT: (1) THE 35(9$,/,1*3$57<6+$//127%((17,7/('725(&29(5$77251(<6¶)((625&2676$662&,$7(':,7+
PURSUING THE CLASS OR REPRESENTATIVE ACTION (NOT WITHSTANDING ANY OTHER PROVISION IN THIS AGREEMENT); AND ( 2) THE PARTY
WHO INITIATES OR PARTICIPATES AS A MEMBER OF THE CLASS WILL NOT SUBMIT A CLAIM OR OTHERWISE PARTICIPATE IN ANY
RECOVERY SECURED THROUGH THE CLASS OR REPRESENTATIVE ACTION.
4.12 Facsimile & Digital Acceptance. Facsimile signatures and digital signatures hereon shall be deemed acceptable for all purposes.



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7+(7(506'(),1,7,216&21',7,216$1',1)250$7,216(7)257+,17+(³0(5&+$17$*5((0(17´,1&/8',1*7+(³7(506$1'&21',7,216´
ARE HEREBY INCORPORATED IN AND MADE A PART OF THIS SECURITY AGREEMENT AND GUARANTY OF PEFORMANCE. CAPITALIZED TERMS NOT
DEFINED IN THIS SECURITY AGREEMENT AND GUARANTY, SHALL HAVE THE MEANING SET FORTH IN THE MERCHANT AGREEMENT, INCLUDING THE
TERMS AND CONDITIONS.

      0HUFKDQW¶V/HJDO1DPH/,77&20(7$/6//&


      D/B/A: LITTCO LLC                                                                                      Federal ID#: XX-XXXXXXX

     Physical Address: 1216 E. INDUSTRIAL ACCESS ROAD                                  City: West Point               State: MS                         Zip: 39773

SECURITY AGREEMENT

Security Interest. 7KLV $JUHHPHQW ZLOO FRQVWLWXWH D VHFXULW\ DJUHHPHQW XQGHU WKH 8QLIRUP &RPPHUFLDO &RGH 7R VHFXUH 0HUFKDQW¶V REOLJDWLRQV XQGHU the Revenue Purchase
$JUHHPHQWWRPDNHDYDLODEOHRUGHOLYHU3XUFKDVHG$PRXQWWR)81'(5DQG)81'(5¶VULJKWWRUHDOL]HWKH3XUFKDVHG$PRXQWDVDQG to the extent required by the terms of the
Revenue Purchase Agreement, and performance of and compliance by Merchant with its other undertakings and agreements herein, Merchant and Guarantor(s)(s) grants to FUNDER
a security interest in and lien upon: (a) all accounts, chattel paper, documents, equipment, general intangibles, instruments , and inventory, as those terms are each defined in Article
9 of the Uniform Commercial Code (the ³8&&´  now or hereafter owned or acquired by Merchant and/or Guarantor(s)(s), (b) all proceeds, as that term is defined in Article 9 of the
8&& F DOOIXQGVDWDQ\WLPHLQWKH0HUFKDQW¶VDQGRU*XDUDQWRU V V $FFRXQWUHJDUGOHVVRIWKHVRXUFHRIVXFKIXQGV G S resent and future Electronic Check Transactions, and
(e) any amount which may be due to FUNDER under this Agreement, including but not limited to all rights to receive any payments or credits under this Agreement (collectively,
WKH³6HFXUHG$VVHWV´ 0HUFKDQWDJUHHVWRSURYLGHRWKHUVHFXULW\WR)81'(5XSRQUHTXHVWWRVHFXUH0HUFKDQW¶VREOLJDWLRQVXQGH r this Agreement. Merchant agrees that, if at any
WLPHWKHUHDUHLQVXIILFLHQWIXQGVLQ0HUFKDQW¶V$FFRXQWWRFRYHU)81'(5¶VHQWLWOHPHQWVXQGHUWKLV$JUHHPHQW)81'(5LVJUDQWH GDIXUWKHUVHFXULW\LQWHUHVWLQDOORI0HUFKDQW¶V
assets of any kind whatsoever, and such assets shall then bHFRPH6HFXUHG$VVHWV7KHVHVHFXULW\LQWHUHVWVDQGOLHQVZLOOVHFXUHDOORI)81'(5¶VHQWLWOHPHQWVXQGHUWKLV$JUHHPHQW
and any other agreements now existing or later entered into between Merchant, FUNDER or an affiliate of FUNDER is authorized to file any and all notices or filings it deems
necessary or appropriate to enforce its entitlements hereunder.

In the event Merchant, any of its officers or directors or any Owner/Guarantor(s), during the term of the Revenue Purchase Agreement or while Merchant remains liable to FUNDER
for any obligations under the Revenue Purchase Agreement, directly or indirectly, including acting by, through or in conjunct ion with any other person, causes to be formed a new
entity or otherwise becomes associated with any new or existing entity, whether corporate, partnership, limited liability company or otherwise, which operates a business similar to
or competitive with that of Merchant, such entity shall be deemed to have expressly assumed the obligations due FUNDER under the Revenue Purchase Agreement. With respect to
any such entity, FUNDER shall be deemed to have been granted an irrevocable power of attorney with authority to file, naming such newly formed or existing entity as debtor, an
initial UCC financing Statement and to have it filed with any and all appropriate UCC filing offices. FUNDER shall be held harmless by Merchant and each Owner/Gu arantor(s)
and be relieved of any liability as a result of any such authentication and filing of any such Financing Statement or the resulting perfection of its ownership rights or security interests
LQVXFKHQWLW\¶VDVVHWV)81'(5VKDOOKDYHWKHULJKWWRQRWLI\VXFKHQWLW\¶VSD\RUVRUDFFRXQWGHEWRU DVGHILQHGE\WKH8&& RI)81'(5¶VULJKWVLQFOXGLQJZLWKRXWOLPLWDWLRQ
)81'(5¶Vright to collect all accounts, and to notify any payment card processor or creditor of such entity that FUNDER has such right VLQVXFKHQWLW\¶VDVVHWV0HUFKDQWDOVR
agrees that, at the )81'(5¶V discretion, FUNDER may choose to amend any existing financing statement to include any such newly formed entity as debtor.

This security interest may be exercised by FUNDER without notice or demand of any kind by making an immediate withdrawal or freezing the Secured Assets. FUNDER shall have
the right to notify account debtors at any time. Pursuant to Article 9 of the Uniform Commercial Code, as amended from time to time, FUNDER has control over and may direct the
disposition of the Secured Assets, without further consent of Merchant. Merchant hereby represents and warrants that no other person or entity has a security interest in the Secured
Assets.
With respect to such security interests and liens, FUNDER will have all rights afforded under the Uniform Commercial Code, any other applicable law and in equity. Merchant will
obtain from FUNDER written consent prior to granting a security interest of any kind in the Secured Assets to a third party. Merchant and Guarantor(s) (s) agree(s) that this is a
contract of recoupment and FUNDER is not required to file a motion for relief from a bankruptcy action automatic stay to realize on any of the Secured Assets. Nevertheless,
Merchant and Guarantor(s)(s) agree(s) not to contest or object to any motion for relief from the automatic stay filed by FUNDER. Merchant and Guarantor(s)(s) agree(s) to execute
and deliver to FUNDER such instruments and documents FUNDER may reasonably request to perfect and confirm the lien, security interest and right of setoff set forth in this
Agreement. FUNDER is authorized to execute DOOVXFKLQVWUXPHQWVDQGGRFXPHQWVLQ0HUFKDQW¶VDQG*XDUDQWRU V V QDPH

Merchant and Guarantor(s)(s) each acknowledge and agree that any security interest granted to FUNDER under any other agreement between Merchant or Guarantor(s)(s) and
FUNDER (the ³Cross-&ROODWHUDO´ will secure the obligations hereunder and under the Merchant Agreement. Merchant and Guarantor(s)(s) each agrees to execute any documents or
take any action in connection with this Agreement as FUNDER deems necessary to perfect or maintain )81'(5¶V first priority security interest in the Collateral and the Additional
Collateral, including the execution of any account control agreements. Merchant and Guarantor(s)(s) each hereby authorizes FUNDER to file any financing statements deemed
QHFHVVDU\E\)81'(5WRSHUIHFWRUPDLQWDLQ)81'(5¶VVHFXULW\LQWHUHVW0HUFKDQWDQG*XDUDQWRU V V VKDOOEHOLDEOHIRUDQG FUNDER may charge and collect, all costs and
expenses, including but not limited to DWWRUQH\¶V fees, which may be incurred by FUNDER in protecting, preserving and enforcing )81'(5¶V security interest and rights.

Negative Pledge. Merchant and Guarantor(s)(s) each agrees not to create, incur, assume, or permit to exist, directly or indirectly, any lien on or with respect to any of the Collateral
or the Additional Collateral, as applicable.

Consent to Enter Premises and Assign Lease)81'(5VKDOOKDYHWKHULJKWWRFXUH0HUFKDQW¶VGHIDXOWLQWKHSD\PHQWRIUHQWRQWKHIROORZLQJWHUPV In the event Merchant is
served with papers in an action against Merchant for nonpayment of rent or for summary eviction, FUNDER may execute its rights and remedies under the Assignment of Lease.
Merchant also agrees that FUNDER may enter into an agreement with 0HUFKDQW¶V landlord giving FUNDER the right: (a) to enter 0HUFKDQW¶V premises and to take possession of the
fixtures and equipment therein for the purpose of protecting and preserving same; and/or (b) to assign 0HUFKDQW¶V lease to another qualified business capable of operating a business
FRPSDUDEOHWR0HUFKDQW¶VDWVXFK premises.

Remedies. Upon any Event of Default, FUNDER may pursue any remedy available at law (including those available under the provisions of the UCC), or in equity to collect,
enforce, or satisfy any obligations then owing to FUNDER, whether by acceleration or otherwise.




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                                                                     GUARANTY OF PERFORMANCE
As an additional inducement for FUNDER to enter into the Revenue Purchase Agreement, the undersigned Guarantor(s)(s) hereby provides FUNDER with this Guaranty. Guarantor(s)(s)
will not be personally liable for any amount due under the Revenue Purchase Agreement unless Merchant commits an Event of Default pursuant to Paragraph 3.1 of the Revenue Purchase
Agreement. Each Guarantor(s) shall be jointly and severally liable for all amounts owed to FUNDER in the Event of 'HIDXOW*XDUDQWRU V V JXDUDQWHH0HUFKDQW¶Vgood faith, truthfulness
and performance of all of the representations, warranties, covenants made by Merchant in this Agreement including the MerFKDQW¶VIXOOand timely delivery of the Purchased Amount pursuant
to (and limited by) the Revenue Purchase Agreement, in each case as each may be renewed, amended, extended or RWKHUZLVH PRGLILHG WKH ³*XDUDQWHHG 2EOLJDWLRQV´  *XDUDQWRU V ¶V
obligations are due at the time of any breach by Merchant of any representation, warranty, or covenant made by Merchant in the Agreement.

Guarantor(s) Waivers. In the event of a breach of the above, FUNDER may seek recovery from Guarantor(s)s for all of )81'(5¶Vlosses and damages by enforcement of )81'(5¶Vrights
under this Agreement without first seeking to obtain payment from Merchant, any other Guarantor(s), or any Collateral or Additional Collateral FUNDER may hold pursuant to this Agreement
or any other guaranty. In addition, Section 4.5, 4.10 and 4.11 are expressly reiterated in the Security Agreement and Guaranty herein. FUNDER is not required to notify Guarantor(s) of any of
the following events and Guarantor(s) will not be released from its obligations under this Agreement if it is not notified of: (i) 0HUFKDQW¶VIDLOXUHto pay timely any amount required under the
Merchant Agreement; (ii) any adverse change in 0HUFKDQW¶VILQDQFLDOFRQGLWLRQor business; (iii) any sale or other disposition of any collateral securing the Guaranteed Obligations or any other
guaranty of the *XDUDQWHHG2EOLJDWLRQV LY )81'(5¶VDFFHSWDQFHof this Agreement; and (v) any renewal, extension or other modification of the Merchant Agreement or 0HUFKDQW¶Vother
obligations to FUNDER. In addition, FUNDER may take any of the following actions without releasing Guarantor(s) from any of its obligations under this Agreement: (i) renew, extend or
otherwise modify the Merchant Agreement or 0HUFKDQW¶Vother obligations to FUNDER; (ii) release Merchant from its obligations to FUNDER; (iii) sell, release, impair, waive or otherwise
fail to realize upon any collateral securing the Guaranteed Obligations or any other guaranty of the Guaranteed Obligations; and (iv) foreclose on any collateral securing the Guaranteed
Obligations or any other guaranty of the Guaranteed Obligations in a manner that impairs or precludes the right of Guarantor(s) to obtain reimbursement for payment under this Agreement.
Until the Purchased Amount and 0HUFKDQW¶Vother obligations to FUNDER under the Merchant Agreement and this Agreement are paid in full, Guarantor(s) shall not seek reimbursement
from Merchant or any other Guarantor(s) for any amounts paid by it under this Agreement. Guarantor(s) permanently waives and shall not seek to exercise any of the following rights that it
may have against Merchant, any other Guarantor(s), or any collateral provided by Merchant or any other Guarantor(s), for any amounts paid by it, or acts performed by it, under this
Agreement: (i) subrogation; (ii) reimbursement; (iii) performance; (iv) indemnification; or (v) contribution. In the event that FUNDER must return any amount paid by Merchant or any other
Guarantor(s) of the Guaranteed Obligations because that person has become subject to a proceeding under the United States Bankruptcy Code or any similar law, *XDUDQWRU V ¶VREOLJDWLRQV
under this Agreement shall include that amount.

Guarantor(s) Acknowledgement. Guarantor(s) acknowledges that: (i) He/She is bound by the Class Action Waiver provision in the Merchant Agreement Terms and Conditions; (ii) He/She
understands the seriousness of the provisions of this Agreement; (ii) He/She has had a full opportunity to consult with counsel of his/her choice; and (iv) He/She has consulted with counsel of
its choice or has decided not to avail himself/herself of that opportunity.

This Security Agreement and Guaranty and Guaranty of Performance shall be governed by and construed in accordance with the laws of the state of New York, without regards to any
applicable principals of conflicts of law. Any suit, action or proceeding arising hereunder, or the interpretation, performance or breach hereof, shall, if Funder so elects, be instituted in
DQ\FRXUWVLWWLQJLQ1HZ<RUN WKH³$FFHSWDEOH)RUXPV´ 0HUFKDQW*XDUDQWRUDQG&RUSRUDWH*XDUDQWRUVDJUHHWKDWWKH$FFHSWDble Forums are convenient to it, and submits to the
jurisdiction of the Acceptable Forums and waives any and all objections to jurisdiction or venue. Merchant, Guarantor and Corporate Guarantors agree that the Acceptable Forums are
convenient to it, and submit to the jurisdiction of the Acceptable Forums and waives any and all objections to jurisdiction o r venue. Should such proceeding be initiated in any other
forum, Merchant, Guarantor and Corporate Guarantors waives any right to oppose any motion or application made by Funder to transfer such proceeding to an Acceptable Forum.

The Merchant Guarantor(s) and Corporate Guarantor(s) acknowledge that they have read Paragraph 4.5 of this Agreement in its entirety and understand that
they are waiving their right to Service of Process by traditional manners and will accept process of any Summons and Complain t or other legal process by
certified mail return receipt requested to the Mailing Address on Page 1 of this Agreement.

                                                Jason R. Littrell / President
     FOR ALL MERCHANT(S) (#1) By:
                                                             (Print Name and Title)                                                                        (Signature)

     SSN#




     FOR ALL MERCHANT(S) (#2) By:
                                                             (Print Name and Title)                                                                        (Signature)

     SSN#




                                      Jason R. Littrell / President
     GUARANTOR(S) (#1) By:
                                                             (Print Name and Title)                                                                         (Signature)

     SSN#




     GUARANTOR(S) (#2) By:
                                                               (Print Name and Title)                                                                       (Signature)

     SSN#




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                                       APPENDIX A - THE FEE STRUCTURE:



 A. Underwriting Fee $19,500.00 to cover underwriting and related expenses.


 B. Origination Fee $19,500.00 to cover cost of Origination and ACH Setup


 C.   NSF Fee (Standard) $35.00 (each)



 D. Rejected ACH / Blocked ACH / Default Fee $2,500.00 When Merchant BLOCKS Account from our Debit ACH, or when Merchant directs the
 bank to reject our Debit ACH, which places them in default (per contract). When Merchant changes bank Account cutting us off from our collections.




 E.   Bank Change Fee $50.00. When Merchant requires a change of Bank Account to be Debited, requiring us to adjust our system.



 F. Wire Fee - Each Merchant shall receive their funding electronically to their designated bank account and will be charged $50.00 for a Fed Wire or
 $25.00 for a bank ACH.



                                      Jason R. Littrell / President
 FOR THE MERCHANT (#1) By:

                                                          (Print Name and Title)                                                 (Signature)



 FOR THE MERCHANT (#2) By:

                                                          (Print Name and Title)                                                 (Signature)




                                                                         8                                                             Initial:

                                                                                                                                                        95
               Case 24-01024-SDM
                 Case:                Doc 89-3 Filed
                       1:25-cv-00025-GHD-DAS         02/24/25
                                                Doc #:           Entered 96
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                                                                                   PageID #: 96
                             Exhibit C- Samson MCA Proof of Claim Page 14 of 20
 AUTHORIZATION AGREEMENT FOR DIRECT DEPOSIT (ACH CREDIT) AND DIRECT PAYMENTS (ACH DEBITS)

         Merchant: LITTCO METALS LLC dba LITTCO LLC
                        0HUFKDQW¶V/HJDO1DPH


         Merchant Agreement: Merchant Agreement between Funder and Merchant, dated as of June 9, 2022


Designated Checking Account:

Bank Name:)                                                         Branch:



Tax ID: XX-XXXXXXX



ABA: Routing:                                                       DDA: Account:



Capitalized terms used in this Authorization Agreement without definition shall have the meanings set forth in the Merchant Agreement.


By signing below, Merchant attests that the Designated Checking Account was established for business purposes and not primarily for personal, family or household purposes. This
Authorization Agreement for Direct Deposit (ACH Credit) and Direct Payments (ACH Debits) is part of (and incorporated by reference into) the Merchant Agreement.
Merchant should keep a copy of this important legal document for 0HUFKDQW¶V records.


DISBURSEMENT OF ADVANCE PROCEEDS. By signing below, Merchant authorizes Funder to disburse the Advance proceeds less the amount of any applicable fees upon
Advance approval by initiating ACH credits to the Designated Checking Account, in the amounts and at the times specified in the Merchant Agreement. By signing below, Merchant
also authorizes Funder to collect amounts due from Merchant under the Merchant Agreement by initiating ACH debits to the Designated Checking Account, as follows:


In the amount of: $352,206.25



(Or) Percentage of each Banking Deposit: 25%



On the Following Days: Every consecutive Friday, NO holidays until paid in full.


If any payment date falls on a weekend or holiday, I understand and agree that the payment may be executed on the next busine ss day, along with regular scheduled payments. If a
payment is rejected by 0HUFKDQW¶V financial institution for any reason, including without limitation insufficient funds, Merchant understands that Funder may, at its discretion, attempt to
process the payment again as permitted under applicable ACH rules. Merchant also authorizes Funder to initiate ACH entries to correct any erroneous payment transaction.


MISCELLANEOUS. Funder is not responsible for any fees charged by 0HUFKDQW¶V bank as the result of credits or debits initiated under this Authorization Agreement. The origination
of ACH debits and credits to the Designated Checking Account must comply with applicable provisions of state and federal law, and the rules and operating guidelines of NACHA
(formerly known as the National Automated Clearing House Association). This Authorization Agreement is to remain in full force and effect until Funder has received written notification
from Merchant at the address set forth below at least 5 banking days prior of its termination to afford Funder a reasonable opportunity to act on it. The individual signing below on
behalf of Merchant certifies that he/she is an authorized signer on the Designated Checking Account. Merchant will not dispute any ACH transaction initiated pursuant to this
Authorization Agreement, provided the transaction corresponds to the terms of this Authorization Agreement. Merchant requests the financial institution that holds the Designated
Checking Account to honor all ACH entries initiated in accordance with this Authorization Agreement.


Merchant: LITTCO METALS LLC dba LITTCO LLC                                                                             Date: 06/09/2022
                            0HUFKDQW¶V Legal Name)                                                                     (Month) (Day) (Year)

         President
Title:



X

                                          (Signature)

                 Jason R. Littrell
Print Name:




                                                                                            9                                                                 Initial:

                                                                                                                                                                                               96
        Case 24-01024-SDM
          Case:                Doc 89-3 Filed
                1:25-cv-00025-GHD-DAS         02/24/25
                                         Doc #:           Entered 97
                                                1 Filed: 02/25/25 02/24/25
                                                                     of 118 18:46:35  Desc
                                                                            PageID #: 97
                      Exhibit C- Samson MCA Proof of Claim Page 15 of 20
                                             DISBURSEMENT AUTHORIZATION



      SELLER: LITTCO METALS LLC                                                   DBA: LITTCO LLC



      PURCHASE PRICE: $1,300,000.00

      DATE: 06/09/2022

      The undersigned hereby authorizes Purchaser to make the following deductions from proceeds and/or draw
      the following checks from the Purchase Price in accordance with the terms of the Purchase Agreement.


      Deductions

      -$19,500.00          Underwriting Fee
      -$19,500.00          Origination Fee
      -$0.00               Buyout Amount
      -$908,718.75         Payout to Wise Ventures
      -$75.00              Processing Fee
      -$0.00               Administrative Fee (applied on the initial day of funding and every 30 days to follow, until the
                           specified amount is paid in full). NOT INCLUDED IN TOTAL DEDUCTION BELOW

      Disbursement Fee (NOT INCLUDED IN TOTAL DEDUCTION BELOW)

      Deal Funded via Wire Transfer -$50.00

      OR

      Deal Funded via ACH Disbursement - $25.00

      *Please specify how you would like the disbursement on your funding call.

      Total Deductions: $947,793.75

      Net Amount Deposited: $352,206.25



       IN WITNESS WHEREOF, this Disbursement Authorization has been duly executed by the undersigned
       as of the day and year first above written.

(SELLER)


      By:
      Name: Jason R. Littrell

               President
      Title:


(SELLER)


      By:
      Name:


      Title:

                                                                   11                                             Initial:

                                                                                                                              97
 Case 24-01024-SDM
   Case:                Doc 89-3 Filed
         1:25-cv-00025-GHD-DAS         02/24/25
                                  Doc #:           Entered 98
                                         1 Filed: 02/25/25 02/24/25
                                                              of 118 18:46:35  Desc
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               Exhibit C- Samson MCA Proof of Claim Page 16 of 20




                             Samson MCA LLC
SAMSON MCA LLC

17 State Street, Suite 630

New York, NY 10004




                             Payoff Authorization Form
June 9, 2022

Littco Metals LLC
Littco LLC
1216 E. Industrial Access Road
West Point, MS 39773

RE: Payoff Authorization ± Littco Metals LLC dba Littco LLC


To whom it may concern;

Jason R. Littrell of Littco Metals LLC dba Littco LLC consents Samson MCA LLC to pay of

the remaining balance of $908,718.75 to Wise Venture.



Thank you,



X
Jason R. Littrell




                                                                                          98
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  Case:                Doc 89-3 Filed
        1:25-cv-00025-GHD-DAS         02/24/25
                                 Doc #:           Entered 99
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                                                                    PageID #: 99
              Exhibit C- Samson MCA Proof of Claim Page 17 of 20




         Addendum to Payment Rights Purchase and Sale
                         Agreement
                  REPURCHASE OPTION
Because we understand that your cash flow needs may change, we offer the following Repurchase
Option. Seller has the option to repurchase the receipts it sold to Samson MCA LLC at a discount
pursuant to the following schedule:

                         Early Delivery Period                                      REPURCHASE OPTION
Calendar Day 1-30 after the Funding Date                                                  1.13
Calendar Day 31-60 after the Funding Date                                                 1.15
Calendar Day 61-90 after the Funding Date                                                 1.17
Calendar Day 91-120 after the Funding Date                                                1.19
Calendar Day 121-150 after the Funding Date                                               1.22
Calendar Day 151-180 after the Funding Date                                               1.25

Any payment made pursuant to this Addendum must clear by 11:59 pm of the last date of the Early Delivery
Window. If the payment is received from a third party, the full Receipts Purchased Amount set forth in the
Agreement will remain due and owing.

7KH³)XQGLQJ'DWH´LVWKHGDWH6DPVRQ0&$//&UHPLWVWKH3XUFKDVH3ULFHWR6HOOHU

Seller is not eligible for this Repurchase Option if Seller violates any provision of the Agreement,
including but not limited to Section 3.1 (Events of Default) of the Agreement. Except as provided in this
Addendum, all terms and conditions of the Payment Rights Purchase and Sale Agreement shall remain
in full force and effect.


6HOOHU¶V1DPH: LITTCO METALS LLC dba LITTCO LLC


*XDUDQWRU¶V1DPH-DVRQ5/LWWUHOO


Signature:


Date: 06/09/2022




                                                                                                             99
Case 24-01024-SDM
 Case:                 Doc 89-3 Doc
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                                         1 Filed: 02/25/25  02/24/25
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         Case 24-01024-SDM
         Case:                Doc 89-3 Doc
               1:25-cv-00025-GHD-DAS    Filed
                                            #:02/24/25    Entered101
                                               1 Filed: 02/25/25 02/24/25 18:46:35
                                                                     of 118         Desc
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                                     Exhibit C- Samson MCA Proof of Claim                                                 Page 19 of 20



Document History
SignNow E-Signature Audit Log                                                                                                       All dates expressed in MM/DD/YYYY (US)


Document name:                                                LITTCO METALS LLC
Document created:                                             06/09/2022 19:50:03
Document pages:                                               14
Document ID:                                                  a04fc179159549839c84a297aa6d98d40976e668
Document Sent:                                                06/09/2022 19:59:06 UTC
Document Status:                                              Signed
                                                              06/09/2022 20:05:04UTC

Sender:                                                       michael@samsonfunding.com
Signers:                                                      jason@littcometalbuildings.com
CC:                                                           contracts@samsonfunding.com, steven@samsonfunding.com,
                                                              michael@samsonfunding.com, jmaltz@byzloans.com

          Client                        Event                                 By                       Server Time                   Client Time            IP Address
   SignNow Web Application      Uploaded the Document            michael@samsonfunding.com        06/09/2022 19:50:03 pm UTC   06/09/2022 19:53:46 pm UTC   173.54.158.68

   SignNow Web Application       Viewed the Document             michael@samsonfunding.com        06/09/2022 19:50:08 pm UTC   06/09/2022 19:53:55 pm UTC   173.54.158.68

   SignNow Web Application         Document Saved                michael@samsonfunding.com        06/09/2022 19:51:34 pm UTC   06/09/2022 19:55:20 pm UTC   173.54.158.68

                                    Invite Sent to:
   SignNow Web Application                                       michael@samsonfunding.com        06/09/2022 19:52:04 pm UTC   06/09/2022 19:55:50 pm UTC   173.54.158.68
                             jason@littcometalbuilding.com

                                  Invite Canceled for:
   SignNow Web Application                                       michael@samsonfunding.com        06/09/2022 19:59:06 pm UTC   06/09/2022 19:59:04 pm UTC   208.59.112.10
                             jason@littcometalbuilding.com

                                     Invite Sent to:
   SignNow Web Application                                       michael@samsonfunding.com        06/09/2022 19:59:07 pm UTC   06/09/2022 19:59:04 pm UTC   208.59.112.10
                             jason@littcometalbuildings.com

   SignNow Web Application       Viewed the Document             jason@littcometalbuildings.com   06/09/2022 19:59:27 pm UTC   06/09/2022 19:59:27 pm UTC   50.86.173.194

   SignNow Web Application       Signed the Document             jason@littcometalbuildings.com   06/09/2022 20:05:03 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application       Signed the Document             jason@littcometalbuildings.com   06/09/2022 20:05:03 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application       Signed the Document             jason@littcometalbuildings.com   06/09/2022 20:05:03 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application       Signed the Document             jason@littcometalbuildings.com   06/09/2022 20:05:03 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application       Signed the Document             jason@littcometalbuildings.com   06/09/2022 20:05:03 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application       Signed the Document             jason@littcometalbuildings.com   06/09/2022 20:05:03 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application       Signed the Document             jason@littcometalbuildings.com   06/09/2022 20:05:03 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

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   SignNow Web Application       Signed the Document             jason@littcometalbuildings.com   06/09/2022 20:05:03 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application       Signed the Document             jason@littcometalbuildings.com   06/09/2022 20:05:03 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application       Signed the Document             jason@littcometalbuildings.com   06/09/2022 20:05:03 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application       Signed the Document             jason@littcometalbuildings.com   06/09/2022 20:05:03 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application       Signed the Document             jason@littcometalbuildings.com   06/09/2022 20:05:03 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application       Signed the Document             jason@littcometalbuildings.com   06/09/2022 20:05:03 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

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   SignNow Web Application       Signed the Document             jason@littcometalbuildings.com   06/09/2022 20:05:03 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application       Signed the Document             jason@littcometalbuildings.com   06/09/2022 20:05:03 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application       Signed the Document             jason@littcometalbuildings.com   06/09/2022 20:05:03 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application       Signed the Document             jason@littcometalbuildings.com   06/09/2022 20:05:03 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application       Signed the Document             jason@littcometalbuildings.com   06/09/2022 20:05:03 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application       Signed the Document             jason@littcometalbuildings.com   06/09/2022 20:05:04 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application       Signed the Document             jason@littcometalbuildings.com   06/09/2022 20:05:04 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application       Signed the Document             jason@littcometalbuildings.com   06/09/2022 20:05:04 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application        Added a Checkbox               jason@littcometalbuildings.com   06/09/2022 20:05:04 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application        Added a Checkbox               jason@littcometalbuildings.com   06/09/2022 20:05:04 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application        Added a Checkbox               jason@littcometalbuildings.com   06/09/2022 20:05:04 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application        Added a Checkbox               jason@littcometalbuildings.com   06/09/2022 20:05:04 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application        Added a Checkbox               jason@littcometalbuildings.com   06/09/2022 20:05:04 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application           Added a Text                jason@littcometalbuildings.com   06/09/2022 20:05:04 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application           Added a Text                jason@littcometalbuildings.com   06/09/2022 20:05:04 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application           Added a Text                jason@littcometalbuildings.com   06/09/2022 20:05:04 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

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   SignNow Web Application           Added a Text                jason@littcometalbuildings.com   06/09/2022 20:05:04 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application           Added a Text                jason@littcometalbuildings.com   06/09/2022 20:05:04 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

   SignNow Web Application           Added a Text                jason@littcometalbuildings.com   06/09/2022 20:05:04 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194



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      Case 24-01024-SDM
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            1:25-cv-00025-GHD-DAS    Filed
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                                            1 Filed: 02/25/25 02/24/25 18:46:35
                                                                  of 118         Desc
                                                                         PageID #: 102
SignNow Web Application    Exhibit C- Samson
                           Added a Text               MCA Proof06/09/2022
                                        jason@littcometalbuildings.com of Claim          Page06/09/2022
                                                                           20:05:04 pm UTC    20 of20:05:02
                                                                                                        20pm UTC                        50.86.173.194

SignNow Web Application    Added a Text      jason@littcometalbuildings.com   06/09/2022 20:05:04 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

SignNow Web Application    Added a Text      jason@littcometalbuildings.com   06/09/2022 20:05:04 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

SignNow Web Application    Added a Text      jason@littcometalbuildings.com   06/09/2022 20:05:04 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

SignNow Web Application    Added a Text      jason@littcometalbuildings.com   06/09/2022 20:05:04 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

SignNow Web Application    Added a Text      jason@littcometalbuildings.com   06/09/2022 20:05:04 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

SignNow Web Application    Added a Text      jason@littcometalbuildings.com   06/09/2022 20:05:04 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

SignNow Web Application    Added a Text      jason@littcometalbuildings.com   06/09/2022 20:05:04 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194

SignNow Web Application   Document Saved     jason@littcometalbuildings.com   06/09/2022 20:05:04 pm UTC   06/09/2022 20:05:02 pm UTC   50.86.173.194




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          Case 24-01024-SDM
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                 1:25-cv-00025-GHD-DAS       Filed#:02/24/25    Entered103
                                                     1 Filed: 02/25/25  02/24/25
                                                                           of 118 18:46:35  Desc
                                                                                  PageID #: 103
                  Exhibit D - International Services Inc. Proof of Claim Page 1 of 5
 Fill in this information to identify the case:
                                                                                                                                 FILED
 Debtor 1 LITTCO Metals, LLC                                                                                             U.S. Bankruptcy Court
                                                                                                                      Northern District of Mississippi
 Debtor 2
 (Spouse, if filing)                                                                                                             4/19/2023
 United States Bankruptcy Court           Northern District of Mississippi                                              Shallanda J. Clay, Clerk
 Case number: 23−10069


Official Form 410
Proof of Claim                                                                                                                                           04/19

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.

A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.


Part 1: Identify the Claim
1.Who is the current            International Services, Inc.
  creditor?
                                Name of the current creditor (the person or entity to be paid for this claim)

                                Other names the creditor used with the debtor


2.Has this claim been                    No
  acquired from                          Yes. From whom?
  someone else?
3.Where should notices            Where should notices to the creditor be sent?                  Where should payments to the creditor be sent? (if
  and payments to the                                                                            different)
  creditor be sent?               International Services, Inc.

  Federal Rule of                 Name                                                           Name
  Bankruptcy Procedure
  (FRBP) 2002(g)                  3850 N. Wilke Road
                                  Arlington Heights, IL 60004



                                  Contact phone               3124941000                         Contact phone

                                  Contact email          mpc@rfclaw.com                          Contact email

                                  Uniform claim identifier for electronic payments in chapter 13 (if you use one):



4.Does this claim amend                  No
  one already filed?                     Yes. Claim number on court claims registry (if known)                       Filed on

                                                                                                                                 MM / DD / YYYY
5.Do you know if anyone                  No
  else has filed a proof                 Yes. Who made the earlier filing?
  of claim for this claim?
Official Form 410                                                      Proof of Claim                                                  page 1



                                                                           Ex. D




                                                                                                                                                           103
       Case
         Case:24-01024-SDM         Doc 89-4 Doc
                 1:25-cv-00025-GHD-DAS           Filed#:02/24/25     Entered104
                                                         1 Filed: 02/25/25    02/24/25
                                                                                 of 118 18:46:35  Desc
                                                                                        PageID #: 104
                  Exhibit D - International    Services      Inc. Proof of
Part 2: Give Information About the Claim as of the Date the Case Was Filed Claim   Page  2 of 5
6.Do you have any                  No
  number you use to                Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:
  identify the debtor?


7.How much is the             $     1038915.29                      Does this amount include interest or other charges?
  claim?                                                              No
                                                                      Yes. Attach statement itemizing interest, fees, expenses, or
                                                                      other charges required by Bankruptcy Rule 3001(c)(2)(A).
8.What is the basis of        Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful
  the claim?                  death, or credit card. Attach redacted copies of any documents supporting the claim required by
                              Bankruptcy Rule 3001(c).
                              Limit disclosing information that is entitled to privacy, such as healthcare information.
                                        Money loaned


9. Is all or part of the          No
   claim secured?                 Yes. The claim is secured by a lien on property.
                                   Nature of property:
                                       Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage
                                                      Proof of Claim Attachment (Official Form 410−A) with this Proof of Claim.
                                       Motor vehicle
                                       Other. Describe:


                                    Basis for perfection:

                                    Attach redacted copies of documents, if any, that show evidence of perfection of a security
                                    interest (for example, a mortgage, lien, certificate of title, financing statement, or other
                                    document that shows the lien has been filed or recorded.)

                                    Value of property:                        $

                                    Amount of the claim that is               $
                                    secured:
                                    Amount of the claim that is               $                                    (The sum of the secured and
                                    unsecured:                                                                     unsecured amounts should
                                                                                                                   match the amount in line 7.)


                                    Amount necessary to cure any default as of the                     $
                                    date of the petition:

                                    Annual Interest Rate (when case was filed)                                     %
                                          Fixed
                                          Variable
10.Is this claim based on           No
   a lease?                         Yes. Amount necessary to cure any default as of the date of the petition.$


11.Is this claim subject to        No
   a right of setoff?              Yes. Identify the property:




Official Form 410                                                Proof of Claim                                                page 2




                                                                                                                                             104
        Case 24-01024-SDM
         Case:                  Doc 89-4 Doc
               1:25-cv-00025-GHD-DAS       Filed#:02/24/25    Entered105
                                                   1 Filed: 02/25/25  02/24/25
                                                                         of 118 18:46:35  Desc
                                                                                PageID #: 105
                Exhibit D - International Services Inc. Proof of Claim Page 3 of 5
12.Is all or part of the claim            No
    entitled to priority under                                                                                                Amount entitled to priority
    11 U.S.C. § 507(a)?                   Yes. Check all that apply:
    A claim may be partly                   Domestic support obligations (including alimony and child support) $
    priority and partly                     under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,
    in some categories, the                 Up to $3,025* of deposits toward purchase, lease, or rental of                    $
    law limits the amount                   property or services for personal, family, or household use. 11
    entitled to priority.                   U.S.C. § 507(a)(7).
                                            Wages, salaries, or commissions (up to $13,650*) earned within                    $
                                            180 days before the bankruptcy petition is filed or the debtor's
                                            business ends, whichever is earlier. 11 U.S.C. § 507(a)(4).
                                            Taxes or penalties owed to governmental units. 11 U.S.C. §                        $
                                            507(a)(8).
                                            Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5). $

                                            Other. Specify subsection of 11 U.S.C. § 507(a)( ) that applies                   $

                                         * Amounts are subject to adjustment on 4/1/22 and every 3 years after that for cases begun on or after the date
                                         of adjustment.

Part 3: Sign Below
 The person completing           Check the appropriate box:
 this proof of claim must
 sign and date it. FRBP                  I am the creditor.
 9011(b).
                                         I am the creditor's attorney or authorized agent.
 If you file this claim
 electronically, FRBP                    I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 5005(a)(2) authorizes courts
 to establish local rules                I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 specifying what a signature     I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating
 is.                             the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a            I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fraudulent claim could be       and correct.
 fined up to $500,000,
 imprisoned for up to 5          I declare under penalty of perjury that the foregoing is true and correct.
 years, or both.
 18 U.S.C. §§ 152, 157 and
 3571.                           Executed on date                4/19/2023

                                                                 MM / DD / YYYY


                                 /s/ Matthew P. Connelly

                                 Signature

                                 Print the name of the person who is completing and signing this claim:
                                 Name                                     Matthew P. Connelly

                                                                         First name       Middle name          Last name
                                 Title                                    Attorney

                                 Company                                  Rock Fusco & Connelly, LLC

                                                                         Identify the corporate servicer as the company if the authorized agent is a
                                                                         servicer
                                 Address                                  333 W. Wacker Drive, 19th Floor

                                                                         Number Street
                                                                          Chicago, IL 60606

                                                                         City State ZIP Code
                                 Contact phone             312−494−1000                         Email         mpc@rfclaw.com


Official Form 410                                                      Proof of Claim                                                   page 3




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               IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                       NORTHERN DISTRICT OF MISSISSIPPI

In Re: LITTCO Metals, LLC                 Case No.: 23-10069-SDM
       Debtor(s)                          Chapter 7
                                          Adversary Proceeding No.: 24-01024-SDM
______________________________________________________________________________

JASON LITTRELL AND WILLIAM L.
FAVA, TRUSTEE FOR LITTCO METALS,
LLC d/b/a LITTCO, LLC, LITTCO METALS
EQUIPMENT LEASING, INC., AND
LITTCO METALS MANAGEMENT CO.                                                     PLAINTIFFS

V.

TYLER BURGESS; TONIA ETOH;
INTERNATIONAL DEVELOPMENT
SERVICES, INC.; INTERNATIONAL
SERVICES, INC.; TAVAS, LLC;
PENHURST CAPITAL, INC.; TIM WILLITS;
NATHAN FREE; JEROLD WEISSBERG;
ROBERT LEGON; BRUCE BUSH; DALE
JOHNSTON; JAMES PETERS; BYZFUNDER
NY, LLC; NEWCO CAPITAL GROUP IV, LLC;
MEHANDI VAKIL; WISE VENTURE, LLC;
STEVEN MARKOWITZ, JR.; SAMSON, MCA,
LLC; CLOUDFUND, LLC D/B/A SAMSON
GROUP; UNIQUE FUNDING SOLUTIONS,
LLC; YAAKOV WINOGRAD; PROSPERUM
CAPITAL PARTNERS, LLC D/B/A ARSENAL
FUNDING; JOHN AND JANE DOES 1-10;
AND ENTITIY DOES 1-5                                                           DEFENDANTS

              MEMORANDUM OF AUTHORITIES IN SUPPORT OF
        PLAINTIFFS’ RESPONSE TO MOTION TO WITHDRAW REFERENCE

       COME NOW, Plaintiffs, by and through counsel, and file this Memorandum of

Authorities in Support of their Response to Motion to Withdraw Reference, stating unto the

Court as follows:




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                                        I. INTRODUCTION

        The debtor, Littco Metals, LLC (“Littco Metals”), and the non-debtor plaintiffs have filed

a First Amended Complaint (“FAC”) in this adversary proceeding which alleges the defendants,

including the self-styled “IDS Defendants” that filed the instant Motion to Withdraw Reference, 1

have engaged in egregious acts of fraud, misrepresentation, usury, racketeering and more

(commonly referred to as a “debt trap” in predatory lending parlance), which directly and

proximately bankrupted Littco Metals and caused the non-debtor plaintiffs, including Jason

Littrell, to suffer significant damages as well.

        In what may be one of the more remarkable omissions of fact yet seen in a legal pleading,

one of the movants herein, International Services, Inc. (“ISI”), failed to mention it filed a proof

of claim in the underlying bankruptcy proceeding seeking in excess of $1,000,000 from Littco

Metals—a debt that is absolutely central to the causes of action asserted by Littco Metals in this

adversary proceeding, and which is indicative of the conduct that drove Littco Metals into

bankruptcy in the first place. Suffice to say, Littco Metals contends this alleged debt is not owed,

was procured through fraud, and is usurious, illegal, and/or void as a matter of law. Nonetheless,

the IDS Defendants contend the issues raised in this adversary proceeding do not “invoke a

substantive right provided under Title 11 or arise only in the context of bankruptcy.” See

Memorandum in Support of Motion to Withdraw Reference [24-01024-SDM] [Doc. 48], p. 10.

        It is well-settled that adversary proceedings centered on proofs of claim by creditors are

characterized as “in the nature of” counterclaims and form part of the bankruptcy court’s core

jurisdiction. Here, one of the IDS Defendants filed a substantial proof of claim against the

debtor. Should the district court withdraw the reference to the bankruptcy court even though this

        1
          The IDS Defendants are Tyler Burgess, Tonya Etoh, International Development Services, Inc.
(“IDS”), International Services, Inc. (“ISI”), TAVAS, LLC, Penhurst Capital, Inc., Tim Willits, Nathan
Free, Jerrold Weissburg, Robert Legon, Bruce Bush, Dale Johnson, and James Peters.

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is a core proceeding? The answer, for all of the reasons set forth herein below, is no. This matter

is properly before the bankruptcy court and should remain there until concluded.

                           II. FACTS and PROCEDURAL POSTURE

       Littco Metals instituted a voluntary chapter 11 bankruptcy proceeding on January 10,

2023. See Petition [23-10069-SDM] [Doc. 1] attached to Response as Exhibit A. On January 18,

2023, one of the defendants named in this adversary proceeding, Samson MCA, LLC

(“Samson”), filed a proof of claim in the amount of $1,312,963.60. See Proof of Claim [23-

10069-SDM] [Doc. 3-1], attached to Response as Exhibit B. Later that same day, a second

defendant in this adversary proceeding, Byzfunder NY, LLC (“Byzfunder”), filed a proof of

claim in the amount of $214,574.37. See Proof of Claim [23-10069-SDM] [Doc. 4-1], attached to

Response as Exhibit C.

       On February 8, 2023, Notices of Appearance were filed by three attorneys for ISI and

IDS: Cory D. Anderson, Matthew P. Connelly, and Timothy P. Maroder, all of the Chicago,

Illinois law firm of Rock Fusco & Connelly, LLC. See Notices of Appearance [23-10069-SDM]

[Doc. 45] [Doc. 46] [Doc. 47]. On that same date, a telephonic Meeting of Creditors was held.

See Meeting of Creditors Held with Proceeding Memo [23-10069-SDM] [Doc. 51]. The meeting

was attended by attorney Maelene Torres on behalf of ISI and attorney Timothy Maroder on

behalf of IDS. Id. The Minutes note, among other things: “Debtor to provide subchapter V

trustee with copy of reports by consulting firm IDS along with employment agreement and amd

[amend] schedules to include claim vs. IDS.” Id.

       On April 19, 2023, ISI filed a proof of claim in the amount of $1,038,915.29. See Proof

of Claim [23-10069-SDM] [Doc. 30-1], attached to Response as Exhibit C. ISI’s proof of claim

was signed by attorney Michael P. Connelly of Rock Fusco & Connelly, LLC. Id.



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       The chapter 11 proceeding was converted “pretty quickly” to a chapter 7 case on May 2,

2023. See Order [23-10069-SDM] [Doc. 75]. This adversary proceeding was thereafter filed on

July 18, 2024 against various defendants, including, among others, the IDS Defendants,

Byzfunder, and Samson. See Complaint [23-10069-SDM] [Doc. 158]; [24-01024-SDM] [Doc.

1]. A First Amended Complaint (“FAC”) was filed in this adversary proceeding on September 9,

2024, to correct the misnaming of one individual defendant. See FAC [23-10069-SDM] [Doc.

159]; [24-01024-SDM] [Doc. 9]. The FAC alleges claims arising out of numerous acts of

wrongdoing, including but not limited to, ISI’s procurement of the same Promissory Note which

serves as the basis for its proof of claim. Id., ¶¶129(g), 133-35. Likewise, the FAC alleges claims

related to the same loans which serve as the basis for the proofs of claim filed by Byzfunder and

Samson. Id., ¶¶64-68, 97, 104-08, 110-113, 155, 165.

       On October 30, 2024, a Motion for Admission Pro Hac Vice was filed in this Adversary

Proceeding by Edward F. Kuester, IV, of Rock Fusco & Connelly, LLC. See Motion [24-01024-

SDM] [Doc 27]. Pursuant to the motion, Mr. Kuester sought admission to represent the IDS

Defendants, including ISI. Id. On December 11, 2024, three additional Motions for Admission

Pro Hac Vice were filed in this adversary proceeding by Cory D. Anderson, Michael P.

Connelly, and Sagar P. Thakkar, all of the Chicago, Illinois law firm of Rock Fusco & Connelly,

LLC. See Motions [24-01024-SDM] [Doc. 36] [Doc. 37] [Doc. 38]. These attorneys sought

admission to represent the same IDS Defendants as Mr. Kuester. Id.

       On January 10, 2025, the IDS Defendants filed both a Motion to Withdraw Reference

and, separately, a Motion to Dismiss. See Motions [24-01024-SDM] [Doc. 47] [Doc. 49]. The

signature blocks on these motions include Mr. Anderson, Mr. Connelly, and Mr. Thakkar. Id. On

February 24, 2025, the plaintiffs filed a Motion for Leave to File a Second Amended Complaint



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(“SAC”). Among other things, the proposed SAC addresses the alleged pleading deficiencies

identified by the defendants, incorporates more specific allegations against some individuals, and

expands upon the fraud and RICO claims set forth in the FAC.

                                         III. STANDARD

A.     Burden of persuasion.

       As the movants herein, the IDS Defendants bear the burden of persuasion regarding their

request for a withdrawal of the reference. Matter of Vicars Ins. Agency, Inc., 96 F.3d 949, 955

(7th Cir. 1996). It is not a given that this relief should be granted because Congress did not

intend for district courts to preside over and resolve most bankruptcy cases and proceedings. See

28 U.S.C. § 157(a) (empowering district courts to refer any or all proceedings arising in, under,

or related to a bankruptcy proceeding to the bankruptcy judges for the district). That being said,

the district court may, in its sole discretion, withdraw a reference to the bankruptcy judges for the

district for cause shown, and is required to withdraw such a reference when it “determines that

resolution of the proceeding requires consideration of both title 11 and other laws of the United

States regulating organizations or activities affecting interstate commerce.” 28 U.S.C. § 157(d).

B.     Discretionary withdrawal.

       Discretionary or “for cause” withdrawal “must be based on a sound, articulated

foundation.” Holland America Ins. Co. v. Succession of Roy, 777 F.2d 992, 998 (5th Cir. 1985).

When deciding whether discretionary withdrawal is warranted, the first question is whether the

proceeding is core or non-core. Mirant Corp. v. The Southern Co., 337 B.R. 107, 115-16 (N.D.

Tex. 2006). An adversary proceeding, which is a civil proceeding, “arises under” the Bankruptcy

Code, if it involves a cause of action created by title 11. In re Wood, 825 F.2d 90, 96 (5th Cir.

1987). Proceedings “arising in” a bankruptcy case “are those that are not based on any right



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expressly created by title 11, but nevertheless, would have no existence outside of the

bankruptcy.” Id. at 97. Together, proceedings that “arise under” title 11and proceedings that

“arise in” a bankruptcy case constitute the bankruptcy court’s “core” jurisdiction. See 28 U.S.C.

§ 157(b); In re Wood, 825 F.2d at 96–97.

       Even if a claim is non-core, a bankruptcy court still has jurisdiction over it provided that

it is “related to” a bankruptcy case. “The usual articulation of the test for determining whether a

civil proceeding is related to bankruptcy is whether the outcome of that proceeding could

conceivably have any effect on the estate being administered in bankruptcy.” In re G.S.F. Corp.,

938 F.2d 1467, 1475 (1st Cir.1991) (quoting Pacor v. Higgins, 743 F.2d 984, 994 (3d Cir.1984)).

While a bankruptcy judge may hear non-core but “related-to” matters, absent the consent of all

parties, they must “submit proposed findings of fact and conclusions of law to the district court,

and any final order or judgment shall be entered by the district judge after considering the

bankruptcy judge’s proposed findings and conclusions and after reviewing de novo those matters

to which any party has timely and specifically objected.” 28 U.S.C. § 157(c)(1). 2

C.     Mandatory withdrawal.

       In this circuit, “[m]andatory withdrawal is to be applied narrowly and to prevent 157(d)

from becoming an ‘escape hatch.’ Unsubstantiated assertions that nonbankruptcy ... issues are

substantial and material to an adversary proceeding are insufficient to warrant mandatory

withdrawal.” In re Highland Capital Management L.P., 2021 WL 2850562, at *4 (Bankr. N.D.

Tex. Jul. 7, 2021). Though the standard for mandatory withdrawal of a reference takes into

consideration both title 11 and other laws of the United States affecting interstate commerce, the

true consideration is whether adjudication of the proceeding would require the bankruptcy court


       2
         Though the IDS Defendants concede this adversary proceeding is at least “related” to a case
brought under title 11, they do not consent to the bankruptcy judge hearing this matter.

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to interpret a novel, significant, or first-impression issue under these laws rather than merely

applying existing law to the facts. Matter of Vicars, 96 F.3d at 954.

                                           IV. DISCUSSION

A.      There is no basis for discretionary withdrawal because this is a core proceeding.

        Though the list contained in § 157(b)(2) is not exhaustive, by statute, counterclaims by

the bankrupt estate against persons filing claims against the debtor are core claims. 28 U.S.C. §

157(b)(2)(C). Federal courts broadly interpret this provision to include claims that are “in the

nature of counterclaims,” though not specifically brought as a counterclaim. Thus, federal courts

have interpreted this provision to mean that once a creditor files a proof of claim against the

bankrupt estate, claims asserted by the debtor in possession against the creditor are typically core

proceedings even though the claims in the case were not interposed as counterclaims. 3 See In re

Gorilla Companies, LLC, 429 B.R. 308, 314-15 (Bankr. D. Ariz. 2010) (since creditor filed proof

of claim, adversary proceeding against creditor arising out of that transaction was a core claim);

In re Enron, 349 B.R. 108, 111-112 (Bankr. S.D. N.Y. 2006) (state law claims in adversary

proceeding against bank that conspired to commit fraud with debtor’s officers were “in the

nature of counterclaims” to the bank’s proof of claim and, thus, core claims); In re Marketing

Resources Intern. Corp., 43 B.R. 71 (Bankr. E.D. Pa. 1984) (deeming an adversary proceeding

against a creditor that had filed a proof of claim to be a counterclaim and, thus, a core claim).

        Littco Metals acknowledges Stern v. Marshall, 564 U.S. 462 (2011) 4 holds a

counterclaim that is a core claim cannot be heard by a bankruptcy court for jurisdictional (Article


        3
          Indeed, in some jurisdictions, filing of a proof of claim is deemed a straight waiver of the right
to move to withdraw consent. See In re TPI Int'l Airways, 222 B.R. 663, 669 (S.D. Ga. 1998) (stating “in
a case where the party moving for withdrawal has made claims in the bankruptcy court, withdrawal is not
appropriate”). The Court should find the same here.
        4
          The appellant in that case was the estate of the Vickie Lynn Marshall, better known to the public
as Anna Nicole Smith. The parties were engaged in a Jarndyce-like litigation over the estate of her

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III) reasons when it (1) arises under state common law and is between two private parties, (2)

does not flow from a federal statutory scheme and is not a matter of public right, and (3) will not

necessarily be resolved by ruling on the proof of claim in the bankruptcy proceeding, i.e., when

the merits of the proof of claim are independent of the counterclaim. Counterclaims which fall

within 28 U.S.C. § 157(b) but cannot be heard by a bankruptcy court for jurisdictional reasons

are now commonly called “Stern claims.” Stern does not apply here however, because Littco

Metals’ claims are not exclusively under state common law (e.g., there is a federal question

under RICO). See In re AIH Acquisitions, LLC, 2011 WL 4000894, at *3 (N.D. Tex. Sept. 7,

2011) (applying Stern narrowly to instances where the debtor’s state law claims do not arise out

of the proof of claim).

       Further, the validity of the debts that are the subjects of the proofs of claim filed by ISI,

Byzfunder, and Samson are inextricably intertwined with this adversary proceeding. The Trustee

will have to know how to address these alleged debts—and the outcome of this adversary

proceeding will certainly provide the Trustee with relevant guidance.

       Finally, the IDS Defendants float the idea that they might have a right to a jury trial “if

they so choose”—the latter phrase carefully, but conspicuously, appended to their argument. The

plaintiffs herein doubt very seriously that the IDS Defendants actually want a jury to decide the

types of claims asserted in this case. Moreover, they have missed their opportunity to demand a

jury pursuant to Fed. R. Civ. P. 38. Plus, if this is a core proceeding, they have no right to a jury

trial, and if it is a “related” proceeding, the parties can agree to allow the bankruptcy court

conduct the jury trial. In re Mauldin, 52 B.R. 838, 841 (Bankr. N.D. Miss. 1985).


deceased husband, J. Howard Marshall. He was 89 and she was 26 when they married for 14 months until
his death. The son of Marshall filed a proof of claim in Smith’s bankruptcy case asserting damages for
defamation, and Smith filed her own counterclaim for defamation before she tragically died of a drug
overdose at a casino in Florida at the age of 39.

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B.      There is no basis for mandatory withdrawal.

        The IDS Defendants agree that mandatory withdrawal is not required when resolution of

non-bankruptcy federal law claims require an application of well-settled law to fact and do not

require the bankruptcy court to “undertake analysis of significant open and unresolved issues

regarding the non-title 11 law.” Matter of Vicars, 96 F.3d at 953-54. The IDS Defendants lose

their way, however, when they suggest that in this particular case, RICO is not well-settled. After

all, Congress enacted RICO in 1970, and courts have been settling the law for half a century.

        The argument that RICO’s roots in criminal law make the district court better qualified to

handle this matter than a bankruptcy judge is particularly ill-founded. RICO specifically defines

“racketeering activity” to include any offense involving fraud connected with a bankruptcy case.

18 U.S.C. § 1961(1)(D). And district courts commonly maintain the reference of RICO cases to

bankruptcy courts. 5 In re Adelphi Institute, Inc., 112 B.R. 534 (S.D. N.Y. 1990); Alix v.

McKinsey & Co., Inc., 24 F.4th 196 (2d Cir. 2022); In re Laventhol & Horwath, 139 B.R. 109,

115 (S.D. N.Y. 1992); In re Auto Specialties Mfg. Co., 134 B.R. 227, 228-29 (W.D. Mich. 1990).

Suffice to say, the bankruptcy court in which this adversary proceeding is pending is plenty

capable of handling a RICO case, and any suggestion to the contrary is specious and impertinent.

        Finally, in what might be characterized as rather granular analysis, the IDS Defendants

assert that they cannot find “a single case” where a purported “Revenue Purchase Agreement”


        5
           The IDS Defendants accuse the plaintiffs of attempting to “evade” the RICO pleading
requirements of L.U. Civ. R. 83.8(a) and suggest, in conclusory and general terms, that this has left them
in some sort of nebulous “disadvantage” in this litigation. To be clear, the FAC in this case is fully
compliant with Fed. R. Bankr. P. 7009, which incorporates Fed. R. Civ. P. 9 (which requires fraud to be
pled with particularity) and Fed. R. Bankr. P. 7008, which incorporates Fed. R. Civ. P. 8 and which
provides that a complaint is sufficiently detailed if it provides a short and simple description of the factual
basis supporting an allegation of fraud. Bankruptcy courts also afford greater pleading liberality in RICO
actions. See In re Ahead by a Length, Inc., 100 B.R. 157, 166 (Bankr. S.D. N.Y. 1989) (stating in a RICO
adversary proceeding that “[a] strict interpretation of Rule 9(b) in circumstances where the details of the
scheme are peculiarly within the knowledge of the defendants would be inappropriate.”).

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was characterized as a loan and/or as a predicate act for a RICO action; thus, they claim these

issues present a matter of first-impression and are not “well-settled.” Attention is directed to

Hermes Hialeah Warehouse, LLC v. GFE NY, LLC, 2023 WL 2230842 (S.D. Miss. February 24,

2023) where the Southern District of Mississippi considered a motion to dismiss a complaint

alleging RICO violations arising out of Merchant Agreements similar to those at issue here. (The

defendants’ motion to dismiss was denied.) However, bankruptcy courts have also handled these

issues. See In re Shoot the Moon, 2019WL 342577 at *6 (Bankr. E.D. N.C. January 25, 2019)

(finding Merchant Cash Advance creditor, which filed a proof of claim exactly like ISI,

Byzfunder, and Samson all did herein, was judicially estopped from claiming that no antecedent

debt or claim exists in a fraud-based adversary proceeding centered on the same transaction).

       WHEREFORE, PREMISES CONSIDERED, the plaintiffs respectfully request that the

Court deny the IDS Defendants’ Motion to Withdraw Reference, and grant the plaintiffs any

further relief the Court may find warranted in the premises, whether general or specific.

                                       Respectfully submitted,

                                       JASON LITTRELL AND WILLIAM L. FAVA,
                                       TRUSTEE FOR LITTCO METALS, LLC d/b/a LITTCO,
                                       LLC, LITTCO METALS EQUIPMENT LEASING, INC.,
                                       AND LITTCO METALS MANAGEMENT CO.

                                       /s/ Goodloe T. Lewis
                                       GOODLOE T. LEWIS, MSB #9889
                                       LAWRENCE J. TUCKER, JR., MSB #100869
                                       BRIAN A. CLARK, MSB #100736
                                       Hickman, Goza & Spragins, PLLC
                                       P.O. Drawer 668
                                       Oxford, MS 38655
                                       (662) 234-4000 (telephone)
                                       (662) 234-2000 (facsimile)
                                       glewis@hickmanlaw.com
                                       ltucker@hickmanlaw.com
                                       bclark@hickmanlaw.com



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                                 CERTIFICATE OF SERVICE

       I, Goodloe T. Lewis of Hickman, Goza & Spragins, PLLC, Oxford, Mississippi, do

hereby certify that I have, this date, filed the above with the Court and delivered a copy to all

parties requesting notice by using the ECF filing system.

       DATE: February 24, 2025

                                                      /s/ Goodloe T. Lewis
                                                      GOODLOE T. LEWIS




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